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              United States Court of Appeals
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT



             Argued January 28, 2025                   Decided July 11, 2025

                                       No. 25-1009

                          IN RE: UNITED STATES OF AMERICA,
                                     PETITIONER


                  On Petition for Writs of Mandamus and Prohibition



                  Melissa N. Patterson, Attorney, U.S. Department of
             Justice, argued the cause for petitioner. With her on the petition
             and the reply were Matthew G. Olsen, Assistant Attorney
             General for National Security at the time the petition was filed,
             Brian H. Fletcher, Principal Deputy Solicitor General at the
             time the petition was filed, Brett A. Shumate, Acting Assistant
             Attorney General, Civil Division, and Mark R. Freeman,
             Attorney. Sarah C. Griffin, Attorney, U.S. Department of
             Justice, entered an appearance.

                 Michel Paradis, Attorney, Office of Military
             Commissions Defense Organization, argued the cause for
             respondents Khalid Sheikh Mohammad and Mustafa al
             Hawsawi. With him on the opposition to the petition for writs
             of mandamus and prohibition were Walter B. Ruiz, Attorney,
             Suzanne M. Lachelier, Senior Attorney, Sean M. Gleason,
             Attorney, Nicholas McCue, Attorney, Melanie Partow,
             Attorney, Maj. Michael Leahy, USAF, and Lt. William Xu,
             JAGC, USN.
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                 Matthew L. Engle argued the cause for respondent Walid
             Muhammad Salih Mubarak bin ‘Atash. With him on the
             opposition to the petition for writs of mandamus and
             prohibition was Edwin A. Perry.

                 Matthew S. Hellman was on the brief for amicus curiae the
             Center for Victims of Torture in support of respondents.

                 Before: MILLETT, WILKINS and RAO, Circuit Judges.

                Opinion for the Court by Circuit Judges MILLETT and
             RAO.

                 Opinion concurring in part and dissenting in part filed by
             Circuit Judge WILKINS.

                  MILLETT and RAO, Circuit Judges: Respondents Khalid
             Sheikh Mohammad, Walid Muhammad Salih Mubarak bin
             ‘Atash, and Mustafa Ahmed Adam al Hawsawi are being tried
             by military commission at the United States Naval Base in
             Guantanamo Bay, Cuba.         They are each accused of
             participating in the planning and execution of the terrorist
             attacks on September 11, 2001, which killed 2,976 people.

                  At the end of July 2024, each Respondent offered, and the
             Convening Authority overseeing their cases accepted, pretrial
             agreements in which Mohammad, bin ‘Atash, and Hawsawi
             agreed to plead guilty, and the government agreed not to seek
             the death penalty. Ruling on Defense Motions to Schedule
             Entry of Pleas, United States v. Mohammad, Military Comm’ns
             Trial Judiciary No. AE 955J / AE 956J / AE 957I, at 7 (U.S.
             M.C.T.J. Nov. 6, 2024) (“Pretrial Agreement Order”). Each
             Respondent also promised, among other things, to withdraw
             certain motions filed in their criminal cases and to waive all
             waivable motions. On August 1st and 2nd—right after the
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             Convening Authority signed the agreements—Respondents
             stayed silent during the questioning of a witness in a
             suppression hearing that went forward for a non-settling co-
             defendant. On August 2nd, then-Secretary of Defense Lloyd J.
             Austin III withdrew from each of the agreements.

                  As relevant here, the military commission judge and the
             United States Court of Military Commission Review
             (“CMCR”) refused to recognize the Secretary’s withdrawal on
             the ground that Respondents had begun to perform under the
             contracts. The CMCR denied the government’s petition for
             writs of mandamus and prohibition. The military judge then
             scheduled the prompt entry of Respondents’ pleas. After the
             government’s request for a stay was denied, it asked this court
             to issue writs of mandamus and prohibition enforcing the
             Secretary of Defense’s withdrawal from the pretrial
             agreements and prohibiting the military judge from entering
             guilty pleas under the agreements.

                  While mandamus and prohibition are extraordinary forms
             of relief, they are warranted in this case. The Secretary of
             Defense indisputably had legal authority to withdraw from the
             agreements; the plain and unambiguous text of the pretrial
             agreements shows that no performance of promises had begun;
             the government has no adequate alternative remedy to
             vindicate its interests; and the equities make issuance of the
             writs appropriate.

                                            I

                                            A

                  The Military Commissions Act of 2009 (“Commissions
             Act”) establishes the procedures for military commissions to
             try “alien unprivileged enemy belligerents for violations of the
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             law of war and other offenses triable by military commission.”
             10 U.S.C. § 948b(a). Military commissions “may be convened
             by the Secretary of Defense” or another federal official
             designated by the Secretary. Id. § 948h. The Commissions Act
             also empowers the Secretary to prescribe “[p]retrial, trial, and
             post-trial procedures, including elements and modes of proof,
             for cases triable by military commission[.]” Id. § 949a(a).

                  Under that statutory authority, the Secretary of Defense
             issued the Manual for Military Commissions, which is adapted
             from the Manual for Courts-Martial, and contains, among other
             things, the Rules for Military Commissions (“R.M.C.”).

                                            B

                  Mohammad, bin ‘Atash, and Hawsawi are each charged
             under the Commissions Act with seven law-of-war crimes:
             attacking civilians, attacking civilian objects, murder in
             violation of the law of war, destruction of property in violation
             of the law of war, hijacking or hazarding a vessel or aircraft,
             terrorism, and conspiracy. 10 U.S.C. § 950t(2), (3), (15), (16),
             (23), (24), (29). Congress authorized the death penalty for five
             of those offenses. Id. § 950t(2), (15), (23), (24), (29).

                  On August 21, 2023, the Secretary of Defense appointed
             retired Brigadier General Susan Escallier as the Convening
             Authority for military commissions. J.A. 262. Convening
             Authority Escallier subsequently authorized the prosecuting
             attorneys to discuss pretrial agreements and plea bargains with
             Mohammad, bin ‘Atash, and Hawsawi. Pretrial Agreement
             Order at 6. Negotiations over the pretrial agreements at issue
             here took place between October 2023 and July 2024. Id.

                On July 29 and 30, 2024, Mohammad, bin ‘Atash, and
             Hawsawi each submitted a signed “Offer for Pretrial
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             Agreement” to the Convening Authority. Pet’r’s Supp. Letter
             Attachment 2 (“Mohammad PTA”) at 1, 20 (dated July 29,
             2024); Pet’r’s Supp. Letter Attachment 3 (“bin ‘Atash PTA”)
             at 1, 19 (dated July 29, 2024); Pet’r’s Supp. Letter Attachment
             4 (“Hawsawi PTA”) at 1, 19 (dated July 30, 2024).

                  In those offers, each Respondent proposed to plead guilty
             to “all charges and specifications” against him. Mohammad
             PTA ¶ 5; bin ‘Atash PTA ¶ 5; Hawsawi PTA ¶ 5. Respondents
             also agreed that certain Letterhead Memoranda—which
             summarized statements by each Respondent to the Federal
             Bureau of Investigation in 2007 and, for bin ‘Atash, also in
             2008—could be used to establish their guilt and to inform their
             sentencing. Mohammad PTA ¶¶ 12(ii), 13; bin ‘Atash PTA
             ¶¶ 12(b), 13; Hawsawi PTA ¶¶ 12(ii), 13. In addition,
             Respondents offered to undergo a lengthy and public
             sentencing hearing in which, among other things, victims’
             families would be able to address and question Respondents
             directly and Respondents would have to answer those questions
             truthfully. See, e.g., Mohammad PTA ¶ 12(xxiv). In
             exchange, the government would not pursue the death penalty.
             Pretrial Agreement Order at 7. Appended to each of the offers
             was a lengthy and signed stipulation of fact admitted by the
             respective Respondent, as well as the corresponding Letterhead
             Memoranda.

                  On July 31, 2024, the Convening Authority, on behalf of
             the United States, accepted those offers and signed each of the
             pretrial agreements. In re Mohammad, No. CMCR 24-001,
             2024 WL 5396185, at *2 (U.S. C.M.C.R. Dec. 30, 2024). A
             fourth co-defendant, Al Baluchi Aziz Ali, did not enter into a
             pretrial agreement.

                 The next day, counsel for each Respondent and for Al
             Baluchi attended a previously scheduled hearing before the
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             military judge. The proceeding originally had been called for
             Respondents and Al Baluchi to examine an FBI witness who
             was relevant to motions to suppress each defendant had
             previously filed.

                  After the prosecution informed the military judge that
             Mohammad, bin ‘Atash, and Hawsawi had entered into pretrial
             agreements to plead guilty, all parties agreed that the
             suppression hearing would go forward only for Al Baluchi
             since he had not entered into a pretrial agreement. The judge
             then explained that Mohammad’s, bin ‘Atash’s, and
             Hawsawi’s motions to suppress would be put on hold, so that
             if the pleas were not later entered, they would then be able to
             question the FBI witness in support of their still-pending
             motions to suppress. Trial Tr. 49319:12–19, Aug. 1, 2024 (J.A.
             226). No counsel for Mohammad, bin ‘Atash, or Hawsawi
             spoke at the hearing at all, other than to note their appearances
             and, later, to agree that Al Baluchi should be able to see their
             agreements. Id. at 49306:1–49412:7, 49307:1–49308:11,
             49325:2–49326:6.

                  On August 2, 2024, examination of the witness continued
             and counsel for Respondents were again present. Trial Tr.
             49414, Aug. 2, 2024 (J.A. 411). At the hearing, the
             government and the military judge discussed scheduling the
             plea hearings as soon as possible for a number of reasons,
             including to “insulate the proceedings from any unlawful
             influence.” Trial Tr. 49418:14–15 (J.A. 234). Counsel for
             Hawsawi then expressed Hawsawi’s desire to enter his plea as
             soon as that day. Trial Tr. 49419 (J.A. 235). That same
             attorney stated that he “had not been engaging in any
             examination of the witness,” which he “believe[d] … [to be]
             specific performance on th[e] plea agreement.” Trial Tr.
             49421:1–3 (J.A. 237). Counsel for Mohammad and bin ‘Atash
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                                           7
             said nothing beyond entering their appearances.      Trial Tr.
             49414:3–6, 9–12 (J.A. 411).

                  Later that same day, the Secretary of Defense announced
             the government’s withdrawal from each of the pretrial
             agreements. The Secretary explained that, “in light of the
             significance of the decision to enter into pre-trial agreements
             with the accused in the above-referenced case[s],” the
             “responsibility for such a decision should rest with me as the
             superior convening authority under the [Commissions Act].”
             Pretrial Agreement Order at 9; Memorandum from Secretary
             of Defense to Susan Escallier, Convening Authority for
             Military Commissions (Aug. 2, 2024) (available at
             https://perma.cc/4CRT-BXV7). The Secretary then withdrew
             Convening Authority Escallier’s authority “to enter into a pre-
             trial agreement” with any of the three Respondents and
             “reserve[d] such authority to [him]self.” Pretrial Agreement
             Order at 9; Memorandum from Secretary of Defense to Susan
             Escallier, supra.

                                           C

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                  Respondents promptly challenged the lawfulness of the
             Secretary’s withdrawal and asked to have the entry of their
             pleas promptly scheduled. Pointing to the Rules for Military
             Commissions, Respondents noted that the Convening
             Authority “may withdraw from a pretrial agreement at any time
             before the accused begins performance of promises contained
             in the agreement[.]” R.M.C. 705(d)(4)(B). Respondents each
             argued that the Secretary lacked authority to withdraw both
             because (1) he had delegated his authority to manage these
             cases to the Convening Authority and could not revoke it after
             the agreements were signed, and because (2) Respondents had
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             already begun performance of promises contained in their
             pretrial agreements. Specifically, Respondents argued that
             they had performed by signing the stipulations of fact attached
             to their Pretrial Agreement offers, agreeing to admission of the
             Letterhead Memoranda, and not questioning the witness at the
             Al Baluchi hearing.

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                  The military judge ruled that the Secretary lacked the
             authority to withdraw from the agreements. The judge
             concluded, first, that the Secretary could “withhold” certain
             powers from Convening Authority Escallier at the time of
             delegation, but he could not later “withdraw” her authority to
             act. Pretrial Agreement Order at 18–19. The judge added that
             any assumption of authority by the Secretary could be effective
             only prospectively, and so he could not unravel the Convening
             Authority’s prior entry into the pretrial agreements. Id. at 20.
             To allow otherwise, the judge reasoned, would undermine the
             appointed Convening Authority’s independence and
             “potentially raise[] the specter of unlawful influence.” Id. at
             20–21.

                  The military judge further ruled that the Secretary could
             not pull out of the pretrial agreements because Respondents
             had already begun performance of promises contained in the
             pretrial agreements—namely, signing the stipulations of fact,
             agreeing to the Letterhead Memoranda, refraining from cross-
             examining a witness during the hearing on August 1, 2024, and
             refraining from filing new motions. Pretrial Agreement Order
             at 25–27.

                                            3

                 The government filed a petition for writs of mandamus and
             prohibition with the CMCR. That court agreed with the
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                                          9
             government that the Secretary of Defense had the authority to
             act as the superior convening authority for the purpose of
             withdrawing from the pretrial agreements without replacing
             Convening Authority Escallier in her other capacities. In re
             Mohammad, 2024 WL 5396185, at *10. The court noted that
             the Rules for Military Commissions allow the Secretary of
             Defense to withhold authority from the Convening Authority
             to dispose of charges. Id. at *5 (citing R.M.C. 401(a)).

                 The court agreed with Respondents, however, that the
             Secretary could not withdraw from the pretrial agreements
             because they had begun performance of a promise contained in
             them. Specifically, the court ruled that Respondents began to
             perform when they refrained from cross-examining the FBI
             witness at the hearing on August 1, 2024. In re Mohammad,
             2024 WL 5396185, at *11.

                 Following the decision of the CMCR, the government
             sought a continuance of the plea hearings until January 27,
             2025. The military judge denied the motion and scheduled the
             plea hearings to begin on January 10, 2025. Ruling on
             Government Motion to Continue Plea Hearing, United States
             v. Mohammad, Military Comm’ns Trial Judiciary No. AE 955T
             / AE 956S / AE 957Q, at 1, 4 (U.S. M.C.T.J. Jan. 3, 2025).

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                 The government then petitioned this court for an
             emergency administrative stay, a stay pending review, and
             writs of mandamus and prohibition enforcing the Secretary of
             Defense’s withdrawal from the pretrial agreements and
             prohibiting the military judge from entering guilty pleas.

                 This court granted an administrative stay on January 9,
             2025, and ordered expedited briefing and argument on the
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                                            10
             petition for writs of mandamus and prohibition. After oral
             argument and post-argument submissions by the parties, this
             court lifted the administrative stay and entered a full stay
             pending disposition of the government’s petition. We now
             grant the government’s petition for writs of mandamus and
             prohibition.

                                            II

                  The All Writs Act allows this court to “issue all writs
             necessary or appropriate in aid of [our] [] jurisdiction[.]” 28
             U.S.C. § 1651(a). By the “express terms of the Act[,]” we may
             only “issu[e] process ‘in aid of’ [our] existing statutory
             jurisdiction; the Act does not enlarge that jurisdiction[.]”
             Clinton v. Goldsmith, 526 U.S. 529, 535–36 (1999).

                  We have that authority in this case. “[O]nce there has been
             a proceeding of some kind that might lead to an appeal,” we
             have jurisdiction to issue writs. In re al-Nashiri, 791 F.3d 71,
             76 (D.C. Cir. 2015) (quoting In re Tennant, 359 F.3d 523, 529
             (D.C. Cir. 2004)) (formatting modified). Our “authority is not
             confined to the issuance of writs in aid of a jurisdiction already
             acquired by appeal,” but also includes “those cases which are
             within [our] appellate jurisdiction although no appeal has been
             perfected.” Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 25
             (1943). The Commissions Act vests this court with “exclusive
             jurisdiction to determine the validity of a final judgment
             rendered by a military commission[.]” 10 U.S.C. § 950g(a).
             Because we have appellate jurisdiction over the underlying
             proceeding, we have jurisdiction to issue writs of mandamus
             and prohibition. See In re al-Nashiri, 791 F.3d at 76.
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                                                11
                                               III

                  Mandamus and prohibition are extraordinary forms of
             relief that will be granted only in exceptional circumstances. 1
             See Cheney v. U.S. District Court for the District of Columbia,
             542 U.S. 367, 380 (2004) (“[Mandamus] is a ‘drastic and
             extraordinary’ remedy ‘reserved for really extraordinary
             causes.’”) (quoting Ex parte Fahey, 332 U.S. 258, 259–60
             (1947)). Specifically, we may issue a writ of mandamus or
             prohibition only if (1) the petitioner’s right to immediate relief
             is “clear and indisputable”; (2) the petitioner has “no other
             adequate means to attain the relief he desires”; and (3) the
             court, “in the exercise of its discretion,” is “satisfied that the
             writ is appropriate under the circumstances.” United States v.
             Fokker Servs. B.V., 818 F.3d 733, 747 (D.C. Cir. 2016)
             (quoting Cheney, 542 U.S. at 380–81).

                  This is a rare case in which that exacting standard has been
             met. First, the government has demonstrated a clear and
             indisputable right to relief in this case. As the CMCR
             determined, the military judge’s conclusion that the Secretary
             of Defense lacked the authority to withdraw the Convening
             Authority’s delegated power and to step into her shoes to

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                    The extraordinary writs of mandamus and prohibition are both
             ancient common law prerogative writs. See William J. Hughes &
             Eugene Brown, The Writ of Prohibition, 26 GEO. L.J. 831, 831–32
             (1938). A writ of mandamus compels action not being taken, while
             a writ of prohibition, as its name suggests, orders a halt to action. See
             State ex rel. Bos. & M. Consol. Copper & Silver Mining Co. v.
             Second Jud. Dist. Ct., 22 Mont. 220, 231 (1899) (emphasis omitted);
             see also In re Grant, 635 F.3d 1227, 1230 n.3 (D.C. Cir. 2011). The
             grounds for issuing the two are “virtually identical,” and “[a]
             petitioner need not precisely distinguish which writ he seeks.” In re
             Halkin, 598 F.2d 176, 180 n.1 (D.C. Cir. 1979); see also In re
             Jackson County, Mo., 834 F.2d 150, 151 (8th Cir. 1987).
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                                              12
             manage the pretrial agreements fails as a matter of law. Such
             a reading would be inconsistent with the Secretary’s power to
             superintend the disposition of charges in these cases.

                  The military judge also clearly erred in his determination
             that Respondents had begun performance of promises
             contained in the pretrial agreements, including by not
             questioning a witness. No such promise appears anywhere in
             the text of the pretrial agreements, and the judge did not claim
             to be interpreting any ambiguity in the agreements. Nor did
             any Respondent withdraw a pending motion or refrain from
             filing additional motions prior to the Secretary’s withdrawal.
             Likewise, Respondents’ submission of signed stipulations of
             fact and Letterhead Memoranda occurred as part of their offers
             of pretrial agreements to the Convening Authority. They were
             not the performance of a promise contained in the later-
             executed agreements.

                  Second, the government has shown that it has no adequate
             alternative avenue of relief. There is no apparent basis for the
             government to take either an interlocutory appeal or an
             effective and adequate appeal after final judgment.

                  Finally, given the unique and important national security
             interests at stake, as well as the significant public interest in the
             resolution of these proceedings, writs of mandamus and
             prohibition are appropriate.

                                              A

                  The government has demonstrated a clear and indisputable
             right to relief in this case. The Secretary of Defense had full
             legal authority to withdraw the Convening Authority’s
             delegated power over the pretrial agreements. Similarly, under
             the plain text of the pretrial agreements and the record in this
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                                            13
             case, no prior performance of promises contained in those
             agreements prevented the Secretary’s withdrawal.

                                            1

                  Recognizing the significance of striking plea deals with
             Respondents—perpetrators of the September 11th attacks—
             Secretary Austin invoked his role “as the superior convening
             authority under the [Commissions Act].” Memorandum from
             Secretary of Defense to Susan Escallier, supra. He then
             withdrew Convening Authority Escallier’s authority over the
             pretrial agreements, assumed that authority for himself, and
             withdrew from the agreements. We agree with the CMCR that
             the Secretary’s actions were lawful because the Commissions
             Act designates him as the superior convening authority for
             military commissions. As such, he possessed the authority to
             wholly or partially withdraw Escallier’s delegated power and
             step into her shoes to manage the pretrial agreements with
             Respondents. The military judge clearly erred in holding
             otherwise.

                  Acting under the President’s direction, the Secretary of
             Defense has broad authority under the Commissions Act to
             determine the structure and procedures for military
             commissions. See 10 U.S.C. §§ 948b(b), 949a(a), 948j(a).
             The Commissions Act authorizes the Secretary to serve as the
             convening authority for military commissions. See id. § 948h.
             He may exercise this power directly or delegate it to an inferior
             “officer or official of the United States.” Id.; R.M.C.
             103(a)(10) (defining “[c]onvening authority” to include the
             Secretary or any subordinate he designates for that purpose).
             This delegation may occur in whole or in part, and the
             Secretary may prescribe limitations on a subordinate
             convening authority’s exercise of delegated power. See, e.g.,
             R.M.C. 401(a) (providing the Secretary “may withhold the
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             authority of a subordinate to dispose of charges in individual
             cases, types of case[s], or generally”); R.M.C. 704(e)
             (recognizing the Secretary’s authority to limit the convening
             authority’s power to grant immunity).

                  When the Secretary designates a convening authority to
             act in his stead, that subordinate is an “inferior officer” subject
             to the Secretary’s “oversight and control.” 2 Al Bahlul v. United
             States, 967 F.3d 858, 872–73 (D.C. Cir. 2020). “The Secretary
             of Defense is responsible for the overall supervision and
             administration of military commissions within the [Department
             of Defense].” Regulation for Trial by Military Commission 1-
             3(a) (2011).

                 Secretary Austin appointed Retired Brigadier General
             Escallier to serve as the Convening Authority for military
             commissions in October 2023. As Convening Authority,
             Escallier was empowered to negotiate and enter into pretrial
             agreements with Respondents. See 10 U.S.C. § 949i(c);
             R.M.C. 705(d)(1), (3). After Escallier negotiated agreements
             under which Respondents would plead guilty in exchange for a
             promise not to seek the death penalty, Secretary Austin
             determined it was in the national interest to withdraw

                  2
                    The Commissions Act’s allocation of responsibility comports
             with the Secretary’s designation as “head of the Department of
             Defense.” 10 U.S.C. § 113(a)(1). In the exercise of his statutory
             duties, and “[s]ubject to the direction of the President,” the Secretary
             “has authority, direction, and control over the Department.” Id.
             § 113(b). To help execute his duties, the Secretary may delegate
             authority to his subordinates, but he remains responsible for their
             actions. See id. § 113(d) (“Unless specifically prohibited by law, the
             Secretary may, without being relieved of his responsibility, perform
             any of his functions or duties, or exercise any of his powers through,
             or with the aid of, such persons in, or organizations of, the
             Department of Defense as he may designate.”).
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             Escallier’s authority over the pretrial agreements and to assume
             that authority for himself.

                  The Secretary’s actions were well within his statutory
             authority and in accordance with his responsibility to oversee
             his subordinates. We have recognized that, because the
             “[Commissions Act] includes no explicit tenure provisions,”
             “the Convening Authority is removable at will by the
             Secretary.” Al Bahlul, 967 F.3d at 872. Nothing in the
             Commissions Act prevents the Secretary from removing some,
             rather than all, of the convening authority’s powers. To the
             contrary, no one disputes that Secretary Austin could have
             withheld authority over pretrial agreements when he appointed
             Escallier as Convening Authority or at an appropriate later
             time. See R.M.C. 401(a), 705(a). Likewise, nothing in the
             Commissions Act requires the Secretary to set out all limits on
             the delegation at the very outset at the risk of losing his
             superintending authority.

                  The Secretary’s power to delegate his convening authority
             in part necessarily includes the power to withdraw a delegation
             in part. Exercising this power, the Secretary lawfully withdrew
             Escallier’s authority over Respondents’ pretrial agreements.
             After assuming this authority, the Secretary had the power to
             withdraw from the agreements. See R.M.C. 705(d)(4)(B)
             (permitting the convening authority to withdraw from an
             agreement under specified conditions).

                  We reject Respondents’ arguments to the contrary.
             Following the lead of the military judge, Respondents maintain
             that the decision to withdraw from the pretrial agreements was
             in Convening Authority Escallier’s sole discretion, and they
             point to the Commissions Act’s prohibition against unlawful
             influence as evidence for this fact.           See 10 U.S.C.
             § 949b(a)(2)(B) (“No person may attempt to coerce or, by any
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             unauthorized means, influence … the action of any
             convening … authority with respect to their judicial acts.”).
             Respondents claim that without an explicit grant of authority to
             override an inferior convening authority’s decision, the
             Secretary was bound by his delegation and by Escallier’s
             decision.

                  Respondents’ reliance on the unlawful influence provision
             is inapposite because it does not address the Secretary’s lawful
             authority to withdraw his previous delegation of convening
             authority. Secretary Austin did not direct Escallier or seek to
             govern how she performed her delegated duties. 3 Instead, the
             Secretary withdrew Escallier’s authority over the pretrial
             agreements, assumed that authority for himself, and
             independently exercised the authority to withdraw from the
             pretrial agreements. These actions were consistent with the
             Secretary’s broader responsibilities, as well as with his
             particular statutory and regulatory authority over military
             commissions. The military judge’s finding to the contrary was
             clearly and indisputably erroneous.

                                              2

                  While the Secretary had the lawful authority to withdraw
             from the agreements signed by the Convening Authority, we
             also must decide whether the Secretary’s action complied with
             the governing regulations. Specifically, under the Rules for
             Military Commissions, the convening authority may withdraw
                 3
                     Respondents’ arguments largely pertain to the undisputed
             point that Escallier had authority to enter into pretrial agreements
             before the Secretary withdrew this authority. Because we conclude
             that the Secretary’s withdrawal was lawful, we have no occasion to
             consider whether entering into or withdrawing from pretrial
             agreements are “judicial acts” protected by the Commissions Act or
             to assess the applicability of any limits on unlawful influence.
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                                            17
             from a pretrial agreement “at any time before the accused
             begins performance of promises contained in the agreement.”
             R.M.C. 705(d)(4)(B) (“withdrawal regulation”).

                 The military judge identified three ways that Respondents
             had begun performing promises in the pretrial agreements
             before the withdrawal: (1) refraining from examining a
             witness and from filing motions; (2) entering into stipulations
             of fact with the prosecution; and (3) negotiating acceptable
             versions of their respective Letterhead Memoranda.

                  All three of those determinations are reviewed de novo in
             this case. “[A] plea agreement is a contract” between the
             defendant and the government that is governed by the
             “principles of contract law[.]” United States v. Jones, 58 F.3d
             688, 691 (D.C. Cir. 1995); see United States v. Munafo, 123
             F.4th 1373, 1378 (D.C. Cir. 2024); United States v. Moreno-
             Membache, 995 F.3d 249, 254 (D.C. Cir. 2021).

                 In contract cases, questions of law are reviewed de novo
             and questions of fact for clear error. Collins v. Pension Benefit
             Guaranty Corp., 881 F.3d 69, 72 (D.C. Cir. 2018);
             RESTATEMENT (SECOND) OF CONTRACTS § 212(2) (AM. L.
             INST. 1981); 11 RICHARD A. LORD, WILLISTON ON CONTRACTS
             § 30:1 (4th ed. 2024); 5 TIMOTHY MURRAY, CORBIN ON
             CONTRACTS § 24.1(3) (Rev. Ed. 2024). Identifying the
             governing rules of contract law is a legal question reviewed de
             novo. Ram Constr. Co. v. American States Ins. Co., 749 F.2d
             1049, 1053 (3d Cir. 1984); 11 WILLISTON § 30:1.

                 Determining the meaning that should be ascribed to a
             contract’s words—the contract’s “interpretation”—is a
             question of law or fact depending on whether the relevant
             contract language is ambiguous or otherwise subject to proof
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                                             18
             by extrinsic evidence. Bennett Enters., Inc. v. Domino’s Pizza,
             Inc., 45 F.3d 493, 497 (D.C. Cir. 1995); 11 WILLISTON § 30:1.

                  In addition, there is no dispute in this case over the
             applicable Rule of Military Commission governing the
             withdrawal from pretrial agreements. The military judge and
             the parties agree that the Secretary’s ability to withdraw from
             the pretrial agreements turns on whether Respondents had
             “beg[un] performance of promises contained in the
             agreement[s.]” R.M.C. 705(d)(4)(B); see Pretrial Agreement
             Order at 25–26.

                  The relevant facts concerning Respondents’ conduct at the
             August 1st and 2nd hearings are not in question. They are
             documented in the hearing transcript. The facts pertaining to
             Respondents’ submission of their respective stipulations of fact
             and agreement to the admission of letterhead memoranda as
             part of their offers for pretrial agreements are also not in dispute
             as they appear on the face of the agreements.

                  What the parties disagree about, and what the military
             judge decided, are the applicable principles of contract law and
             whether Respondents’ conduct constituted performance of a
             promise that is contained in the agreements. The former is a
             question of law that we review de novo. And the latter is a
             question of contract interpretation because it is a disagreement
             over what the words in the agreements mean. Our standard of
             review for this question turns on whether the words in the
             agreements are ambiguous.

                  Whether a contract term is ambiguous is a question of law
             that we review de novo. Segar v. Mukasey, 508 F.3d 16, 22
             (D.C. Cir. 2007); Bennett, 45 F.3d at 497; 11 WILLISTON
             § 30:5. A court interprets a contract’s language based on how
             a reasonable person would understand the contract’s terms in
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                                             19
             light of the whole agreement and the surrounding
             circumstances. See Richardson v. Edwards, 127 F.3d 97, 101
             (D.C. Cir. 1997); Florida East Coast Ry. Co. v. CSX Transp.,
             Inc., 42 F.3d 1125, 1129 (7th Cir. 1994); 11 WILLISTON § 30:4;
             2 ZACHARY WOLFE, FARNSWORTH ON CONTRACTS §§ 7.11,
             7.14 (4th ed. 2025). Contract language will be considered
             “ambiguous if it is reasonably susceptible [to] different
             constructions, but it is not ambiguous merely because the
             parties later disagree on its meaning.” Bennett, 45 F.3d at 497;
             see Sayers v. Rochester Tel. Corp. Supplemental Mgmt.
             Pension Plan, 7 F.3d 1091, 1095 (2d Cir. 1993); 11 WILLISTON
             § 30:4; 5 CORBIN § 24.4(3). If a contractual term is ambiguous,
             the trial court may use extrinsic evidence to make a factual
             finding about what meaning the parties intended. NRM Corp.
             v. Hercules Inc., 758 F.2d 676, 682 (D.C. Cir. 1985); 5 CORBIN
             § 24.4(4). Such factual findings are reversible only for clear
             error. 4

                  But when the contract’s terms are not ambiguous, there are
             no questions of fact for the court to resolve. Collins, 881 F.3d
             at 72–73; Segar, 508 F.3d at 22. The court’s only task is to
             give effect to the contract’s plain language. “[I]t is black-letter
             law that the terms of an unambiguous private contract must be
             enforced irrespective of the parties’ subjective intent[.]”
             Travelers Indem. Co. v. Bailey, 557 U.S. 137, 150 (2009); see
             In re Binghamton Bridge, 70 U.S. 51, 74–75 (1865) (“If there
             is no ambiguity, and the meaning of the parties can be clearly
             ascertained, effect is to be given to the instrument used[.]”);
             Paul v. Deloitte & Touche, LLP, 974 A.2d 140, 145 (Del.
             2009); 11 WILLISTON § 30:4. In other words, when “the plain

                 4
                    The dissenting opinion objects that we have ignored relevant
             extrinsic evidence in concluding that the language of the PTAs is
             unambiguous. Dissenting Op. 13. Yet the dissenting opinion points
             to no material evidence that our analysis has not addressed.
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             meaning of the language” in a contract is clear, “the inquiry
             begins and ends with the text.” Bode & Grenier, LLP v. Knight,
             808 F.3d 852, 862 (D.C. Cir. 2015).

                  Plea agreements in criminal cases are analyzed the same
             way. When there is no ambiguity in the agreement, “the
             interpretation of a plea agreement’s terms is a pure matter of
             law” that we review de novo. Jones, 58 F.3d at 691; Moreno-
             Membache, 995 F.3d at 254; United States v. Henry, 758 F.3d
             427, 431 (D.C. Cir. 2014).

                  The dissenting opinion reasons that other circuits largely
             review district courts’ interpretations of the terms of plea
             agreements for clear error. Dissenting Op. 10–11. What
             controls here is this circuit’s law that “[t]he meaning of a plea
             agreement … is of course reviewed de novo,” even while
             factual findings are reviewed for clear error. United States v.
             Pollard, 959 F.2d 1011, 1023 (D.C. Cir. 1992). Even the
             dissenting opinion’s preferred circuit for its reading agrees that
             “court[s] review[] the terms of [a] plea agreement de novo,”
             while “factual determination[s] [are] reviewed for clear error.”
             United States v. Altamirano-Quintero, 511 F.3d 1087, 1093,
             1098 (10th Cir. 2007). So do other circuits. 5

                  5
                    See United States v. Estrada-Gonzalez, 32 F.4th 607, 612–13
             (6th Cir. 2022) (“[C]onsistent with common-law contract principles,
             we have treated the question whether an agreement’s language is
             unambiguous as a legal issue subject to de novo review …. When
             interpreting that language, moreover, we have focused on how a
             ‘reasonable person’ would understand it—just as a court would with
             any contract.”) (internal citations omitted); United States v. Farias,
             469 F.3d 393, 397 (5th Cir. 2006) (“We review de novo whether the
             Government breached a plea agreement, accepting the district court’s
             factual findings unless clearly erroneous.”); United States v. Mejia,
             55 F.4th 1, 7 (1st Cir. 2022) (“Once any factual disputes are
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                  The dissenting opinion also responds that “none” of our
             cases have reviewed disagreement over “the scope of a contract
             term” in a pretrial agreement de novo. Dissenting Op. 11 n.2.
             Use of the word “scope” is puzzling because words have
             meanings, not scopes. If by “scope of a contract term” the
             dissenting opinion means the “meaning of a contract term,”
             then the dissenting opinion is simply incorrect. See Moreno-
             Membache, 995 F.3d at 254–55 (reviewing de novo meaning
             of “agrees not to seek any of the adjustments”); Henry, 758
             F.3d at 432–33 (reviewing de novo meaning of “full nature and
             extent of … cooperation”). If instead the dissenting opinion
             refers to the parties’ intended meaning, then it has gone where
             courts cannot go when, as here, the term is unambiguous.

                  In this case, the pretrial agreements, which were drafted
             jointly by Respondents and the government, are written down
             in substantial detail and the relevant terms are not ambiguous.
             There is also no dispute about the key facts. What the parties
             did and said in the hours between the Convening Authority’s
             approval of the PTAs and the Secretary of Defense’s
             withdrawal are all recorded in court transcripts and records.
             As a result, the standard of review is the same as for an
             integrated contract with unambiguous terms. Review is de
             novo and the “plain language of the plea agreement” controls.
             Jones, 58 F.3d at 691; Munafo, 123 F.4th at 1378; United States


             resolved, the question of whether a party breached the terms of a plea
             agreement is usually a question of law, which we review de novo.”)
             (emphasis added) (citation omitted); United States v. Tripodis, 94
             F.4th 1257, 1261, 1263 (11th Cir. 2024) (reviewing de novo whether
             the government breached a plea agreement and employing clear-
             error review only for “factual findings regarding the scope” of that
             agreement).
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                                              22
             v. Meija, 55 F.4th 1, 7 (1st Cir. 2022); United States v.
             Mondragon, 228 F.3d 978, 980 (9th Cir. 2000). 6

                                               a

                  The military judge held that the Secretary of Defense
             could not withdraw from the pretrial agreements because
             Respondents began performance of a promise in the
             agreements when, at the August 1st and 2nd hearings, they
             “refrained from examining the witness(es) for pretrial motions
             while the Prosecution and Defense Counsel for Mr. Ali
             questioned those same witnesses.” Pretrial Agreement Order
             at 26.

                  That was straightforward error given the plain text of the
             pretrial agreements and the undisputed facts in this case.

                  By way of reminder, under Rule of Military Commission
             705(d)(4)(B), the convening authority “may withdraw from a
             pretrial agreement at any time before the accused begins
             performance of promises contained in the agreement[.]”
             R.M.C. 705(d)(4)(B). The type of performance by a party that
             can preclude withdrawal, then, must be the commencement of
             an action that is “promise[d]” within “the agreement” itself. Id.

                  Neither of those two criteria is met here. It is undisputed
             that a commitment not to question witnesses appears nowhere

                  6
                     The dissenting opinion argues that the military judge made
             numerous factual findings that warrant clear error review.
             Dissenting Op. 17–19. Yet what the dissenting opinion characterizes
             as factual determinations are portions of the military judge’s opinion
             where he committed legal error in concluding that undisputed facts
             rendered unambiguous language in the PTAs ambiguous. Whether
             contract language is ambiguous or not is a legal question that we
             review de novo. Segar, 508 F.3d at 22.
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                                           23
             in the agreements’ text. So it is not a “promise” that is
             “contained in the agreement.” In holding otherwise, the
             military judge’s conclusion cited no provision of the
             agreements, nor did it claim to be interpreting some ambiguous
             contract language. Pretrial Agreement Order at 26–28.

                  Respondents point to a textual commitment in their
             agreements to “withdraw all pending motions.” Mohammad
             PTA ¶ 23; bin ‘Atash PTA ¶ 22; Hawsawi PTA ¶ 23. Each
             Respondent’s pretrial agreement words this promise somewhat
             differently, but none of those differences ultimately matter for
             present purposes.

                 Mohammad’s agreement says:

                 Upon entry and acceptance of the Accused’s guilty
                 plea pursuant to this Agreement, the Accused
                 knowingly, voluntarily, and expressly waives all
                 waivable motions. The Accused further agrees not to
                 make any future motions, except ones relating to
                 procedural or scheduling matters, and to move to
                 withdraw all pending motions.

             Mohammad PTA ¶ 23.

                 Bin ‘Atash’s agreement similarly states:

                 Upon the Military Judge’s acceptance of this
                 Agreement, the Accused knowingly, voluntarily, and
                 expressly waives all waivable motions. The Accused
                 further agrees not to make any future motions, except
                 ones relating to procedural, resourcing, or scheduling
                 matters, and to move to withdraw all pending motions.

             Bin ‘Atash PTA ¶ 22.
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                                            24

                 Hawsawi’s agreement says:

                 Upon the entry and acceptance of my guilty plea, I
                 knowingly, voluntarily, and expressly waive all
                 waivable motions.       Upon acceptance of this
                 Agreement by the Convening Authority, I agree to
                 move to withdraw all pending motions. I further agree
                 not to make any future motions except ones pertaining
                 to sentencing instructions, or procedural and
                 scheduling matters.

             Hawsawi PTA ¶ 23.

                 Declining to examine witnesses is nowhere mentioned.
             Respondents do not argue otherwise. Nor have they identified
             any ambiguous word that should be read to impose that
             obligation.

                 Respondents argue instead that refraining from
             questioning the FBI witness was the beginning of their
             performance of their promise to withdraw their motions.
             Mohammad & Hawsawi Br. 17–20; bin ‘Atash Br. 12, 18–19.
             That argument cannot be reconciled with the agreements’
             language or with Respondents’ conduct at the hearings.

                  First, as a straightforward textual matter, withdrawing a
             motion is a formal action in which a party informs the court,
             orally or in writing, that he wishes to take back from the court’s
             further consideration a previously requested action. In simple
             terms, it means telling the court that a request for some type of
             relief is abandoned and will no longer be pursued. Moving in
             a legal proceeding to withdraw a motion is an affirmative
             action that ends any further proceedings on the proponent’s
             motion. See Move, BLACK’S LAW DICTIONARY 1217 (12th ed.
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                                           25
             2024) (defining “move” as to “make a motion” or “make an
             application (to a court)”); id. at 1217 (defining “motion to
             withdraw” as “[a]n attorney’s request for a court’s permission
             to cease representing a client in a lawsuit” or “[a] defendant’s
             formal request for a court’s permission to change the
             defendant’s plea or strike an admission”) (emphases added).

                  Yet in this case, no Respondent filed papers or orally
             requested to withdraw any motions on August 1st or 2nd, and
             certainly not their pending suppression motions. Nor did they
             inform the court that they no longer wished to prosecute or
             proceed with their suppression motions or any other motions.
             They made no formal or even informal request of the court that
             could amount to moving to withdraw a motion or even
             beginning to do so.

                  Second, quite the opposite happened. The military judge
             advised all three Respondents that, in light of the pretrial
             agreements, he would proceed that day to hear only their co-
             defendant Al Baluchi’s motion to suppress since he had not
             entered into a pretrial agreement. Trial Tr. 49319:18–19, Aug.
             1, 2024 (J.A. 226) (Judge McCall: “[W]e’re pressing on, which
             is my intention with the [Al Baluchi] case.”); id. at 49323:18–
             19 (J.A. 230) (Judge McCall: We will “continue on and have
             hearings” in Al Baluchi’s case, even “if the other defense teams
             are not present.”); id. at 49323:15–16 (J.A. 230) (Judge
             McCall: “So going forward, … we’re dealing with what would
             be part of the [Al Baluchi] case[.]”).

                 As for these three Respondents, the military judge
             explained that he would still “give that team a chance to
             question that witness if they can demonstrate that they actually
             have additional matters to present” in support of their
             suppression motions if the pleas were not later accepted. Trial
             Tr. 49319:14–16, Aug. 1, 2024 (J.A. 226). In so doing, the
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             judge likened his decision to a prior circumstance in which
             counsel for one Respondent was unable to be present for an
             argument, and the argument continued without that party’s
             participation, subject to further questioning by the absent
             counsel at a later date. Id. at 49319:3–16 (J.A. 226). Nothing
             was terminated or withdrawn; Respondents’ pending motions
             were preserved for future action.

                 The only person who took any action with respect to
             Respondents’ suppression motions was the military judge.
             And he kept those motions alive pending further proceedings. 7

                  No Respondent objected to that preservation of their
             pending motions or asked the court to withdraw his motion to
             suppress. Counsel stood silent in response to the military
             judge’s proposal. Indeed, other than the entry of their
             appearances at the very beginning of the August 1st hearing,
             counsel for Respondents did not say a word at the proceeding
             about their pending suppression motions or otherwise. The
             only other thing they said at the hearing occurred much later in
             the proceedings when they stated that their co-defendant Al
             Baluchi should be able to see the pretrial agreements. See Trial
             Tr. 49325:8–11; id. at 49325:20; id. at 49325:22–23. In so
             doing, counsel for Mohammad took “the position that … Mr.
             Mohammad is very much a part of the case that Mr. Al Baluchi
             is part of.” Id. at 49325:5–8.

                To be sure, at the hearing the next day, counsel for
             Hawsawi stated his belief that “not … engaging in any

                 7
                     The military judge did not purport to interpret or effectuate
             the pretrial agreements. The judge was explicit that he had not even
             had an opportunity to read the agreements at the time he made those
             statements. Trial Tr. 49322, Aug. 1, 2024 (J.A. 148); id. at 49315
             (J.A. 222).
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                                              27
             examination of the witness” was “specific performance” of the
             pretrial agreement. Trial Tr. 49421:1–3 (J.A. 237). But saying
             so—without any accompanying action or oral request
             regarding the pending motions—is not the same thing as
             actually beginning performance of a promise to “withdraw”
             motions. Counsel for Hawsawi did not even mention the words
             “motion” or “withdraw.” Id.

                  It is, in short, indisputable that Respondents did not move
             to withdraw their suppression motions at the hearing. Quite the
             opposite: They silently acquiesced in keeping them on the
             docket when the trial judge said he would preserve them for the
             time being. And those motions remained on the docket, with
             the full acquiescence of Respondents, at the time the Secretary
             withdrew from the pretrial agreements.

                  Third, Respondents point to the government attorney’s
             statement at the August 1st hearing that, “with the waiver of all
             motions from three of the four accused, they can’t actively
             continue to participate in any of the contested litigation based
             on the pretrial agreement[s].” Trial Tr. 49317:21–49318:1,
             Aug. 1, 2024 (J.A. 224–25). But the prosecutor’s atextual
             reading of the pretrial agreements cannot change what the
             contract means any more than Respondents’ inaction at the
             hearings could. And it is telling that not one of Respondents’
             counsel expressed agreement with the government’s position
             or took any action that could even loosely be characterized as
             beginning the process of withdrawing his motion. 8

                 8
                    The dissenting opinion notes that one defense attorney stated
             “we see it pretty much the same way” and questioned whether
             Respondents “should be required to appear for the first day of each
             session anymore.” Trial Tr. 49:318:10–13 (J.A. 225); Dissenting Op.
             57. But this statement was made by counsel for Al Baluchi, who did
             not enter into a pretrial agreement, and concerned whether the trials
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                                            28

                  What matters for present purposes is that the promise in all
             three pretrial agreements “to move to withdraw all pending
             motions” is unambiguous. It requires formal steps to be taken
             by Respondents that were not taken at any time prior to the
             Secretary’s withdrawal from the agreements. When contract
             language promises affirmative action by a party, silent inaction
             is not performance of that promise, and silent acquiescence in
             the court’s preservation of a motion does not in any way begin
             to withdraw that motion.

                  Perhaps recognizing the frailty of Respondents’ argument,
             the dissenting opinion tries a different tack by reasoning that
             Respondents’ inaction at the hearings began performance of a
             totally different promise—the promise to “waive[] all waivable
             motions.” Mohammad PTA ¶ 23; bin ‘Atash PTA ¶ 22;
             Hawsawi PTA ¶ 23; see Dissenting Op. 63–72. That approach
             fails for three reasons.

                  First, neither Mohammad nor Hawsawi argued to this
             court that they performed by waiving any motions. As a result,
             those two Respondents have forfeited this argument as a basis
             for precluding the Secretary’s withdrawal. United States ex rel.
             Totten v. Bombardier Corp., 380 F.3d 488, 497 (D.C. Cir.
             2004) (stating that arguments not raised on appeal are
             forfeited).

                  Second, the agreements’ language is plain as day: The
             promise to waive all waivable motions does not even attach
             until Respondents’ guilty pleas are entered by the military
             judge.    See Mohammad PTA ¶ 23 (“Upon entry and
             acceptance of the Accused’s guilty plea pursuant to this

             should be severed, not the meaning of Respondents’ pretrial
             agreements. See Oral Arg. Tr. 118:9–15.
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                                            29
             Agreement, the Accused knowingly, voluntarily, and expressly
             waives all waivable motions.”) (emphasis added); bin ‘Atash
             PTA ¶ 22 (“Upon the Military Judge’s acceptance of this
             Agreement, the Accused knowingly, voluntarily, and expressly
             waives all waivable motions.”) (emphasis added); Hawsawi
             PTA ¶ 23 (“Upon the entry and acceptance of my guilty plea, I
             knowingly, voluntarily, and expressly waive all waivable
             motions.”) (emphasis added). So the promise to waive motions
             was conditioned on a particular act that had not yet occurred
             when the Secretary withdrew from the agreements.

                  The dissenting opinion reasons that, while the entry of a
             guilty plea necessarily results in the waiver of all waivable
             motions, “an accused may still voluntarily waive such motions
             prior to pleading guilty.” Dissenting Op. 69 (emphasis added).
             Of course. But just because one party performs prematurely
             does not mean that the other party’s own contractual rights
             change if the contract was for performance at a specified time.
             See 2 WILLIAM H. PAGE, THE LAW OF CONTRACTS § 1158
             (1905) (“If the contract fixes a certain time for performance,
             the party from whom performance is due has no right to
             perform before that time.”); see also RESTATEMENT (SECOND)
             OF CONTRACTS § 237 cmt. d; Prudential Ins. Co. of Am. v. Rand
             & Reed Powers Partnership, 141 F.3d 834, 836 (8th Cir. 1998)
             (recognizing the common law “perfect tender in time” rule to
             reject premature performance as performance).

                  Third, even if the plain-text timing condition were to be
             ignored, the waiver of motions—like their motion to
             withdraw—requires some express, affirmative action by
             Respondents. See United States v. Avery, 52 M.J. 496, 498
             (C.A.A.F. 2000) (“[W]e have required that waiver be an
             affirmative action and not merely a failure to object.”); Waiver,
             BLACK’S LAW DICTIONARY 1900 (defining “waiver” generally
             as “[t]he voluntary relinquishment or abandonment—express
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                                           30
             or implied—of a legal right or advantage,” “express waiver” as
             only one that is “voluntary and intentional,” and an “implied
             waiver” as “evidenced by a party’s decisive, unequivocal
             conduct reasonably inferring the intent to waive”). After all, a
             waiver has to be knowing and voluntary. See Waive, BLACK’S
             LAW DICTIONARY 1900 (“[T]o give up (a right or claim)
             voluntarily …. [T]o waive a right one must do it knowingly—
             with knowledge of the relevant facts.”); cf. 13 WILLISTON
             § 39:14 (“[W]aiver of a contractual provision must be clearly
             established and will not be inferred from equivocal acts or
             language.”).

                  There was no express or implied waiver by Respondents
             as they said and did nothing to waive their existing motions to
             suppress, or any other motions. Silent inaction in response to
             the trial court’s express preservation of such motions does not
             even hint at a waiver. Indeed, it would be troubling to conclude
             that criminal defendants can waive motions protecting their
             constitutional rights by saying and doing nothing.

                  At bottom, the dissenting opinion’s conclusion that
             motions to suppress were waived and withdrawn brushes off
             the military judge’s express statement that the motions would
             be preserved and kept on a back burner until the pleas were
             entered. Trial Tr. 49319:14–16, Aug. 1, 2024 (J.A. 226). The
             dissenting opinion, in fact, agrees that those motions were
             never “fully withdrawn[.]” Dissenting Op. 72. Which is
             precisely our point. By definition, motions that are preserved
             on the docket by the court for potential later revival were
             neither waived nor withdrawn. They were, at most, postponed.
             While the dissenting opinion supposes that Respondents
             somehow began to waive or withdraw their motions, their total
             silence and complete inactivity, including acquiescence in their
             motions’ full preservation, shows the opposite. Trying after the
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             fact to have it both ways is not performance—or the beginning
             of performance—of a promise in the agreements.

                  Fourth, the dissenting opinion stresses that Respondents
             needed only to “begin” performance of their post-plea promise
             to waive all waivable motions. Dissenting Op. 69. Fair
             enough. But neither the dissenting opinion nor Respondents
             explain what exactly they did to begin the waiver process.
             They do not claim that they were drafting filings for the court,
             practicing an oral statement to that effect, or even clearing their
             throats. Beginning performance, like the actual execution of a
             waiver itself, requires some identifiable action on the part of
             Respondents. The record here reveals nothing showing—let
             alone “clear[ly]” showing, United States v. Campos, 67 M.J.
             330, 332 & n.3 (C.A.A.F. 2009) (cited in Dissenting Op. 65)—
             that Respondents had intentionally relinquished any motions,
             since the military judge expressly left their suppression
             motions in place. 9

                                              b

                 The military judge next held the Secretary’s withdrawal
             was unlawful because, by entering into stipulations of fact that
             they attached to their offers of pretrial agreements,

                 9
                     The military judge also determined that Respondents began
             to perform by “refrain[ing] from filing motions.” Pretrial Agreement
             Order at 27. Respondents promised “not to make any future
             motions” in each of their agreements. Mohammad PTA ¶ 23; bin
             ‘Atash PTA ¶ 22; Hawsawi PTA ¶ 23. But no Respondent has
             identified any motion they refrained from making. Hawsawi claims
             that he refrained from filing a motion “which would ordinarily have
             been the subject [of] motions practice,” but that occurred almost two
             months after the Secretary withdrew from the plea agreements. See
             Mohammad & Hawsawi Br. 18 (citing court hearings from
             September 23, 2024).
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                                            32
             Respondents began performing a promise contained in their
             pretrial agreements. We hold this was clear and indisputable
             error given the ordinary meaning of the withdrawal
             regulation’s text, basic principles of contract law, and the plain
             text of the pretrial agreements.

                 In determining whether the Secretary was authorized to
             withdraw from the pretrial agreements, the decisive question is
             whether entering into the stipulations of fact was “begin[ning]
             performance” of a “promise[] contained in the [pretrial]
             agreement[s].” R.M.C. 705(d)(4)(B).            Because pretrial
             agreements are interpreted in accordance with contract law, we
             draw on those principles to interpret the withdrawal regulation.
             See United States v. Acevedo, 50 M.J. 169, 172 (C.A.A.F.
             1999).

                  To trigger the withdrawal regulation, there must first exist
             a “promise.” In contract law, a promise is “a manifestation of
             intention to act or refrain from acting in a specified way, so
             made as to justify a promisee in understanding that a
             commitment has been made.” RESTATEMENT (SECOND) OF
             CONTRACTS § 2(1); see also 1 WILLISTON § 1:2. In other
             words, a promise is a forward-looking commitment to engage
             in certain conduct in the future. See RESTATEMENT (SECOND)
             OF CONTRACTS § 55 cmt. b (explaining the definition of
             “promise” requires an “element of futurity”); 1 FARNSWORTH
             § 1.01 (“[Contract law] is … concerned with exchanges that
             relate to the future because a ‘promise’ is a commitment as to
             future behavior.”).

                  The existence of a promise is not, however, enough to bar
             the convening authority from withdrawing. That promise must
             be contained in a pretrial agreement. Under the Rules for
             Military Commissions, a pretrial agreement is formed when the
             convening authority accepts and signs a proposed agreement
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                                            33
             submitted by the accused. R.M.C. 705(d)(3); see also United
             States v. Jacques, 5 M.J. 598, 599 (N.C.M.R. 1978) (“An
             agreement is ‘made’ when both parties, [i.e.], the
             accused … and the convening authority, have signed the
             written pretrial agreement.”). Before then, there exists only an
             “offer” from the accused to enter into a pretrial agreement,
             which the convening authority may accept or reject in her “sole
             discretion.” R.M.C. 705(d)(3).

                  Finally, an accused must “begin performance” of a
             promise contained in a pretrial agreement. In contract law,
             “performance” is “[t]he successful completion of a contractual
             duty.” Performance, BLACK’S LAW DICTIONARY 1371. And
             to “begin,” in ordinary English, is to “[s]et about doing,” “start
             upon,” or “perform the first part of” something. SHORTER
             OXFORD ENGLISH DICTIONARY 210 (5th ed. 2002). Putting
             these terms together, an accused begins performance of a
             promise within the meaning of the withdrawal regulation when
             he starts to complete a forward-looking commitment contained
             in an executed pretrial agreement.

                  The record in this case clearly establishes, and the parties
             do not dispute, that Respondents entered into the stipulations
             of fact before their pretrial agreements were fully executed. On
             July 29, 2024, Mohammad and bin ‘Atash signed stipulations
             of fact with the military prosecutor. The following day,
             Hawsawi signed his stipulation with the prosecutor. The
             stipulations thus were entered into on July 29 and 30. See
             United States v. Dean, 67 M.J. 224, 228 (C.A.A.F. 2009)
             (finding entry into a stipulation of fact occurred when the
             accused and prosecutor signed it). Each Respondent then
             submitted his proposed pretrial agreement, which included the
             signed stipulation as an attachment, as an “[o]ffer” to
             Convening Authority Escallier. On July 31st, Escallier
             accepted and signed the offers. Because a pretrial agreement
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                                           34
             is formed only upon the signature of both the accused and the
             convening authority, Respondents’ pretrial agreements were
             fully executed on July 31, one or two days after Respondents
             entered into the stipulations of fact.

                  The timing of these events is fatal to Respondents’ claim
             that they began performance of a promise contained in the
             pretrial agreements by signing the stipulations. At the time the
             stipulations were executed, there were no pretrial agreements
             in existence and therefore no promises “contained in the
             agreements” for Respondents to perform. The terms of the
             agreements confirm this understanding, describing each
             agreement with its attachments as a single “[o]ffer” that
             became a binding “[a]greement” upon the Convening
             Authority’s acceptance. See Mohammad PTA ¶ 62; bin ‘Atash
             PTA ¶ 56; Hawsawi PTA ¶ 59. Because the executed
             stipulations were attachments to the proffered pretrial
             agreements, they were part of the offer to the Convening
             Authority rather than something promised in the future under
             the executed agreements.

                  Moreover, the pretrial agreements recognize that
             Respondents had already agreed to the attached stipulations of
             fact. See Mohammad PTA ¶ 7 (providing that the “Accused
             has read and fully understands the Stipulation of Fact” and that
             the stipulation “is a fair and accurate summary of the facts
             supporting all charges and specifications to which he is
             pleading guilty”); bin ‘Atash PTA ¶ 7 (similar); Hawsawi PTA
             ¶ 7 (similar).      When Respondents signed the written
             stipulations of fact they were not (and by definition could not
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                                               35
             have been) beginning “performance” of any “promise” in their
             pretrial agreements. 10

                  Respondents point to several provisions in the pretrial
             agreements that supposedly reflect a promise to enter into the
             stipulations of fact. In particular, each agreement provides that

                  10
                     Rather than ground its decision in the withdrawal regulation
             or contract principles, the military judge relied on United States v.
             Dean, 67 M.J. 224 (C.A.A.F. 2009). Dean involved a then-identical
             withdrawal regulation in the court-martial context. See Rules for
             Courts-Martial 705(d)(4)(B) (2008). The Court of Appeals for the
             Armed Forces (“CAAF”) held that the convening authority could not
             withdraw from a pretrial agreement because the accused had begun
             performance of a promise by entering into a stipulation of fact before
             the pretrial agreement was executed. Dean, 67 M.J. at 227–28.
             Citing Dean, the military judge concluded that “[t]he timing of the
             entry of such stipulation is not the issue; the act of doing so is what
             begins performance.” Pretrial Agreement Order at 27.
                  We disagree. CAAF decisions, while instructive, do not control
             our interpretation of the Commissions Act. See 10 U.S.C. § 948b(c)
             (providing that the Uniform Code of Military Justice generally does
             not apply to military commissions and that its “judicial
             construction,” “while instructive,” is “not of its own force binding on
             military commissions”). On this issue, we find Dean’s reasoning
             unpersuasive and its facts distinguishable. The court did not explain
             how its holding was consistent with the text of the withdrawal
             regulation or basic principles of contract law. Cf. Dean, 67 M.J. at
             231 (Baker, J., dissenting) (“[I]t is not clear how Appellant could, as
             a matter of military or contract law, begin performing on a contract
             that had not yet been signed by the convening authority and that had
             not entered into force.”). Moreover, the court identified several
             actions that counted as beginning performance, and one of those
             actions occurred after the pretrial agreement was finalized. See id.
             at 228. The pre-agreement entry into the stipulation of fact was
             therefore not necessary to the court’s disposition. For these reasons,
             we decline to follow Dean.
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             the Respondent “agrees to enter into the Stipulation of Fact
             included as Attachment A to this Pretrial Agreement”; that “a
             failure to enter into a Stipulation of Fact is a breach of a
             material term of this Agreement”; and that the prosecution may
             withdraw from the agreement if the Respondent “fails to enter
             into the Stipulation of Fact.” Mohammad PTA ¶¶ 6, 46(e); bin
             ‘Atash PTA ¶¶ 6, 43(e); see also Hawsawi PTA ¶¶ 6, 44(e).
             Respondents argue they performed these promises by signing
             the written stipulations at Attachment A.

                  The cited provisions, however, are forward looking and
             cannot promise something that already occurred by the time the
             pretrial agreements were executed. To the extent these
             provisions even promise future conduct, it must be the promise
             that Respondents would formally enter the stipulations of fact
             into evidence at their plea hearings before the military judge.
             See R.M.C. 811(d), (f) (providing the parties must offer the
             stipulations to the military judge and he must accept them
             before they become binding); Enter, BLACK’S LAW
             DICTIONARY 671 (“To put formally before a court or on the
             record[.]”). This reading comports with other provisions in the
             pretrial agreements that list entry into the stipulations with
             other events to be performed in the future before or by the
             military judge. See Mohammad PTA ¶ 46; bin ‘Atash PTA
             ¶ 43; Hawsawi PTA ¶ 44. As the parties agree, Secretary
             Austin withdrew from the pretrial agreements before the
             military judge convened the plea hearings. Respondents never
             began performance because there was no plea hearing and
             therefore no entry of the stipulations before the military
             judge. 11

                 11
                      The dissenting opinion protests that the government did not
             raise this argument, but it does not dispute the plain meaning of the
             agreements. Dissenting Op. 38–42. Consistent with ordinary guilty
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                  Respondents also stress the importance of the stipulations.
             They explain the stipulations contain Respondents’ admissions
             to every element of the charged offenses, thereby “provid[ing]
             the Government the precise narrative of how, why, and by
             whom the death-eligible crimes were committed.” Bin ‘Atash
             Br. 17. This information would have aided the military judge
             in assessing Respondents’ guilt and determining their
             sentences.

                  We recognize the stipulations of fact were an important
             part of negotiations between Respondents and the prosecution.
             Indeed, the executed stipulations are perhaps best understood
             as consideration Respondents offered, along with several
             forward-looking promises (such as agreeing to plead guilty and
             to enter the stipulations before the military judge), in exchange
             for the Convening Authority’s promise not to seek the death
             penalty. See Univ. S. Fla. Bd. Trs. v. United States, 92 F.4th
             1072, 1082 (Fed. Cir. 2024) (explaining a party may offer past
             actions along with promises of future conduct as consideration
             for a contract); RESTATEMENT (SECOND) OF CONTRACTS § 80.
             Even so, signing the pretrial agreements did not transform the
             stipulations of fact at Attachment A into performance of a
             promise in the pretrial agreements because those stipulations
             were executed before any contractually binding promise was


             plea and sentencing processes, the agreements contemplate that a
             defendant will offer a statement of the relevant facts as part of the
             entry of a guilty plea and sentencing. Accordingly, as the dissenting
             opinion recognizes, Respondents’ stipulations of fact would play
             multiple roles, including “in the ultimate plea hearing and
             sentencing.” Dissenting Op. 4; see also id. at 20, 23; 1 FRANCIS A.
             GILLIGAN & FREDRIC I. LEDERER, COURT-MARTIAL PROCEDURE
             § 12-25-11 (5th ed. 2020) (explaining that a stipulation of fact is used
             to assess a guilty plea and at sentencing).
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                                               38
             made. 12 See RESTATEMENT (SECOND) OF CONTRACTS § 55
             cmt. b (“[I]f the offeror’s performance is complete at the
             moment of acceptance, the element of futurity required by the
             definition of ‘promise’ … is lacking.”). Nor could the signed
             stipulations serve as performance of the promise to enter into
             the stipulations before the military judge, because that entry
             never took place.

                  In light of established principles of contract law and the
             text of the pretrial agreements, Respondents did not begin
             performance of any promise contained in the pretrial


                  12
                      As Williston explains, a contract based on past and future
             actions “does not turn already-completed preeffective-date work into
             work the first party was obligated to perform, when there had been
             no obligation to perform it when it was performed.” 4 WILLISTON
             § 8:13; see also Univ. S. Fla. Bd. Trs., 92 F.4th at 1083 (holding that
             when a party offers past and future work as consideration for a
             contract “the already-completed … work remains not obligatory”).
             Whether characterized as valid past consideration, executed
             consideration, or consideration for a reverse unilateral contract, pre-
             agreement actions offered as consideration do not constitute
             performance of a promise contained in a later-executed contract. See
             LEAKE & RANDALL, PRINCIPLES OF THE LAW OF CONTRACTS 30–31
             (7th ed. 1921) (contrasting executed consideration, which does not
             involve making a promise and “is voluntary and may be withheld,”
             with executory consideration, which does involve making a promise
             and is obligatory); 2 WILLISTON § 6:9 (explaining that for the typical
             reverse unilateral contract, “the only binding promise is made by the
             offeree”). Thus, under the dissenting opinion’s example, when the
             painter finishes the front fence before the homeowner executes the
             contract, the homeowner is still obligated under the contract to
             compensate the painter for his pre-contract work. Dissenting Op. 52.
             But the act of painting the front fence was not performance of a
             promise in the contract because at the time he painted the fence, there
             was no contractual duty for him to perform.
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                                           39
             agreements when they signed their stipulations of fact. In
             concluding otherwise, the military judge clearly erred.

                                            c

                  Finally, the military judge found that Respondents began
             performance by agreeing not to challenge the government’s use
             of certain evidence during sentencing. For several years before
             signing the pretrial agreements, Respondents contested the
             admissibility of certain “Letterhead Memoranda,” which
             documented confessions Respondents made to the Federal
             Bureau of Investigation in 2007 and 2008. The admissibility
             of these documents was an important subject in the
             negotiations over the pretrial agreements. The parties
             eventually agreed that certain parts of the Letterhead
             Memoranda could be used against Respondents and that other
             “red-boxed” sections in those Memoranda would be
             inadmissible. The pretrial agreements incorporated this
             compromise: The government promised not to ask
             Respondents about the red-boxed parts of the Memoranda
             during sentencing and, in return, Respondents promised not to
             object to the admissibility of the remainder of the Memoranda.
             The military judge concluded that by negotiating the red-
             boxing, Respondents began performance of a promise in the
             pretrial agreements.

                  This finding constitutes a double error. First, the
             negotiations over which parts of the Memoranda would be
             admissible occurred before the pretrial agreements were
             executed. As with the stipulations of fact, actions taken before
             a binding agreement is created cannot be performance of a
             promise made in the agreement. Second, the military judge
             failed to explain how Respondents began performance of the
             relevant promise to withhold objections.           Respondents
             promised they would not object to the government introducing
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                                           40
             the agreed-upon parts of the Memoranda as evidence for
             sentencing purposes. But Secretary Austin withdrew from the
             agreements before Respondents entered their guilty pleas and
             before any sentencing proceedings began. The proceedings
             never reached the stage at which Respondents’ promise would
             be relevant, so Respondents did not begin (and could not have
             begun) performance of this promise. The military judge erred
             in concluding otherwise.

                                        *****

                  Because the finding of performance by the military judge
             was plainly erroneous, and none of Respondents’ other asserted
             legal barriers to the Secretary’s withdrawal have merit, the
             government has demonstrated a clear and indisputable right to
             relief in this case.

                                            B

                  In addition to demonstrating a clear and indisputable right
             to relief under the law, a party seeking mandamus or
             prohibition must establish that it has “no other adequate means
             to attain the relief [it] desires[.]” Cheney, 542 U.S. at 380
             (citation omitted). A petition for a writ of mandamus or
             prohibition “may never be employed as a substitute for appeal.”
             Will v. United States, 389 U.S. 90, 97 (1967). But if
             “interlocutory appeal is unavailable, and appeal after final
             judgment would be an inadequate form of relief[,]” mandamus
             or prohibition may be warranted. Fokker Servs., 818 F.3d at
             747.

                  In this case, the government has demonstrated that it has
             no alternative “adequate means” of enforcing its right to
             withdraw from these plea agreements by way of either an
             interlocutory or direct appeal.
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                                            41
                  To start, no interlocutory appeal is available. The
             Commissions Act allows the government to seek interlocutory
             review by the CMCR in only four instances. 10 U.S.C.
             § 950d(a). Review is available when the military judge
             (1) terminates a charge or specification, (2) excludes
             significant evidence, (3) closes proceedings to the public or
             accused, or (4) makes various rulings related to classified
             evidence. Id. §§ 949d(c)–(d), 950d(a). None of these
             circumstances apply here because the question is whether, with
             the cases still open and pending, the military commission will
             enforce three pretrial agreements and proceed to enter pleas
             pursuant to their terms. The absence of any interlocutory
             avenue for relief explains why the government pursued a
             petition for writs of mandamus and prohibition in the CMCR.
             And nothing in the Commissions Act provides for direct
             interlocutory review in this court at all.

                  Bin ‘Atash argues that the government could seek
             interlocutory appeal now because the military judge’s order
             rejecting the Secretary’s withdrawal from the pretrial
             agreements “terminates proceedings of the military
             commission with respect to a charge or specification.” Id.
             § 950d(a)(1). Specifically, he argues the order is essentially an
             order removing the death penalty, which—according to some
             circuits—the government may appeal on interlocutory review
             in the civilian criminal context. See United States v.
             Moussaoui, 382 F.3d 453, 462–63 (4th Cir. 2004) (collecting
             cases).

                  That argument has no purchase here. The relevant statute
             in the civilian criminal context allows the government to appeal
             an order dismissing an indictment or information “as to any one
             or more counts, or any part thereof.” 18 U.S.C. § 3731
             (emphasis added). The statute also expressly provides that its
             provisions “shall be liberally construed to effectuate its
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             purposes.” Id. By contrast, nothing in the text of the
             Commissions Act authorizes interlocutory appeal from partial
             dismissals or provides that its terms must be liberally
             construed. See 10 U.S.C. § 950d. So at best, bin ‘Atash’s
             proposed path for review is far too tenuous to be an adequate
             alternative for the government.

                  Nor is there a reliable path to obtain effective relief after
             final judgment. It is well established that “in the federal
             jurisprudence, at least, appeals by the Government in criminal
             cases are something unusual, exceptional, not favored.”
             Carroll v. United States, 354 U.S. 394, 400 (1957). The
             government cannot appeal a final criminal judgment “absent
             express legislative authorization to the contrary.” Arizona v.
             Manypenny, 451 U.S. 232, 246 (1981); see also United States
             v. Scott, 437 U.S. 82, 84–85 (1978) (“The Court has long taken
             the view that the United States has no right of appeal in a
             criminal case, absent explicit statutory authority.”).

                  The question in this case, then, is whether the
             Commissions Act authorizes the government to appeal a
             military commission’s final judgment. Respondents point to
             two pathways by which the government might appeal. Neither
             is adequate in these circumstances.

                  The first proposed route goes through the CMCR. Under
             the Commissions Act, whenever a military commission enters
             a final decision that includes a finding of guilt, the convening
             authority must refer the case to the CMCR. 10 U.S.C.
             § 950c(a). The scope of review in that court, however, is
             statutorily limited to matters “properly raised by the accused.”
             Id. § 950f(c) (emphasis added). The statute makes no provision
             for review of claims by the government.
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                  Once the CMCR issues its decision, this court has
             exclusive jurisdiction to review that ruling. Id. § 950g(a). But
             even then, our review is statutorily confined to matters raised
             before the CMCR—namely, those issues raised by the accused.
             Again, no apparent route for the government to appeal issues
             not raised by the accused—such as a challenge to the entry of
             a guilty plea—is provided, even assuming the government can
             appeal at all.

                  The second route of review bypasses the CMCR. See id.
             § 950g(c)(2). Under the Commissions Act, defendants may
             waive their right to an automatic appeal to the CMCR. Id.
             § 950c(b). All three Respondents have agreed to execute such
             waivers in their pretrial agreements. See Mohammad PTA
             ¶ 34; bin ‘Atash PTA ¶ 34; Hawsawi PTA ¶ 34. When a
             defendant waives appeal to the CMCR, we have jurisdiction to
             review directly the final judgment of the military commission.
             10 U.S.C. § 950g(a)–(b).

                  While the Commissions Act authorizes our review under
             this pathway, the statute does not expressly authorize the
             government to bring an appeal after entry of final judgment.
             This absence is noteworthy. Congress has expressly authorized
             the government to appeal certain sentencing decisions in the
             civilian and court-martial context, but it has not made similar
             provision for the government in military commission cases.
             Compare 18 U.S.C. § 3742(b), and 10 U.S.C. § 856(d), with 10
             U.S.C. § 950d, and 10 U.S.C. § 950g.

                  In any event, we need not—and do not—decide whether
             Section 950g would permit the government to appeal a military
             commission’s final judgment directly to this court. Even if the
             government could overcome the presumption against
             prosecutorial appeals in criminal cases and invoke our
             jurisdiction, that alternative would still be inadequate because
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             it “would come with its own attendant risks.” See Fokker
             Servs., 818 F.3d at 749. If the government could challenge the
             validity of the pretrial agreements only after guilty pleas have
             been entered, sentences imposed, and final judgments
             rendered, a successful appeal could leave the government’s
             ability to try Respondents significantly hampered.

                  In particular, Respondents likely would claim
             irredeemable prejudice from being tried after admitting to the
             facts of their guilt on the record and under oath during both plea
             and sentencing hearings. Should their pleas go forward, each
             of them would be “questioned under oath about the offenses
             and/or the Government’s averment of evidence” during a plea
             hearing. R.M.C. 910(e).

                  As for sentencing, under the Commissions Act, sentences
             are determined not by judges, but by “members” of the
             commission in what would, under these pretrial agreements, be
             public proceedings. 10 U.S.C. § 949m(b); Trial Tr. 51686:3–
             15, Jan. 8, 2025 (J.A. 419). Given the scope of evidence in
             these cases, the government has represented, and Respondents
             do not dispute, that the sentencing phase trials will likely
             involve “a several-month presentation” that will “establish the
             historical record.” Trial Tr. 51685:16–18, Jan. 8, 2025 (J.A.
             418). As terms of their pretrial agreements, Respondents have
             waived most grounds for objecting to the evidence presented at
             these hearings. Mohammad PTA ¶ 13; bin ‘Atash PTA ¶ 13;
             Hawsawi PTA ¶ 13.

                  Mohammad, for example, has agreed that the prosecution
             may introduce, among other things, statements he made while
             in custody, documentary evidence from searches, forensic
             testing results of any physical evidence, and victim-impact
             evidence. Mohammad PTA ¶ 12(ii), (viii), (xix)–(xx), (xxiii),
             (xxiv). For this final category, Mohammad has represented
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                                            45
             through counsel that he “envision[s] giving maximum
             opportunity to any victim witness, individuals, family
             members, or survivors who are interested in being heard[.]”
             Trial Tr. 51686:10–12, Jan. 8, 2025 (J.A. 419). Given the
             magnitude of evidence likely to be presented at sentencing and
             their admissions of guilt, Respondents would likely claim that
             no subsequent trial could be fair.

                  In light of the daunting procedural and substantive
             roadblocks facing a government appeal (if any) from the entry
             of final judgments in these cases, the government has
             demonstrated that it has no reliable and “adequate” alternative
             avenue to obtain the relief it seeks—an opportunity to try these
             three Respondents and seek the death penalty. That substantial
             uncertainty satisfies the adequate-alternative prong of the
             mandamus test. Fokker Servs., 818 F.3d at 749 (granting
             mandamus when forcing the government to appeal after final
             judgment carried a substantial risk that the government would
             be unable to re-indict the defendant).

                                             C

                  Finally, we must determine whether the writs are
             “appropriate under the circumstances.” Fokker Servs., 818
             F.3d at 750 (quoting Cheney, 542 U.S. at 381). “Although the
             remedy by mandamus [or prohibition] is at law, its allowance
             is controlled by equitable principles.” United States ex rel.
             Greathouse v. Dern, 289 U.S. 352, 359 (1933). Considering
             the “totality of the circumstances,” we conclude it is proper to
             grant the writs in this case. In re Kellogg Brown & Root, Inc.,
             756 F.3d 754, 762 (D.C. Cir. 2014).

                  The military judge determined that (1) Secretary Austin
             lacked the power to partially withdraw the convening authority
             after it was delegated to Escallier, and (2) even if the Secretary
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             could assume part of the convening authority, his withdrawal
             from the pretrial agreements was untimely under the
             regulations. Both conclusions rested on clear legal error, as
             already explained. Correction of these errors is necessary and
             appropriate because of the significant national interest in the
             disposition of these cases, which have implications for the
             military chain of command under the Commissions Act and for
             the proper functioning of military commissions. See Colonial
             Times, Inc. v. Gasch, 509 F.2d 517, 524 (D.C. Cir. 1975)
             (finding mandamus appropriate to “forestall future error in trial
             courts” and “eliminate uncertainty” in important areas of law).

                  First, the prosecutions of Mohammad, bin ‘Atash, and
             Hawsawi implicate a national interest of the highest degree.
             See Nat’l Wildlife Fed’n v. United States, 626 F.2d 917, 924
             (D.C. Cir. 1980) (“[T]he exercise of discretion to issue a writ
             of mandamus … must be guided by the court’s perception of
             the public interest.”). Respondents are the alleged mastermind
             and two alleged co-conspirators behind the terror attacks of
             September 11, 2001, which killed nearly three thousand people
             on American soil. The families of the victims and the
             American public have a strong interest in bringing the
             perpetrators to justice. Congress entrusted the prosecution of
             these war crimes to the Secretary of Defense, under the
             direction and supervision of the President. In particular, the
             judgment about whether Respondents should face the death
             penalty is a grave one that requires political accountability.
             Failing to recognize the Secretary’s overarching responsibility
             for the appropriate resolution of these prosecutions, the
             military judge barred the Secretary from reasserting a part of
             the convening authority that had been delegated to a
             subordinate. Because this case implicates the interests of the
             entire nation, the military judge’s legal error must be corrected
             so the prosecutions may proceed according to the Secretary’s
             best judgment.
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                  Second, the military judge’s reasoning has wide
             implications for the Secretary’s ability to execute his legal
             duties. As already explained, in the Commissions Act,
             Congress established the Secretary of Defense as the superior
             convening authority for military commissions. The Secretary
             also has administrative authority over military commissions,
             which he may exercise directly or delegate at his discretion.
             Even when he delegates authority to a subordinate, however,
             he retains responsibility for the exercise of that authority and
             may revoke that delegation in whole or in part.

                  Contrary to this framework, the military judge held the
             Secretary could not partially withdraw his delegation of
             convening authority unless specifically authorized to do so.
             Nothing in the Commissions Act requires the Secretary to
             exercise all of the convening authority or none at all. The
             military judge’s error undermines political legitimacy and
             accountability in the context of military commissions by
             placing an inferior convening authority beyond the Secretary’s
             superintendence. Because the military judge’s order imposes
             an “unwarranted impairment” of the Secretary in the
             performance of his duties in this critical national security
             context, mandamus and prohibition are appropriate. Cheney,
             542 U.S. at 390.

                  Finally, the military judge’s erroneous interpretation of the
             withdrawal regulation will unduly limit the ability of future
             convening authorities to negotiate and withdraw from pretrial
             agreements. The withdrawal regulation allows some flexibility
             for the convening authority to withdraw from a pretrial
             agreement before an accused begins performance of a promise
             in the agreement. See R.M.C. 705(d)(4)(B). The military
             judge concluded Respondents began performing promises in
             the pretrial agreements based on acts that occurred before the
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             signing of the agreements and acts that had no relation to the
             actual promises made. The likely consequence of this
             erroneous interpretation is that many, if not most, pretrial
             agreements will become irrevocable upon signing, thus
             effectively eliminating the flexibility provided by the
             withdrawal regulation. In addition, a rule that performance
             occurs at the moment the convening authority signs an
             agreement would obligate the Secretary of Defense to divert
             his attention from other matters to the close superintendence of
             every plea agreement, at the risk of being irrevocably bound by
             a subordinate’s decisionmaking. 13 This would raise the stakes
             of entering into a pretrial agreement, which in turn could
             impede negotiations and frustrate the formation of such
             agreements. Mandamus and prohibition are warranted when a
             challenged decision would have “enormous practical
             consequences for the government’s ability to negotiate future
             settlements.” Fokker Servs., 818 F.3d at 750 (quoting United
             States v. Microsoft, 56 F.3d 1448, 1456 (D.C. Cir. 1995)).

                  Respondents counter that issuing the writs is inappropriate
             because the government spent years negotiating these pretrial
             agreements and should not be given a second bite at the apple.
             Secretary Austin, they claim, had been aware of these
             negotiations but chose not to intervene sooner. Moreover,
             restarting the prosecution would result in many more years of
             litigation with only a speculative possibility of securing the

                 13
                     Respondents argue the Secretary had other means of control
             and supervision at his disposal, such as prospectively limiting
             Escallier’s power to enter into pretrial agreements or prohibiting
             particular terms in the agreements. See R.M.C. 705(a). The
             availability of these other tools, however, does not extinguish the
             Secretary’s ongoing responsibility of supervision, nor does it
             eliminate his authority to take back the convening authority from a
             subordinate and exercise it himself.
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             death penalty and would postpone finality and closure for
             Respondents and the American public.

                  Although Respondents criticize the Secretary’s approach,
             nothing in his lawful choices renders mandamus and
             prohibition inappropriate. The government has adequately
             explained that Secretary Austin delayed action to avoid an
             unlawful influence challenge, waiting to see what type of
             agreement, if any, would result from the negotiations and only
             then deciding whether intervention was necessary. See 10
             U.S.C. § 949b(a)(2)(B). In these proceedings, Respondents
             have asserted numerous unlawful influence challenges against
             various government officials, including the Secretary of
             Defense. For example, when a former Secretary removed the
             convening authority in 2018, Respondents’ co-defendant filed
             a motion to dismiss all charges for unlawful influence, arguing
             the termination was in retaliation for the convening authority’s
             decisions. See Al Baluchi’s Motion to Dismiss for Unlawful
             Influence, United States v. Mohammad, AE 555 (AAA) (U.S.
             M.C.T.J. Feb. 9, 2018). Although the military judge ultimately
             rejected this challenge, it required extensive factual findings
             and took nearly a year to resolve. To avoid additional
             litigation, Secretary Austin chose to stay his hand and allow
             negotiations to run their course. When he found the resulting
             agreements unacceptable and contrary to the public interest, he
             promptly reclaimed part of the convening authority and
             withdrew from the agreements. This was reasonable and
             consistent with the Secretary’s responsibilities.

                  Having properly assumed the convening authority, the
             Secretary determined that the “families and the American
             public deserve the opportunity to see military commission trials
             carried out.” The Secretary acted within the bounds of his legal
             authority, and we decline to second-guess his judgment. In
             light of the clear and indisputable errors committed by the
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             military judge, which implicate issues of immense national
             importance, we conclude that issuance of the writs is
             appropriate under these circumstances.

                                            IV

                  Because the government has satisfied the stringent criteria
             for granting writs of mandamus and prohibition, we grant the
             writs, vacate the military judge’s order of November 6, 2024,
             preventing the Secretary of Defense’s withdrawal from the
             pretrial agreements, and prohibit the military judge from
             conducting hearings in which Respondents would enter guilty
             pleas or take any other action pursuant to the withdrawn pretrial
             agreements. The stay pending disposition of the petition will
             be dissolved in 21 days, when the order accompanying this
             opinion becomes effective. See D.C. Cir. Local Rule 41(a)(3).

                                                                 So ordered.
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                  WILKINS, Circuit Judge, concurring in part and dissenting
             in part:

                  We must decide whether the government has shown
             clearly and indisputably that the Military Judge at Guantanamo
             Bay clearly erred when he held that Respondents “beg[an]
             performance of promises contained in the agreement[s]” as
             contemplated by the Rules for Military Commissions. The
             plain text of the agreements, the language of the controlling
             regulations, the considered judgment of the Military Judge and
             the deference we owe him, the contract doctrines of promise
             and formation, and the demanding standard of review that the
             government must satisfy all point to one conclusion: The
             government did not—indeed, cannot—establish a clear and
             indisputable right to relief.

                  We have every reason to believe the opposite. The
             accused clearly and indisputably began performance of at least
             three of the many promises they made. First, Respondents
             agreed to enter into factual stipulations, which they began
             performing by signing the stipulations. Second, Respondents
             began performance on their promises to waive all waivable
             motions by refraining at a motions hearing from prosecuting a
             pending motion to suppress. Third, that same conduct
             constituted beginning performance on a promise to move to
             withdraw pending motions. The Military Judge, Col McCall,
             who has presided over September 11 proceedings for years, got
             it right when he found that the Secretary of Defense was
             prohibited by the military commission rules from reneging on
             the plea agreements. And the U.S. Court of Military
             Commission Review, reviewing the same flawed arguments
             the government raises here, appropriately exercised its limited
             authority by applying the correct standard of review and
             denying the writ petition.

                 Against that backdrop, the Court’s holding is stunning.
             Not only does the majority believe that Respondents did not
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                                            2
             begin performance, but it holds that the government established
             a clear and indisputable right to a writ of mandamus or
             prohibition. It does so without citing a single case, statute, or
             other authority that requires issuing such extraordinary relief.
             Instead, the Court substitutes its own gloss on contract law—
             which does not constrain the reach of a military rule—for the
             weight of authority needed to support a successful mandamus
             petition. And it dilutes the government’s burden by failing to
             respect a military court’s considered judgment about the
             application of the governing military regulation, which requires
             only that Respondents begin (and not complete) performance
             before the Secretary is precluded from withdrawing from the
             agreements. Settled law requires that courts like ours defer to
             the decisions of military courts, particularly when (like here)
             those courts interpret military rules. Yet such deference is
             conspicuously absent from the majority’s opinion. No matter
             how high the national interest, both the governing military rule
             and our precedent require more.

                 I join sections III.A.1 and III.B of the Court’s opinion,
             which rightly determine that the Secretary of Defense had
             authority to withdraw Convening Authority Escallier’s ability
             to enter into plea agreements and that, aside from a writ of
             mandamus or prohibition, the government lacks an adequate
             and alternative means of obtaining relief. As for the rest, the
             majority makes a grave error. The government has not come
             within a country mile of proving clearly and indisputably that
             the Military Judge erred, much less committed clear error when
             he applied the withdrawal regulation. Because a writ of
             mandamus or prohibition should issue only if the government
             makes such a showing, I respectfully dissent.
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                                            3
                                            I.

                  The facts giving rise to this dispute are highly unusual.
             Respondents are charged with orchestrating the deadliest
             terrorist attack in our nation’s history. Several of the charges
             are capital offenses, for which the government may seek the
             death penalty for any guilty party. Pretrial proceedings at
             Guantanamo Bay have lasted for nearly two decades.

                  As early as May 2017, the government expressed interest
             in discussing the “potential for pretrial agreements” in these
             cases. In March 2022, a prosecutor again reached out to
             Respondents to “begin to negotiate whether pre-trial
             agreements [we]re possible.” J.A. 26. About a week later, the
             parties indicated that negotiations were sufficiently successful
             to warrant vacating upcoming hearing dates to allow time for
             further negotiations. Among the topics of negotiation was the
             contents of the stipulations of fact that each Respondent would
             be required to enter. The government characterized the
             stipulations as one of “the two most important aspects of the
             Prosecution’s willingness to endorse any pre-trial agreements
             in this case.” J.A. 198. The government initially drafted the
             stipulations, and the parties rigorously bargained over their
             contents. See J.A. 232 (“We did spend a lot of time on the
             Stipulations of Fact.”); Al Hawsawi & Mohammed Resp. to
             Order of Mar. 4, 2025 (Sealed), Attach. B, at B-75 to B-76
             (Mar. 7, 2025), Dkt. No. 2104532.

                  After 27 months, the parties’ negotiations culminated in
             written pretrial agreements (“PTAs”). In exchange for the
             government taking the death penalty off the table, Respondents
             “agreed to plead guilty to all of the charged offenses, including
             the murder of the 2,976 people listed in the charge sheet, and
             to be later sentenced by a panel of military officers.” J.A. 203.
             Factual stipulations were appended to each PTA as Attachment
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                                             4
             A, and they served as full confessions of Respondents’
             involvement in planning and executing the September 11
             attacks. Mohammed and bin ‘Atash signed the PTAs on July
             29, 2024, and signed the factual stipulations the same day. Al
             Hawsawi signed his PTA and then the attached stipulation on
             July 30. The trial prosecutor signed each stipulation the same
             day as each Respondent. The stipulations were to play multiple
             roles in the ultimate plea hearing and sentencing, including
             establishing the factual basis for the guilty plea and aiding the
             court at sentencing. Within 48 hours of Mohammed and bin
             ‘Atash’s signatures, and only 24 hours of Al Hawsawi’s, the
             Convening Authority countersigned each of the PTAs on July
             31, 2024.

                  The next day, August 1, the parties convened for a hearing
             on a motion to suppress jointly filed by Respondents and
             another co-defendant, Ammar al Baluchi. The Military Judge
             discussed potentially severing al Baluchi’s case from the other
             three Respondents because he had not entered into a PTA. The
             government argued that severance was unnecessary until the
             court accepted the guilty pleas, but stated its position that “with
             the waiver of all motions from three of the four accused,
             [Respondents could not] actively continue to participate in any
             of the contested litigation based on the pretrial agreement.”
             J.A. 224–25. al Baluchi’s attorney agreed, as did the Military
             Judge. Respondents did not question the FBI witness at the
             hearing. The hearing continued into the following day, when
             Al Hawsawi’s counsel indicated that he refrained from
             cross-examining the witness because the PTAs required it.

                 After the August 2 hearing, the Defense Secretary issued a
             memo withdrawing from each of the three PTAs. See
             Memorandum from Lloyd Austin, Sec’y of Def. to Susan
             Escallier, Convening Authority for Mil. Comm’ns (Aug. 2,
             2024), https://media.defense.gov/2024/Aug/02/2003517325/-
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                                             5
             1/-1/1/Secretary-of-Defense-Memorandum-for-Convening-
             Authority-for-Military-Commissions.pdf
             [https://perma.cc/T2U7USF6].        Respondents successfully
             challenged this change in position before the Military Judge,
             who entered an order scheduling the pleas pursuant to the
             PTAs. Pet. for a Writ of Mandamus & Prohibition Ex. A
             [hereinafter Pet. Ex. A]. The government then petitioned the
             U.S. Court of Military Commission Review (“CMCR”) for a
             writ of mandamus to halt the plea hearing, which that court
             denied. Pet. for a Writ of Mandamus & Prohibition Ex. B
             [hereinafter Pet. Ex. B]. Hoping that the third time really is the
             charm, the government now seeks a writ from our Court, asking
             us to hold that these two military tribunals were incorrect and
             to halt the plea hearings.

                                            II.

                  I start with the burdensome standards of review—first,
             how we consider the Military Judge’s determination that
             Respondents began performance, and second, what a petitioner
             must show to obtain mandamus relief. Both because of the
             fact-laden nature of the Military Judge’s ruling below, and
             since mandamus review is heavily circumscribed, the
             government must prove that exceptional circumstances warrant
             the extraordinary relief it requests. The majority gives the
             government a free pass by getting the former standard wrong
             and acknowledging but not applying the latter.

                 At bottom, this case concerns a military judge’s
             application of a military procedural rule. The Military Judge
             applied Rule for Military Commissions (“R.M.C.”)
             705(d)(4)(B) (“withdrawal regulation”), which restricts the
             Convening Authority’s power to withdraw from a PTA to “any
             time before the accused begins performance of promises
             contained in the agreement.” Pet. Ex. A at 15 (quoting R.M.C.
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             705(d)(4)(B)). To do so, he engaged in a predominantly factual
             (not legal) inquiry. He first interpreted the PTAs to determine
             the relevant commitments that both parties made. He then
             assessed Respondents’ conduct and the proceedings before
             him, and he held that each “began performance” of several of
             those promises. Id. at 26. The majority erroneously reviews
             every issue de novo. But that standard applies only to our
             interpretation of the withdrawal regulation itself. Instead, we
             must review the Military Judge’s application of the Rule for
             clear error because it poses a mixed question of fact and law in
             which factual issues dominate.

                  Clear-error review in a typical case requires substantial
             deference. But here, extraordinary deference is warranted
             because the government seeks to upend the Military Judge’s
             application via a mandamus petition. That doubly deferential
             posture is fortified by precedent instructing that non-military
             courts should extend deference to military tribunals,
             particularly in the interpretation of military law. To prevail,
             the government must do more than establish that the Military
             Judge got it wrong. It must clearly and indisputably show that
             the Military Judge’s application of Rule 705(d)(4)(B) was
             clearly erroneous. Proper application of these standards
             compels only one conclusion: denying the petition.

                                            A.

                  The majority believes we review de novo the Military
             Judge’s application of the withdrawal regulation. Majority Op.
             18–20. In its view, “whether Respondents’ conduct constituted
             [the beginning of] performance of a promise that is contained
             in the agreements” is merely a dispute “over what the words in
             the [PTAs] mean” because the government does not contest the
             “facts” below. Id. at 18. That conclusion is wrong. We review
             for clear error the Military Judge’s decisions about the scope of
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                                            7
             the PTAs’ promises and whether Respondents began
             performance of those promises because both present
             predominantly factual inquiries.

                                            1.

                  Consider the several steps involved in the Military Judge’s
             application of the Rule. He necessarily made a threshold legal
             determination about what the withdrawal regulation requires.
             Pet. Ex. A at 15–17. What did the Executive Branch intend for
             “begins performance of promises contained in [a PTA]” to
             mean in R.M.C. 705(d)(4)(B)? That, of course, implicates a
             legal question on review. See Bufkin v. Collins, 145 S. Ct. 728,
             738 (2025).

                  But then the Military Judge had to make two other,
             primarily factual, determinations. First, to assess whether
             Respondents began performance of promises in the PTAs, he
             necessarily decided the existence and scope of relevant
             promises. That is, what conduct did the parties intend their
             contractual promises to require? Second, the Military Judge
             determined whether the facts before him—measured by the
             parties’ conduct and demeanor, along with the surrounding
             circumstances, like the context of the negotiations and the
             history of the case—established that Respondents “beg[an]
             performance” under R.M.C. 705(d)(4)(B).

                  The Military Judge thus determined that performance
             under the PTAs “began in a number of ways.” Pet. Ex. A at
             26. First, performance began when “[a]ll three Accused signed
             lengthy confessional stipulations of fact, which could be used
             to establish their guilt and for the Panel Members to determine
             an appropriate sentence.” Id. The “agreed-to Stipulations of
             Fact” became “binding” only when the Convening Authority
             signed the PTAs. Id. at 7. The Military Judge’s holding that
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             Respondents “began performance” by “sign[ing] lengthy
             confessional stipulations of fact,” id. at 26, necessitated an
             antecedent factual finding that each agreement to enter into
             stipulations of fact was a “promise[] contained in the [PTAs],”
             R.M.C. 705(d)(4)(B). To find such a promise, he pointed to
             language in the PTAs that Respondents “agreed to enter, and
             did in fact enter, into a Stipulation of Fact with the Trial
             Counsel, which could be used to establish guilt and aid the
             Panel Members in adjudging an appropriate sentence.” Pet. Ex.
             A at 7 & n.33 (footnotes omitted) (citing Pet. for a Writ of
             Mandamus & Prohibition Ex. D ¶¶ 6–7 [hereinafter
             Mohammed PTA]; Pet. for a Writ of Mandamus & Prohibition
             Ex. E ¶¶ 6–7 [hereinafter bin ‘Atash PTA]; Pet. for a Writ of
             Mandamus & Prohibition Ex. F ¶¶ 6–7 [hereinafter Al
             Hawsawi PTA]).

                 Second, the Military Judge held that Respondents began
             performance when they “refrained from examining the
             witness(es) for pretrial motions while the Prosecution and
             Defense Counsel for Mr. Ali [al Baluchi] questioned those
             same witnesses.” Id. at 26. In support, he highlighted that the
             prosecutor “himself insisted upon that course of action so that
             the Defense teams did not violate a material term of their
             agreements,” id. (footnote omitted), and observed that “Trial
             Counsel took the position that the waive all waivable motions
             provisions” precluded the accused from “examin[ing] the
             witness,” id. at 8 n.41 (citation omitted); see Mohammed PTA
             ¶ 23; bin ‘Atash PTA ¶ 22; Al Hawsawi PTA ¶ 23.1

             1
               Al Hawsawi also argued before the Military Judge that he began
             performing on a promise contained in the PTA on August 2, when
             his counsel asked to schedule entry of his guilty plea the following
             week. Pet’r 28(j) Letter, Attach. 7, at 3, 6 (Feb. 5, 2025), Dkt. No.
             2099089; Al Hawsawi PTA ¶ 56 (“The parties agree to ask the
             military commission to schedule the entry of pleas to occur within
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                                               9
                                               2.

                  Both determinations—about the meaning and scope of the
             promises in the PTAs, and second, whether Respondents began
             performance of a promise—present questions that we review
             for clear error.

                                               a.

                  Start with the former. “A pretrial agreement is a contract
             between the accused and the convening authority. Therefore,
             ‘we look to the basic principles of contract law when
             interpreting [one].’” United States v. Lundy, 63 M.J. 299, 301
             (C.A.A.F. 2006) (quoting United States v. Acevedo, 50 M.J.

             60 days of any signed Pretrial Agreement.”); see also Pet’r Resp. to
             Order of Mar. 4, 2025, at 49419:13–14 (Mar. 5, 2025), Dkt. No.
             2103963 (“Mr. [A]l Hawsawi has asked us to communicate to the
             commission that he would prefer to try and enter the plea during this
             session . . . .”); Pet’r Resp. to Order of Apr. 14, 2025 (Sealed),
             Attach. 5, at App. 914 (Apr. 15, 2025), Dkt. No. 2111203 (Al
             Hawsawi first asking on August 1, 2024, “to enter his plea in the first
             week of the September hearings”). The Military Judge did not rule
             on whether Al Hawsawi or any other Respondent began performance
             of this promise. See Pet. Ex. A at 25–28; see also Pet’r Resp. to
             Order of Apr. 14, 2025 (Sealed), Attach. 1, at App. 5 (Apr. 15, 2025),
             Dkt. No. 2111203 (government’s representation that Mohammed
             requested to enter plea on August 7, 2024, and bin ‘Atash requested
             August 8, 2024). Nor did the CMCR reach the issue. See Pet. Ex. B
             at 15–18. And before this Court, Respondents did not brief the claim
             or suggest at oral argument that we could deny the government’s
             petition on this alternative ground for beginning performance. Cf. Al
             Hawsawi & Mohammed Resp. to Order of Jan. 30, 2025, at 2–3 (Jan.
             30, 2025), Dkt. No. 2097662 (citing evidence of beginning
             performance on scheduling promises, but only in response to the
             Court’s question). Accordingly, I decline to decide the question in
             the first instance.
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             169, 172 (C.A.A.F. 1999)) (cleaned up); see also United States
             v. Jackson, 26 F.4th 994, 1000 (D.C. Cir. 2022). And contract
             law requires us to discern the “objective” meaning of the
             parties’ language as a manifestation of their intent, which “is
             found in the transaction and its context rather than in the law or
             in the usages of people other than the parties.” RESTATEMENT
             (SECOND) OF CONTRACTS § 212 (AM. L. INST. 1981)
             [hereinafter RESTATEMENT].

                  In criminal litigation, what parties mean and intend in plea
             agreements often manifests in fact-bound proceedings that
             occur before a trial court judge, measured by judges with
             real-world experience in resolving these unique “contractual”
             disputes. Thus, our sister circuits largely hold that that “[w]e
             review the district court’s interpretation of the terms of a plea
             agreement for clear error.” Allen v. Hadden, 57 F.3d 1529,
             1534 (10th Cir. 1995); see also United States v. Borders, 992
             F.2d 563, 566–67 (5th Cir. 1993) (same); United States v.
             Mejia, 55 F.4th 1, 7 (1st Cir. 2022) (same); United States v.
             Fields, 763 F.3d 443, 453 (6th Cir. 2014) (same); United States
             v. Read, 778 F.2d 1437, 1441 (9th Cir. 1985) (similar); cf.
             United States v. Daniels, 902 F.2d 1238, 1243 (7th Cir. 1990);
             United States v. Halford, 948 F.2d 1054, 1056 (8th Cir. 1991);
             United States v. Tripodis, 94 F.4th 1257, 1263 (11th Cir. 2024);
             United States v. Jones, 215 F.3d 1322 (4th Cir. 2000)
             (unpublished table decision). In Allen, for instance, the district
             court interpreted the term “government” in a written plea
             agreement to bind only one agency (the parole commission), as
             opposed to all government entities. 57 F.3d at 1535. But based
             on both the text of the agreement and the prosecutor’s
             representations at a hearing, the Tenth Circuit held that the
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             district court’s finding of fact as to the scope of the term was
             clearly erroneous. See id. at 1536.2

                  And in the military justice context, trial judges are required
             to ensure “that the written agreement encompasses all of the
             understandings of the parties and that the judge’s interpretation
             of the agreement comports with their understanding of the
             meaning and effect of the plea bargain.” United States v.
             Green, 1 M.J. 453, 456 (C.M.A. 1976); R.C.M. 910(f)(4)
             (discussion) (“If the plea agreement contains any unclear or
             ambiguous terms, the military judge should obtain clarification
             from the parties.”); R.M.C. 901(f)(2) (discussion) (same); see
             also MANUAL FOR COURTS-MARTIAL UNITED STATES, App. 21,
             at A21-53 (1984) [hereinafter 1984 MCM] (R.C.M. 910(f)
             “conform[s] to those [procedures] prescribed in” Green). This
             is because “[j]udicial scrutiny of plea agreements at the trial
             level . . . provide[s] invaluable assistance to appellate tribunals
             by exposing any secret understandings between the parties and
             by clarifying on the record any ambiguities which lurk within

             2
                The government also wrongly contends that our precedent
             invariably requires us to interpret plea agreements de novo. Pet’r
             Reply 15. While we frequently have reviewed disagreements
             regarding pretrial agreements de novo, see, e.g., United States v.
             Jones, 58 F.3d 688, 691 (D.C. Cir. 1995); United States v.
             Moreno-Membache, 995 F.3d 249, 254 (D.C. Cir. 2021) (same);
             United States v. Munafo, 123 F.4th 1373, 1380 (D.C. Cir. 2024)
             (same), none of these cases involved a dispute about the scope of a
             contract term. Nor has the government pointed to a single Circuit
             case reviewing a contract de novo where the parties’ intentions were
             materially in dispute. The same is true as to the government’s
             invocation of United States v. Dean, which did not involve a dispute
             about the scope of a term in the pretrial agreement. 67 M.J. 224, 229
             (C.A.A.F. 2009) (“[N]either the purpose nor the result of the military
             judge’s inquiry in this case was to ascertain whether the parties
             disagreed as to a material term.”).
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             the agreements.” Green, 1 M.J. at 456; see also United States
             v. Williams, 60 M.J. 360, 363 (C.A.A.F. 2004) (recognizing
             “the critical role that a military judge plays during a plea
             colloquy in ensuring that the record reflects a clear, shared
             understanding by the parties of the terms of the agreement”)
             (interpreting R.C.M. 704(d)(4)(B) (2002)).

                  The majority nevertheless persists in reviewing the scope
             of the promises de novo based on its conclusion that the PTAs
             are unambiguous and require no resort to extrinsic evidence.
             Majority Op. 17–21 & n.4.3 That approach relies on dicta from
             Travelers Indemnity Co. v. Bailey, 557 U.S. 137, 150 (2009),
             which notes that “the terms of an unambiguous private contract
             must be enforced irrespective of the parties’ subjective intent.”
             Id. at 19. Yet simply repeating a legal proposition in the
             abstract cannot establish that the PTAs at issue are
             unambiguous. See id. at 19–20 (quoting Bode & Grenier, LLP
             v. Knight, 808 F.3d 852, 862 (D.C. Cir. 2015), for general
             proposition on a contract’s plain text). Nor does the majority
             get any closer to its bottom line by observing that the PTAs
             were jointly drafted and “written down in substantial detail,”
             which does not render them unambiguous as a matter of law.
             Id. Many contracts are jointly drafted and most, if not all, are
             detailed.

                 By insisting that the PTAs’ terms are unambiguous and
             must be interpreted solely by reference to the terms’ dictionary
             definitions, see Majority Op. 24–25, 29–30, 36; see also infra
             Section IV.A, the majority misses the forest for the trees.
             “[M]eaning can almost never be plain except in a context.”
             RESTATEMENT § 212 cmt. b. Even on de novo review, “[a]ny

             3
              Even if the majority were correct that its analysis targets only the
             Military Judge’s legal conclusions, we should still deny the
             government’s petition. See infra Parts III & IV.
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             determination of meaning or ambiguity should only be made in
             light of the relevant evidence of the situation and relations of
             the parties, the subject matter of the transaction, preliminary
             negotiations and statements made therein, usages of trade, and
             the course of dealing between the parties.” Id. Whereas the
             Military Judge adequately considered these circumstances, the
             majority neglects them. Not only was the Military Judge right
             to engage with the relevant context below, but also our Court,
             even on de novo review, often “consider[s] the district court’s
             expert vantage point” on these types of inquiries. Cf. United
             States v. Adams, No. No. 24-3005, 2025 WL 1668481, at *8
             (D.C. Cir. June 13, 2025) (collecting cases).

                  In any event, the relevant terms of the PTAs are ambiguous
             when placed in their appropriate context. We cannot properly
             construe the PTAs as unambiguous unless we determine “that
             whatever the extrinsic evidence might show, it could not
             change the intent of the parties as expressed in the writing.” 11
             RICHARD A. LORD, WILLISTON ON CONTRACTS § 30:5 (4th ed.
             2024) [hereinafter WILLISTON]; 5 TIMOTHY MURRAY, CORBIN
             ON CONTRACTS § 24.3 (Matthew Bender & Co. 2024)
             [hereinafter CORBIN] (“In the usual case, an unambiguous
             contract leaves no room for a subjective evaluation of the
             parties’ understanding of the terms.”). Indeed, the majority
             itself cites Williston’s discussion of ambiguity, Majority Op.
             19, but that treatise recognizes that assessing ambiguity
             requires a court to consider the contract and the surrounding
             circumstances, including extrinsic evidence. 11 WILLISTON
             § 30:5. And even if the majority were correct that the PTAs
             are unambiguous, it errs by interpreting them “in a vacuum,”
             when “the underlying goal . . . is to ascertain the intent of the
             parties, and the surrounding circumstances . . . may well shed
             light on that intent.” Id. § 30:6.
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                  As illustrated infra Section III.C, my disagreement with
             the majority’s interpretation of the agreements reflects that “the
             language in question is subject to two reasonable
             interpretations.” 2 E. ALLAN FARNSWORTH & ZACHARY
             WOLFE, FARNSWORTH ON CONTRACTS § 7.15 (4th ed. 2025)
             [hereinafter FARNSWORTH]. The disagreement, though, is not
             just between me and the majority. Take the promise to move
             to withdraw from pending motions and whether the “scope” of
             that promise included refraining from litigating a pending
             motion to suppress. The Military Judge, the government’s trial
             prosecutor, defense counsel, and the CMCR all thought that the
             PTAs are best read to include such a promise. As the closest
             to the actual negotiations and trial proceedings below, their
             views best reflect how the PTAs were drafted and accord with
             the way military plea agreements and criminal litigation
             generally is thought to work. See infra Parts III and IV. And
             even if the Court disagrees on the merits, that does not render
             the contrary interpretation, shared by most, unreasonable.

                  Nor do any undisputed facts, Majority Op. 18, establish
             that the relevant language in the PTAs is unambiguous. We
             must identify the intended effect of what the majority calls
             undisputed conduct. Thus, “[where] interpretation turns on the
             meanings that the parties actually attached and reasonably
             ought to have attached to the language of their agreement, it is
             indisputably a matter of fact, not of law.” FARNSWORTH § 7.17.
             Stated differently, even “if the underlying facts of their
             interaction are not in dispute,” the meaning of contract terms
             cannot be decided as a matter of law unless “reasonable triers
             of fact could only come to one conclusion based on the
             evidence.” 5 CORBIN § 24.7. Here, the government’s petition
             challenges the military tribunals’ construction of various
             promises, including by encouraging our Court to discount those
             courts’ reading of “the accompanying course of conduct” and
             adopt the government’s understanding of the parties’ intent.
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                                            15
             Pet. 18–19; see also Pet’r Reply 15 (“Rather than any question
             of historical fact, the dispute instead concerns the meaning
             of . . . the relevant agreement provisions.”). The Court’s
             surface-level analysis glosses over the crux of the parties’
             dispute, thereby artificially diminishing the applicable standard
             of review.

                                            b.

                  Next consider the Military Judge’s holding on the issue of
             beginning performance. This presents a mixed question of law
             and fact in which factual issues predominate, meaning that we
             review the Military’s Judge’s “final” determination for clear
             error. U.S. Bank Nat’l Ass’n ex rel. CWCapital Asset Mgmt.
             LLC v. Vill at Lakeridge, LLC, 583 U.S. 387, 393 (2018).
             Military courts take a similar approach to a materially
             indistinguishable inquiry: whether the government breached
             the terms of a PTA. See Lundy, 63 M.J. at 301 (noting mixed
             question for determining whether the government breached a
             contractual obligation although “[g]enerally courts look to all
             of the facts and circumstances for this determination, and the
             inquiry is generally considered a question of fact”); see also
             United States v. Smead, 68 M.J. 44, 59 (C.A.A.F. 2009) (same).
             The majority does not acknowledge Lundy or Smead, let alone
             explain why we should not follow the jurisprudence of the
             highest military court when enforcing a military rule.

                 What’s true for determining “breach” applies when
             determining “beginning performance” under the withdrawal
             regulation. Both implicate contract principles, yet require a
             judge to assess and weigh the facts before him and the
             credibility of any witnesses or a party’s representations, before
             he can determine whether a familiar and universal standard is
             met. The thrust of the Military Judge’s inquiry on that score is
             predominantly factual, not legal. We review mixed questions
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             like these for clear error. See Bufkin, 145 S. Ct. at 739 n.3
             (“Whether the determination is mixed or factual, clear-error
             review is appropriate because it is at least predominantly
             factual.”).

                  Here, the Military Judge considered what happened at the
             pretrial proceedings in his courtroom, “categorize[d] the
             evidence based on whether it support[ed] or undermine[d]
             [Respondents’] claim[s],” and “compare[d] the relative
             strength and persuasiveness of the evidence on each side.” Id.
             at 738. He necessarily assessed the credibility of the attorneys’
             representations and their courtroom behavior and demeanor,
             “addressing questions of who did what, when or where, how or
             why.” Vill. at Lakeridge, 583 U.S. at 394. When the Military
             Judge then compared the facts against the legal definition of
             beginning performance, he engaged in any inquiry “as factual
             sounding as any mixed question gets.” Id. at 397. The mixed
             question is thus predominantly factual and subject to
             clear-error review, requiring us to afford substantial
             “deference” to the Military Judge. See Bufkin, 145 S. Ct. at
             738–39.

                  Our case law in the civilian context supports this approach.
             In United States v. Pollard, we held that the determination of
             “whether the government’s [actions] violated limitations in a
             plea agreement . . . . presents a mixed question of law and fact
             in which the factual aspects usually predominate.” 959 F.2d
             1011, 1023 (D.C. Cir. 1992). So, too, in United States v. Ahn,
             did we apply clear-error review to “a district court’s factual
             determinations concerning a plea agreement, including its
             determination of whether a breach occurred.” 231 F.3d 26, 35
             (D.C. Cir. 2000) (emphasis added); see also United States v.
             Gary, 291 F.3d 30, 33 (D.C. Cir. 2002) (same); FARNSWORTH
             § 8.13 (stating that determination of substantial performance is
             “[p]lainly” a flexible test warranting deference); id. § 8.17
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             (noting decision on materiality of breach is a fact question that
             “depend[s] on circumstances similar to those used to determine
             whether a performance [was] substantial”). The purpose for
             this principle is plain: “[T]he judge who hears the evidence
             and observes the demeanor of witnesses has a comparative
             institutional advantage over the appellate court” in ascertaining
             the parties’ intent. See Pollard, 959 F.2d at 1023; see also
             United States v. Jacobs, 431 F.3d 99, 116 n.15 (3d Cir. 2005)
             (Aldisert, J., concurring in part and dissenting in part) (“[T]he
             mere existence of relevant legal standards does not
             automatically transform a question of fact, which is reviewed
             for clear error, into a mixed question of law and fact, which is
             reviewed de novo. . . . [A]s a matter of judicial allocation, trial
             courts are far better suited to decide whether a promise arose
             out of a given set of facts.”).

                  The majority asserts that this “is a question of law that we
             review de novo.” Majority Op. 18. It seems to rest this
             decision on its contention that the “relevant facts . . . are not in
             question.” Id. But that observation is wrong for several
             reasons. For one, it altogether ignores mixed questions of law
             and fact, which are reviewed for clear error when (like here)
             they are primarily factual inquiries. Bufkin, 145 S. Ct. at
             738–39 & n.3; cf. Vill. at Lakeridge, 583 U.S. at 398 (“The
             stock judicial method is merely to state the [legal]
             requirement . . . and then to do the fact-intensive job of
             exploring whether, in a particular case, it occurred.”). For
             another, by painting a picture of a purely legal inquiry based on
             undisputed facts, the majority obscures and ultimately ignores
             the factual findings made by the Military Judge, such as his
             consideration of the trial prosecutor’s characterization of the
             PTAs and defense counsel’s courtroom conduct, which
             supported his ruling that Respondents began performance by
             refraining from litigating motions. See Pet. Ex. A at 8 & n.41.
             De novo review of this issue is inconsistent with military justice
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             caselaw and our related precedent, and it ignores the Military
             Judge’s considered judgment, which was based on his
             encyclopedic knowledge of the proceedings below. That
             judgment is worth respecting here.

                                            B.

                  Aside from the deference we owe the Military Judge over
             his application of R.M.C. 705(d)(4)(B), the government faces
             a nearly insurmountable burden because it chose to seek relief
             through a writ petition. For the government to prevail, it must
             establish that its right to relief is “clear and indisputable.”
             Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 381 (2004)
             (internal quotation marks omitted). Under our standard of
             review, “[t]o meet the ‘clear and indisputable’ requirement, the
             plaintiff must show that the challenged action is ‘plainly and
             palpably wrong as [a] matter of law.’” Illinois v. Ferriero, 60
             F.4th 704, 714 (D.C. Cir. 2023) (alteration in original) (quoting
             U.S. ex rel. Chi. Great W. R.R. Co. v. ICC, 294 U.S. 50, 61
             (1935)). “Accordingly, we will deny mandamus even if a
             petitioner’s argument, though packing substantial force, is not
             clearly mandated by statutory authority or case law.” Id.
             (cleaned up). This is a “demanding hurdle.” In re Al Baluchi,
             952 F.3d 363, 369 (D.C. Cir. 2020).

                  Our deferential review of a trial court’s factfinding for
             clear error dovetails with the stringent “clear and indisputable”
             mandamus standard. The government bears an extremely high
             burden to show that the Military Judge “‘indisputabl[y]’ made
             a ‘clearly erroneous assessment of the evidence.’” In re City
             of New York, 607 F.3d 923, 944 (2d Cir. 2010) (first quoting
             Cheney, 542 U.S. at 381; then quoting Sims v. Blot, 534 F.3d
             117, 132 (2d Cir. 2008)); see also United States v. Carrigan,
             804 F.2d 599, 604 (10th Cir. 1986) (“Had we been the triers of
             fact we might well have ruled differently than did the district
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             court, but we cannot say that the court’s findings of fact are
             clearly erroneous.”) (mandamus petition); In re Rearden LLC,
             841 F.3d 1327, 1333 (Fed. Cir. 2016) (reviewing “the district
             court’s factual findings for clear error” and applying a
             “particularly deferential” review given the petition for relief
             was “by way of mandamus”) (citations omitted)); In re
             Huffines Retail Partners, L.P., 978 F.3d 128, 131–32 (5th Cir.
             2020) (“On mandamus review,” we consider “whether the
             disputed order relies on clearly erroneous factual findings,” yet
             “we will only grant mandamus relief when such errors produce
             a patently erroneous result.”) (internal quotation marks
             omitted)); In re Hyundai Motor Am., 185 F. App’x 940, 941
             (Fed. Cir. 2006) (unpublished order) (mandamus petitioner
             must “clearly and indisputably show clear error in the district
             court’s findings of fact”).

                  As I detail below, see infra Parts III & IV, the majority’s
             central claims boil down to a disagreement with how the
             highest court of appeals in the military justice system decided
             United States v. Dean, 67 M.J. 224 (C.A.A.F. 2009), which is
             factually indistinguishable from this case and (if respected)
             would require denying the government’s petition. By granting
             the weighty remedy of mandamus under these circumstances,
             the majority substitutes its own read of contract principles
             (divorced from the criminal and military justice context) for the
             weight of authority from military courts, the Supreme Court,
             sister circuits, and our Court.

                  Even if the majority is right, it at most establishes that the
             Military Judge and the CMCR erred. But far more is required
             to establish an entitlement to mandamus relief. Mandamus is
             reserved for correcting only “serious errors.” O’Connell v.
             U.S. Conf. of Cath. Bishops, 134 F.4th 1243, 1256 (D.C. Cir.
             2025) (emphasis added) (quoting Mohawk Indus., Inc. v.
             Carpenter, 558 U.S. 100, 111 (2009)). As then-Judge
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             Kavanaugh explained, we deny mandamus petitions when
             “[n]either this Court nor any other court of appeals has”
             answered the question presented and there is a “substantial
             argument” cutting against the petitioner. In re Khadr, 823 F3.d
             92, 100 (D.C. Cir. 2016); see also Republic of Venezuela v.
             Phillip Morris, Inc., 287 F.3d 192, 199 (D.C. Cir. 2002)
             (denying relief when petitioner “identif[ies] no precedent of
             this court or of the Supreme Court even suggesting” its merits
             position is correct). Put differently, “[w]hen the court acts
             within its jurisdiction, the threshold showing necessary to
             secure a writ of mandamus is higher than mere error, even error
             that might lead to reversal on a direct appeal.” Carrigan, 804
             F.2d at 604; see also In re Parish, 81 F.4th 403, 409 (5th Cir.
             2023) (“[T]he writ will not issue to correct a duty that is to any
             degree debatable.” (quoting United States v. Denson, 603 F.2d
             1143, 1147 n.2 (5th Cir. 1979) (en banc))); United States v.
             Mehrmanesh, 652 F.2d 766, 770 (9th Cir. 1981) (“Even if the
             trial court made an error of law . . . [that] does not render its
             decision subject to correction by mandamus, for ‘then every
             interlocutory order which is wrong might be reviewed under
             the All Writs Act.’” (quoting Bankers Life & Casualty Co. v.
             Holland, 346 U.S. 379, 383 (1953))).

                  The majority offers nothing by way of precedent to show
             that the government is clearly correct and the Military Judge
             clearly erred. How, then, can it conclude that the Military
             Judge’s decision was a “judicial usurpation of power” or a
             “clear abuse of discretion”? O’Connell, 134 F.4th at 1256
             (quoting Cheney, 542 U.S. at 390). The failure to show why
             the government’s theory is clear and indisputable means we
             must deny the petition at this threshold stage, as we routinely
             do in related contexts. Cf. Pearson v. Callahan, 555 U.S. 223,
             237–44 (2009) (acknowledging in the qualified-immunity
             context that courts may deny claims by finding a right is not
             “clearly established” without first deciding whether the right
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                                            21
             exists at all); In re District of Columbia, 792 F.3d 96, 97 (D.C.
             Cir. 2015) (denying petition for interlocutory review of a class
             action certification order under the comparable “manifest
             error” standard, even though the district court “noted that its
             critical legal conclusion was not ‘free from doubt,’” because
             relief was not appropriate where the ruling below “was not
             squarely foreclosed by the applicable precedents”).

                  By applying the wrong standard of review and failing to
             defer to the Military Judge’s application of the withdrawal
             regulation, the majority doubly disrespects the work of two
             military courts. And it undermines settled precedent from the
             military justice system’s highest court of appeals. See infra
             Section III.A. This effort to upend the military courts’
             interpretation of a military procedural rule disturbs principles
             of comity and separation of powers that inform how civilian
             courts ought to act on issues particular to the military context.
             The Supreme Court has repeatedly recognized “the deference
             that should be accorded the judgments of the carefully designed
             military justice system established by Congress.” Schlesinger
             v. Councilman, 420 U.S. 738, 753 (1975). We have likewise
             observed that “the decisions of the Court of Military Appeals,”
             the predecessor court to the Court of Appeals for the Armed
             Forces, “are almost always to be accorded ‘great deference’ by
             Article III courts.” Walters v. Sec’y of Def., 725 F.2d 107, 109
             n.3 (D.C. Cir. 1983) (quoting Middendorf v. Henry, 425 U.S.
             25, 43 (1976)). This is especially true when “[d]ealing with
             areas of law peculiar to the military branches.” Middendorf,
             425 U.S. at 43; Noyd v. Bond, 395 U.S. 683, 694 (1969)
             (“requir[ing] a substantial degree of civilian deference to
             military tribunals” when “interpret[ing] a legal tradition which
             is radically different from that which is common in civil
             courts”).
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                  Our deference is owed not only to military courts, but to
             the political branches generally. Congress established the
             military commissions and delegated to the Defense Secretary
             and the Executive Branch the authority to write its own
             regulations. Cf. Loving v. United States, 517 U.S. 748, 768
             (1996) (observing “highest deference” owed to Congress “in
             ordering military affairs,” along with “respect” and “wide
             discretion and authority” owed to the “President as
             Commander in Chief”). We owe the Military Judge’s
             construction of this military rule, established by the President
             and which has no civilian analogue, due deference. Nothing
             about the majority’s decision aligns with these principles.

                                       *    *   *

                  In sum, the majority makes three mistakes that, together,
             dilute the mandamus standard beyond recognition and warp
             longstanding principles of judicial review. First, it departs
             from clear military justice precedents, which overwhelmingly
             apply clear-error review to a trial court’s determination about
             the meaning and scope of a promise in a plea agreement. The
             majority does so without even responding to this body of law
             or explaining why ignoring the military courts is warranted.
             Second, even if the majority were correct to decide de novo
             what promises are contained in the PTAs, the Court never
             explains why it does the same for determining whether
             Respondents began performance.                This unfounded
             assumption—resting primarily on civilian contract law cases—
             flatly contradicts the Supreme Court’s settled approach for
             predominantly factual mixed questions (reaffirmed in Bufkin),
             the military courts’ analogous framework on issues of
             substantial performance and material breach (as in Lundy and
             Smead), and our Court’s applicable precedent in the context of
             criminal plea agreements (articulated in Pollard, Gary, and
             Ahn). Still, there’s more: On pure de novo review, the majority
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             refuses to acknowledge (let alone apply) the deference owed to
             military courts on issues concerning the application of military
             rules. We grant that deference in a typical case. But this case
             is atypical in countless ways, and our deference should be at its
             apex here, where the government seeks via a writ of mandamus
             or prohibition to upend the application of a military rule by two
             military courts that conformed with squarely applicable
             precedent from the highest court of appeals in the military
             justice system.

                  The upshot of two deferential standards of review and our
             tradition of deference to military courts is that the government
             must establish that the Military Judge clearly and indisputably
             erred on both legal and factual conclusions. The Military
             Judge’s determination that the PTAs contained promises to
             enter into factual stipulations and to refrain from litigating
             motions are reviewed for clear error. The same clear error
             standard applies to the central question in this case—whether
             Respondents began performance. The majority sidesteps
             deference at every turn and treats this like a direct appeal from
             an Article III court. Proper application of these standards and
             our time-honored tradition of deference to military courts
             shows why the government falls well short in its quest for
             extraordinary relief.

                                           III.

                  The government has not shown, clearly and indisputably,
             that the Military Judge erred in concluding that Respondents
             “beg[an] performance” of the promise to enter into factual
             stipulations, which is plainly “contained in the agreement[s].”
             R.M.C. 705(d)(4)(B). To the contrary, military justice
             precedent, the scope of the withdrawal regulation, the text of
             the agreements, and principles of contract law all support the
             decision below.
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                                            24
                                            A.

                  The government cannot establish a clear and indisputable
             right to relief because the Military Judge and the CMCR rightly
             relied on persuasive precedent with similar facts from the
             highest military court of appeals in the military justice system.
             In that case, United States v. Dean, the Court of Appeals for
             the Armed Forces held that an accused began performance on
             a PTA in part by signing a stipulation of fact before the
             convening authority accepted the agreement. 67 M.J. at
             227–28.

                  The factual scenario presented in Dean is, in all relevant
             aspects, identical to this case. There, “[c]ontemporaneous with
             the Offer to Plead Guilty, Dean submitted a stipulation of fact
             to the convening authority which had been executed by Dean,
             his defense counsel and the trial counsel.” Id. at 226. The
             convening authority subsequently signed the pretrial
             agreement. Id. The Court held that Dean’s execution of the
             stipulation began performance within the meaning of Rule
             705(d)(4)(B). Id. at 228. The Military Judge found Dean
             persuasive because it interpreted and applied the parallel
             courts-martial rule and involved analogous facts. Pet. Ex. A at
             16–17, 26–27 & n.116.

                  Yet, in a footnote, the majority casts Dean aside as
             “unpersuasive” with “distinguishable” facts, Majority Op. 35
             n.10, even though it relies on the case’s reasoning to argue that
             the stipulations of fact were entered into only once the accused
             and the government both signed them, id. at 33. Specifically,
             the majority contends that Dean “did not explain how its
             holding was consistent with the text of the withdrawal
             regulation or basic principles of contract law,” id. at 35 n.10,
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             despite Dean’s discussion of the plain text and drafting history
             of the relevant rule, 67 M.J. 227–28. And while the Court
             correctly notes that in Dean, “the court identified several
             actions that counted as beginning performance, and one of
             those actions occurred after the pretrial agreement was
             finalized,” Majority Op. 35 n.10, the same is true here, see infra
             Part IV (concluding that Respondents began performance of
             other promises in the PTAs by engaging in conduct after both
             parties signed the agreements). Whatever attempt the Court
             (and the government) makes to distinguish Dean, it undermines
             the reasoned judgment and settled law of the highest military
             court on the interpretation of a military regulation governing
             procedure for military pleas. Although it does not bind us,
             Dean remains good law. Neither the Court of Appeals for the
             Armed Forces nor the Supreme Court has disturbed it. The
             Military Judge’s reliance on this precedent was not so inapt as
             to constitute, clearly and indisputably, error.

                  In short, the majority has the test upside down. We have
             no power to issue the writ if the right to mandamus is not clear
             and indisputable, which it cannot be in absence of “bind[ing]”
             precedent. See NetCoalition v. SEC, 715 F.3d 342, 354 (D.C.
             Cir. 2013). And petitioners “do not come close” to showing a
             clear and indisputable right where they “identify no precedent
             of this court or of the Supreme Court” on point. See Republic
             of Venezuela, 287 F.3d at 199. Here, the petitioner not only has
             failed to identify any binding precedent supporting its
             interpretation, the most apt precedent, Dean (albeit
             non-binding), cuts squarely against it, and yet the majority
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             nonetheless grants the writ.4 It does so by ignoring and
             departing from longstanding principles of well-earned
             deference to our colleagues in the military justice system. Our
             deference should be at its zenith when military courts follow
             persuasive military precedent in the construction of military
             rules. I am befuddled.

                                              B.

                  We should decide this case by deferring to the military’s
             reliance on Dean. But setting deference aside, Dean was
             rightly decided. The majority’s insistence otherwise reveals a
             critical flaw in its approach: By focusing exclusively on
             contract principles, the majority mistakes a mandamus petition
             concerning a withdrawal regulation for a direct appeal about
             contract dispute.

                  Rule 705(d)(4)(B) provides the logical and dispositive
             starting point for resolving the government’s petition. The
             plain meaning of “begins performance,” as confirmed by the
             military’s own construction of the term, precludes the

             4
               The majority’s erroneous application of a diluted mandamus
             standard cannot be saved by the government’s suggestion that a
             “prior opinion addressing the precise factual circumstances or
             statutory provision at issue” is not required. Pet. 11 (quoting United
             States v. Fokker Servs. B.V., 818 F.3d 733, 749–50 (D.C. Cir. 2016))
             (emphasis added). But the reason our Court was persuaded to grant
             a writ in Fokker Services is because the district court’s error was so
             idiosyncratic that no trial court had ever made such a ruling before,
             so there was no opportunity to develop any appellate precedent. 818
             F.3d at 750. The opposite is true here, where, on one hand, the Court
             locates no precedent applying the exact contract principle it advances
             today, and, on the other, the highest military justice court addressed
             the precise factual circumstances at issue and rejected the majority’s
             logic.
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                                            27
             government from establishing a clear and indisputable right to
             relief based on the stipulations.

                  As the majority notes, “performance” connotes
             “successful completion of a contractual duty.” Majority Op.
             33 (quoting Performance, BLACK’S LAW DICTIONARY (12th ed.
             2024)); see also Performance, MERRIAM-WEBSTER,
             https://www.merriam-webster.com/dictionary/performance
             [https://perma.cc/8DSZ-MASV] (last updated June 20, 2025)
             (defined as “what is required to be performed in fulfillment of
             a contract, promise, or obligation,” or “the fulfillment of a
             contract, promise, or obligation”). The Court pairs this with its
             own definition of “begins” as when someone “starts to
             complete.” Majority Op. 33. That definition, however,
             prompts more questions than it answers. What types of actions
             could one take to “start to” complete a contractual duty?

                  Fortunately, we do not write on a blank slate. Military
             courts and the Executive Branch have, over decades, issued
             guidance on how to interpret their own rules. That guidance
             illustrates how broadly “begins performance” was designed to
             sweep. In 1984, President Reagan issued a revised Manual for
             Courts-Martial (“MCM”), which included an updated Rules for
             Courts-Martial that introduced the “begins performance”
             threshold for when a convening authority can withdraw from a
             PTA. Manual for Courts-Martial, United States, 1984, 49 Fed.
             Reg. 17152, 17187–88 (Apr. 13, 1984); see also 10 U.S.C.
             § 836(a) (1982) (granting the President power to prescribe
             rules for pretrial procedure in courts-martial and military
             commissions). And the 1984 MCM included analysis from the
             Joint Service Committee on Military Justice (as required by the
             Department of Defense) on what “begins performance” means.
             See Review of the Manual for Courts-Martial, 50 Fed. Reg.
             6166, 6167 (Feb. 14, 1985) (to be codified at 32 C.F.R. pt. 152);
             About the JSC, JOINT SERV. COMM. ON MILITARY JUST.,
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             https://jsc.defense.gov/ [https://perma.cc/3HQVAM6J] (last
             visited Feb. 5, 2025); 1984 MCM, App. 21, at A21-36. The
             analysis has been reissued in nearly every MCM since,
             including the version published a year before the Executive
             Branch incorporated the corollary Rule for Courts-Martial into
             R.M.C. 705(d)(4)(B), which we interpret today. See MANUAL
             FOR COURTS-MARTIAL UNITED STATES, App. 21, at A21-40 to
             A21-41 (2008) [hereinafter 2008 MCM].

                 This uncontested Executive Branch analysis insists that
             “begin[s] performance” encompasses “actions pursuant to the
             terms of an agreement.” Id. at A21-41 (emphasis added). At
             the time “begins performance” was adopted by President
             Reagan’s Department of Defense in the Rules for Courts-
             Martial, “[p]ursuant to” included “in the course of carrying
             out” or “in conformance to or agreement with.” Pursuant,
             BLACK’S LAW DICTIONARY (5th ed. 1979). That understanding
             remained the same when the Department incorporated the
             identical provision into the Rules for Military Commissions.
             See [P]ursuant to, BLACK’S LAW DICTIONARY (9th ed. 2009)
             (“In compliance with; in accordance with; under;” or “[a]s
             authorized by; under;” or “[i]n carrying out.”).

                   Respondents unquestionably satisfied the military’s own
             construction of its withdrawal regulation. For one, the “terms”
             of the PTAs plainly include a promise to enter into stipulations;
             the text of each includes each Respondent’s “agree[ment]”
             (i.e., promise) “to enter into the Stipulation of Fact included as
             Attachment A.” E.g., Al Hawsawi PTA ¶ 6. Indeed, the
             military’s own handbook for military justice practitioners (who
             practice under the comparable courts-martial rules) notes that
             a “basic component[]” of a military plea agreement is “[a]
             promise by the accused . . . to enter a confessional stipulation.”
             J.A. 205–06 (emphasis added).
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                                           29
                  The only question, then, is whether by signing stipulations
             between 24 to 48 hours before the Convening Authority signed
             the PTAs, Respondents were acting “pursuant to” the fully
             negotiated agreements. See 2008 MCM at A21-41. On that
             score, the military’s own analysis of what constitutes “the
             beginning of performance” answers the question dispositively
             in Respondents’ favor. Indeed, the 1984 guidance expressly
             states that “providing information to Government agents” is
             one type of action pursuant to a PTA that constitutes the
             “beginning of performance.” 1984 MCM at A21-36.

                  Aside from its analysis on the construction of “begin[ning]
             performance,” the Executive Branch has expressed elsewhere
             its position that, pursuant the terms of a PTA, stipulations of
             fact may be executed at the time the agreement is formed. The
             Department of Defense’s regulations for military commission
             trials—which provide guidance based on “the unique
             circumstances of the conduct of military and intelligence
             operations during hostilities”—allow “the Convening
             Authority [to] require the accused and counsel to enter into
             stipulations of fact or testimony as part of the PTA.” DEP’T OF
             DEF., REGULATION FOR TRIAL BY MILITARY COMMISSION, at 1,
             ch.                          12-4                        (2011),
             https://www.mc.mil/Portals/0/2011%20Regulation.pdf
             [https://perma.cc/CN3T-Z3HG][hereinafter                   2011
             REGULATION FOR TRIAL BY MILITARY COMMISSION] (emphasis
             added). The regulation thus frames entry into the stipulations
             as “part of” the agreements themselves—not, as the majority
             counters, “part of the offer,” see Majority Op. 34, or as a
             condition on forming the binding contract. The military’s
             consistent view on when performance of a promise to enter into
             stipulations of fact can occur also appears in the military
             practitioners’ handbook. When the courts-martial rule still
             prohibited a convening authority’s withdrawal after an accused
             began performing, the handbook observed that “[p]erformance
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             w[ould] often take the form of entry into a stipulation of fact.”
             J.A. 208. The handbook also rightly acknowledged that
             “[c]ourts have strictly construed this rule,” id. (citing Dean, 67
             M.J. 224), which is just what the Military Judge and the CMCR
             did here.

                  The Court today acknowledges none of this. Nowhere
             does it suggest that signing the stipulations was not “pursuant
             to” or “in conformance with” the plain text of the PTAs,
             according to which the accused agreed to enter into stipulations
             of fact. This action marked the beginning of performance
             under the promises that Respondents made. Nor does the
             majority contend with the military’s clear understanding of
             what “begins performance” means under Rule 705, or the way
             that military judges and practitioners view stipulations utilized
             in PTAs. Instead, it confines its understanding of what might
             “begin” performance to a single dictionary definition, which it
             insists conforms to contract principles. Majority Op. 33. Yet
             the Court today fails to explain its assumption that the
             Executive Branch drafted Rule 705(d)(4)(B) to strictly follow
             the narrowest possible reading of contract principles, even
             when the historical record suggests otherwise. Indeed, the
             Executive Branch intended the rule to cover conduct beyond
             merely “start[ing] to complete” a contractual promise, id., and
             instead include any “actions pursuant to” the agreement. 2008
             MCM at A21-41; cf. United States v. Koopman, 20 M.J. 106,
             110 n.3 (1985) (“Whether performance of a preexisting duty
             constitutes consideration for a contract is a subject over which
             legal scholars may dispute, but for purposes of the
             enforceability of a pretrial agreement in a criminal case, we do
             not consider such technicalities to be material.”). By narrowly
             (and mistakenly) interpreting “begins performance,” the
             majority dilutes the government’s burden and refuses to give
             Dean the treatment it deserves. Under the governing regulation
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                                             31
             and rightly decided military precedent, the government has not
             established its clear and indisputable right to relief.

                                             C.

                  Even on the majority’s framing of the case, the
             government has not met its burden. The plain text of the PTAs,
             read against the backdrop of basic contract law principles,
             demonstrates that the agreements contained a promise to enter
             into factual stipulations, and that Respondents began
             performance of those promises when they so entered by signing
             them. Here, I explain why the majority is wrong to conclude
             that the PTAs lacked such promises, before turning, see infra
             Part III.D, to the majority’s incorrect assessment of when
             Respondents’ performance began.

                  As to Respondents’ promises to enter into factual
             stipulations, the Military Judge did not, clearly and
             indisputably, commit clear error. Moreover, the Court fails
             entirely to grapple with the parties’ course of dealing, which
             contravenes its read of the text, and with the Rules for Military
             Commissions, which contemplate that an accused may promise
             to enter into stipulations like those at issue here.

                                             1.

                 There are three reasons why the plain text of the PTAs
             supports the Military Judge’s decision below and forecloses
             any claim that the government clears the formidable mandamus
             standard.

                 First, the PTAs use promissory language to describe the
             requirement that Respondents enter into factual stipulations.
             “A promise is an expression of commitment to act in a specified
             way, or to bring about a specified result in the future, or to take
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                                              32
             responsibility that the result has occurred or will occur,
             communicated [so] that the [recipient] may justly expect
             performance and may reasonably rely thereon.” 1 CORBIN
             § 1:13.5 Or, as Williston provides, “[a] ‘promise’ is a
             manifestation of intent[] to act or refrain from acting in a
             specified way, so made as to justify a promisee in
             understanding that a commitment has been made.” 1
             WILLISTON § 1:2; see also RESTATEMENT § 2 cmt. a (defining
             “promise” as that “which results from the promisor’s words or
             acts of assurance, including the justified expectations of the
             promisee and [the] . . . legal duty which arises to make good
             the assurance by performance”).

                  Here, the stipulation provisions plainly were a “promise.”
             “The terms of a promise or agreement are those expressed in
             the language of the parties . . . .” RESTATEMENT § 5 cmt. a.
             When each of the accused signed his PTA, he manifested his
             assent to the promises made in the PTA, including his intent to
             enter into stipulations. Respondents used promissory language
             reflecting their commitment (“agreement”) to do something
             (“enter into the Stipulation[s] of Fact”). Mohammed PTA ¶ 6;
             bin ‘Atash PTA ¶ 6 (same); Al Hawsawi PTA ¶ 6 (same). That
             is, the accused took responsibility for something that had
             happened or would happen. From that assurance, the
             Convening Authority was justified in believing that a
             commitment had been made.6

             5
                A full recounting of Corbin’s definition illustrates why the
             government’s reliance on our prior decision in Choate v. TRW, Inc.,
             14 F.3d 74 (D.C. Cir. 1994), is misplaced. See Pet. 17. Choate cites
             an outdated (1963) version of Corbin’s treatise. The current edition
             altered the definition of “promise” to better account for how parties
             negotiate and form agreements.
             6
                This construction mirrors other promises in the agreement.
             Compare Mohammed PTA ¶ 6 (“[A]grees to enter into this
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                                               33
                  Facing the PTAs’ unmistakably clear text, the majority’s
             only response is that promises must be forward looking. See
             Majority Op. 32–33; see also Pet’r Reply 7–9. But that
             assertion gets the Court no closer to its conclusion. Corbin’s
             acknowledgment that a promise can be “an expression of
             commitment . . . to take responsibility that the result has
             occurred or will occur,” 1 CORBIN § 1.13 (emphasis added),
             squarely undermines the majority’s point. In any event, the
             stipulation provision in the PTAs satisfies the majority’s
             forward-looking requirement. Each PTA characterizes the
             promise as something Respondents will perform in the future.
             And the record confirms that when Respondents signed the
             PTAs, they had yet to sign the attached stipulations.7
             Temporally then, Respondents made a forward-looking
             commitment in their PTAs to enter into stipulations. By the
             time the Convening Authority countersigned, she knew that the
             accused “commit[ted] . . . to take responsibility” that entry into

             Stipulation of Fact.”), with id. ¶ 5 (“[A]grees to waive his rights and
             offers to plead guilty to all charges and specifications.”). There is no
             principled textual distinction between the term requiring entry into
             factual stipulations, e.g., id. ¶ 6, and any other term that is
             indisputably a promise. Although the majority’s view of the PTAs
             requires such a distinction, it offers none.
             7
               Mohammed and bin ‘Atash signed their PTAs the same day that
             they signed the corresponding stipulations of fact, and the record
             suggests Al Hawsawi did the same. See Mohammed PTA at 19;
             Mohammed Stipulation of Fact at 28 (Sealed); bin ‘Atash PTA at 18;
             bin ‘Atash Stipulation of Fact at 24 (Sealed); see also Pet. Ex. A at
             6–7 (describing timeline of Al Hawsawi’s signing). Al Hawsawi
             Stipulation of Fact at 30 (Sealed). The stipulations were included
             only as attachments to the PTAs. And the record reflects that bin
             ‘Atash first signed the PTA and “next signed the Stipulation of Fact
             at Attachment A to the PTA.” Pet’r 28(j) Letter filed Feb. 5, 2025,
             Attach. 6, at 6–7 (footnote omitted). No evidence here suggests that
             Mohammed or Al Hawsawi departed from the custom of first signing
             a document before signing its attachments.
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                                            34
             stipulations “ha[d] occurred.” Id. So far as I can tell, the
             majority makes no textual argument that the agreements to
             “enter into” stipulations were anything other than forward
             looking.

                 Second, reading the stipulation provision as a
             forward-looking promise conforms with the doctrine of
             contract formation, which “requires a bargain . . . [with] a
             manifestation of mutual assent to the exchange and a
             consideration.” See RESTATEMENT § 17. Start with mutual
             assent, or the “willingness to make a bargain.” Id. § 23 cmt. a.
             For the promise to be valid, the promisor must only assent to
             perform it, as “[n]either real nor apparent intention that a
             promise be legally binding is essential to the formation of a
             contract.” Id. § 21.

                  Accordingly, Respondents’ manifestation of assent
             occurred even though the Convening Authority had not yet
             signed the PTA. As explained by the Restatement, “two parties
             may sign separate duplicates of the same agreement, each
             manifesting assent whether the other signs before or after him.”
             Id. § 22 cmt. a (emphasis added). Respondents manifested
             their assent to the promise to enter into factual stipulations by
             words and conduct: First they agreed to PTA language
             containing promissory language, and then they signed actual
             stipulations of fact. This manifestation of assent and order of
             operations confirms that the stipulation provisions were
             promises. See id. § 19 (“The manifestation of assent may be
             made wholly or partly by written or spoken words or by other
             acts or by failure to act.”).

                  The majority holds that a promise made in a contract is not
             really a promise until it becomes legally binding, which cannot
             be squared with the Restatement’s admonition that the
             promisor need not even “inten[d] that [the] promise be legally
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                                            35
             binding” in the first place. See id. § 21. Nor does the
             majority’s view align with the Restatement’s distinction
             between promises and binding agreements. See id. § 2 cmt a.
             (“[T]he word ‘promise’ is not limited to acts having legal
             effect.”); see also 1 WILLISTON § 1:2 (distinguishing between
             promises without legally binding effect and those that become
             binding).      The majority’s rule also contradicts the
             Restatement’s declaration that “[m]anifestation of mutual
             assent to an exchange requires that each party either make a
             promise or begin or render a performance.” RESTATEMENT
             § 18. The Restatement does not say that only the promisee can
             manifest assent by “begin[ning] or render[ing] a performance”
             of a promise in the contract. See id. Either (“each”) party can
             do so. Id. Thus, the majority’s contention—that a promise
             articulated in a contract is not a promise merely because it was
             performed before the contract becomes legally binding—has
             no purchase in contract law. To find that the Military Judge
             was clearly and indisputably wrong to conclude that this text
             was a promise, the majority contradicts a plethora of the
             foregoing blackletter contract principles.

                  Third, the plain text of the PTAs provide that “failure to
             enter into” the stipulations constitutes “breach of a material
             term.” E.g., Mohammed PTA ¶ 6. The very definition of a
             contract is “a promise . . . for the breach of which the law gives
             a remedy.” RESTATEMENT § 1. Put differently, breach is the
             failure to perform a promise. Because the PTAs expressly
             define the failure to enter into stipulations as breach, we have
             further assurance that Respondents’ agreements to enter into
             stipulations were mutually intended to be promises.

                                             2.

                 The Court’s arguments to the contrary are unavailing.
             Rather than a “promise,” the majority says, maybe the signed
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                                           36
             stipulations were “part of the offer,” Majority Op. 34, or
             “consideration Respondents offered,” id. at 37; see also Pet. 16
             (“[S]igning the factual stipulations was part of the process
             through which the agreements were formed . . . .”). The
             majority’s contortion of the text is a square-peg-round-hole
             approach that is undermined by contract law. An offer is, “[i]n
             the normal case[,] . . . an offer of an exchange of promises.”
             RESTATEMENT § 24 cmt. a. “Simple examples are: ‘I promise
             to deliver these apples if you promise to pay me $100’. . . .”
             FARNSWORTH § 3.13. So even if the stipulations were “part of
             the offer,” Majority Op. 34, that does not help the majority in
             categorizing them as something other than promises (i.e., “I
             promise to sign this stipulation if you promise to not seek the
             death penalty.”).

                  The majority’s contention that the stipulations constituted
             “consideration Respondents offered” fares no better. Id. at 37.
             If anything, viewing the stipulation provisions as consideration
             further establishes that they are promises “contained in the
             agreement[s].” R.M.C. 705(d)(4)(B). “Consideration” is an
             “element of exchange” that makes a promise legally
             enforceable. RESTATEMENT § 71 cmt. a. “[T]he consideration
             induces the making of the promise and the promise induces the
             furnishing of the consideration.” Id. cmt. b. Here, the
             stipulation provision was unquestionably the product of a
             “bargained-for exchange.” 3 WILLISTON § 7:2.

                  Respondents and the government negotiated for years over
             the contents of the PTAs. Supra Part I. The factual stipulations
             were, as all are in a criminal case, “bargaining chips in the
             hands of [the accused].” United States v. Granik, 386 F.3d 404,
             412 (2d Cir. 2004); United States v. Rasberry, 21 M.J. 656, 657
             (A.C.M.R. 1985) (“An accused may be required as part of his
             bargain to include in the stipulation, for sentencing purposes,
             aggravating circumstances relating to the offenses to which he
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                                             37
             has pled guilty.”). Respondents admitted to planning and
             implementing the 9/11 terrorist attack in exchange for
             eliminating the death penalty as a possible sentence. And for
             the government, obtaining confessions from the accused was a
             top priority, so much so that the prosecution willingly agreed
             to forebear seeking capital punishment if it received the
             stipulations and guilty pleas. As the Restatement puts it,
             Respondents’ agreements to enter into stipulations were
             “sought by the [government] in exchange for [the
             government’s return] promise” to not seek the death penalty,
             and the agreements were “given by [Respondents] in exchange
             for that promise.” RESTATEMENT § 71(2).

                  We also know that the commitment to sign stipulations
             was part of valuable consideration because Respondents
             promised something of value in excess of what they already
             were legally bound to do. See WILLIAM R. ANSON, PRINCIPLES
             OF THE LAW OF CONTRACT WITH A CHAPTER ON THE LAW OF
             AGENCY 126–27 (4th ed. 1924, Arthur L. Corbin ed.).
             “Consideration thus [e]nsures that the promise enforced as a
             contract is not accidental, casual, or gratuitous, but has been
             uttered intentionally as the result of some deliberation,
             manifested by reciprocal bargaining or negotiation.” 3
             WILLISTON § 7:2 n.10 (quoting Baehr v. Penn-O-Tex Oil Corp.,
             104 N.W.2d 661, 665 (Minn. 1960)). Nothing about
             Respondents’ agreements to enter into stipulations was
             accidental, casual, or gratuitous.8

             8
              At argument, the government urged that the stipulation provisions
             are conditions precedent, not promises. This is wrong. “A condition
             precedent is either an act of a party that must be performed or a
             certain event that must happen before a contractual right accrues or
             a contractual duty arises.” 13 WILLISTON § 38:7. The text of the
             PTAs and contract law render the stipulation provisions promises,
             not conditions.        Compare 8 CORBIN § 30.12 (whereas
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                  Perhaps recognizing the weakness in these arguments, the
             majority effectively concedes that the agreement to enter into
             stipulations was a promise as contract law defines the term.
             Majority Op. 36 (describing each stipulation provision
             “forward looking”). To account for that reality, the Court
             insists that the future-oriented nature of the PTAs’ promises to
             enter into stipulations must refer to something else entirely. In
             the majority’s telling, when Respondents agreed “to enter into
             [the] Stipulation of Fact” attached to each PTA, e.g.,
             Mohammed PTA ¶ 6 (emphasis added), the forward-looking
             valence of those promises applied only to their commitments
             to “formally enter the stipulations of fact into evidence at their


             “non-fulfillment of a promise” is a “breach,” “non-occurrence of a
             condition” simply “prevent[s] the existence of a duty in the other
             party”), with Mohammed PTA ¶ 6 (failure to enter into PTA is a
             breach). Nothing in the PTAs states or suggests that Respondents
             must sign the stipulations before the Convening Authority will
             countersign the PTAs, as would be typical of a condition. That’s true
             even though the stipulations use the word “condition.” See
             Mohammed Stipulation of Fact (Sealed) at 1. The term “condition”
             does not appear in the PTAs. Rule 705(d)(4)(B) calls on us to locate
             “promises contained in the [PTAs],” not the characterization of those
             promises in collateral documents. R.M.C. 705(d)(4)(B). Moreover,
             the word “condition” is not dispositive. Howard v. Fed. Crop Ins.
             Corp., 540 F.2d 695, 697–98 (4th Cir. 1976) (holding that use of
             “condition” to describe an obligation referred to a promise, not a
             condition precedent). Ultimately, “[s]tipulations should be so
             construed as to give effect to the intention of the parties.” United
             States v. Beninate, 15 C.M.R. 98, 100 (C.M.A. 1954). Any
             uncertainty whether a contract creates a condition or a promise is
             resolved by reading the provision as a promise. 13 WILLISTON
             § 38:13; see also RESTATEMENT § 227 cmt. d; 1-7 MURRAY ON
             CONTRACTS § 103[C] (5th ed. 2011).               Here, the parties
             unambiguously negotiated the stipulation provision as a promise for
             Respondents to perform.
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                                            39
             plea hearings before the military judge,” Majority Op. 36.
             Notably, the government does not advance such an argument.

                  This argument is wrong on multiple fronts. For one, while
             one legal definition of “enter” is, as the majority notes, “[t]o
             put formally before a court or on the record,” Enter, BLACK’S
             LAW DICTIONARY (12th ed. 2024), the very next definition is
             “[t]o become a party to,” as in “they entered into an
             agreement,” id. The majority points to nothing in the PTAs to
             justify relying on one Black’s definition and neglecting the
             other. It cites only paragraph 46 of Mohammed’s PTA, which
             corresponds to paragraphs 43 and 44 of bin ‘Atash’s and Al
             Hawsawi’s, respectively, to say that “other provisions in the
             [PTAs]” confirm “entry into stipulations” is something that
             happens before the military judge. Majority Op. 36. That
             cross-reference does little for the majority’s reasoning because
             the cited paragraph includes events that would not occur before
             the military judge, like the setting aside of the plea on appeal,
             e.g., Mohammed PTA ¶ 46g, or the accused’s failure to file an
             appellate waiver, id. ¶ 46i. Further, the cited paragraph
             includes a catch-all provision allowing the Convening
             Authority to withdraw if the accused “fails to satisfy any
             material term of the [PTA],” id. ¶ 46d, which sweeps broader
             than promises related to events occurring before the Military
             Judge, such as promises not to file civil claims against the
             United States, id. ¶ 26, not to seek financial benefits from
             having committed these offenses, id. ¶ 28, and not to support
             hostile acts against the United States, id. ¶ 30.

                  Instead, the stipulations themselves provide that they are
             “knowingly and voluntarily entered into by the Prosecution and
             [each Accused],” reflecting the parties’ understanding that
             entry was complete once both parties signed, and the
             stipulation became binding once the Convening Authority
             countersigned the PTAs. See Mohammed Stipulation of Fact
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                                                40
             (Sealed) at 1 (emphasis added); Mohammed PTA ¶ 62. This is
             also consistent with common usage of the phrase “enter into” a
             stipulation of fact. See Stipulation, BLACK’S LAW DICTIONARY
             (12th ed. 2024) (“A voluntary agreement between opposing
             parties concerning some relevant point . . . <the plaintiff and
             defendant entered into a stipulation on the issue of
             liability> . . . .”). Indeed, we have observed that entry into a
             factual stipulation is a distinct event from the subsequent
             introduction of that stipulation (i.e., entering it into evidence)
             at a proceeding. See, e.g., United States v. Harrison, 204 F.3d
             236, 242 (D.C. Cir. 2000); cf. Andrews v. Wall, 44 U.S. 568,
             571 (1845) (noting that where salvage vessels “enter[ed] into
             stipulations with each other,” it was a separate question as to
             whether the Court had jurisdiction to enforce those
             stipulations).9

                  Worse for the majority is that the Rules for Military
             Commissions adopt the opposite framing than what the
             majority advances. The Rules do not refer to the formal
             submission of stipulations to the Military Judge as “entering,”
             but rather use the terms offer and acceptance. R.M.C. 811(d),
             (f). Whereas the Rules permit the convening authority’s
             withdrawal from a PTA “before a stipulation is accepted” by
             the military judge, R.M.C. 811(d) (emphasis added), they
             characterize an agreed-upon but not-yet-accepted stipulation as

             9
               This interpretation aligns with the parties’ characterization of entry.
             For instance, the prosecution, when discussing an earlier stipulation
             from Mohammed on an unrelated issue, stated that if conditions were
             met it would “enter into [Mohammed’s] proposed stipulation.” Pet’r
             Resp. to Order of Apr. 14, 2025 (Sealed), Attach. 4, at App. 486 (Apr.
             15, 2025), Dkt. No. 2111203. As did Respondents. See, e.g., Pet’r
             Resp. to Order of Apr. 14, 2025 (Sealed), Attach. 9, at App. 46 (Apr.
             15, 2025), Dkt. No. 2111203 (describing promise as executing a
             stipulation “agreed to and signed by the government’s
             representative”).
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                                             41
             one “entered pursuant to a pretrial agreement,” R.M.C.
             705(d)(4)(A) (emphasis added). This same view is expressed
             (again) in the regulations for military commission trials. There,
             the Department of Defense details the convening authority’s
             power to “require the accused . . . to enter into
             stipulations . . . as a part of the PTA,” 2011 REGULATION FOR
             TRIAL BY MILITARY COMMISSION, at 47, not at the time the
             stipulation is accepted by the military judge or admitted into
             evidence.

                  Although the majority declines to engage with it, Majority
             Op. 34–36 & n.10, this distinction makes clear that entering
             into a stipulation is different than offering it to the tribunal for
             acceptance. In fact, paragraph 46 of Mohammed’s and Al
             Hawsawi’s PTAs (and paragraph 43 of bin ‘Atash’s)—the very
             provision the majority uses to anchor its definition of “enter
             into”—uses the same offer/acceptance framework to describe
             what happens before the Military Judge. See Mohammed PTA
             ¶ 46h (noting convening authority can withdraw from PTA
             upon “[f]ailure or refusal of the Military Judge to accept the
             agreed upon Stipulation of Fact”) (emphasis added)); Al
             Hawsawi PTA ¶ 44h (same); bin ‘Atash PTA ¶ 43h (same).
             The “agree[ment] to enter into” stipulations thus does not
             concern the proffer of the stipulations to, or the acceptance of
             the stipulations by, the Military Judge. The majority’s
             suggestion otherwise is unmoored from the text of the
             agreements, the parties’ statements, military rules, and contract
             doctrine.

                  At bottom, the PTAs plainly contain a promise to enter into
             stipulations of fact. None of the majority’s arguments against
             that natural reading—that the signed stipulations were part of
             the offer, the consideration for the agreement, or a promise to
             offer stipulations to the military commission—clearly and
             indisputably establish that the Military Judge’s construction of
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             the PTAs as encompassing a promise to enter into factual
             stipulations was clear error. Cf. Pet. Ex. A at 7. The same is
             true under de novo review that the majority believes is
             appropriate.

                                            3.

                 Two final points, left unaddressed by the majority, further
             undermine its holding.

                  First, the majority’s atextual understanding of the PTAs at
             most suggests that the documents are ambiguous. Against the
             plain language of the agreement, several areas of contract law,
             and the work of two military courts, the Court stands alone in
             concluding that “entering into” a stipulation means entering it
             into evidence, rather than simply signing it (agreeing to it).
             This alone makes clear that even if the majority’s read is right,
             the agreements involve some degree of ambiguity. See supra
             Section II.A.2.a.

                  And if the PTAs are ambiguous, we look to the parties’
             course of dealing, which confirms that the Military Judge
             correctly read the agreements. RESTATEMENT § 223(1) (“A
             course of dealing is a sequence of previous conduct between
             the parties to an agreement which is fairly to be regarded as
             establishing a common basis of understanding for interpreting
             their expressions and other conduct.”). The facts of this case
             are sui generis: Intense negotiations over three years led to the
             government principally drafting the PTAs and stipulations of
             fact, after which Respondents formally “offered” the PTAs to
             comply with military commission rules. Supra Part I. The
             stipulations, per the PTAs themselves, played a crucial role in
             the prosecution.       They established Respondents’ guilt,
             provided a factual basis for the sentencing, and were necessary
             for the Military Judge to ultimately accept any future guilty
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             pleas as supported by an adequate factual record. As the
             government’s trial counsel conceded, the agreements to enter
             into the stipulations were one of “the two most important
             aspects of the Prosecution’s willingness to endorse any pre-trial
             agreements in [the] case.” J.A. 198. And he required that
             Respondents inform the government “by July 28 if any of the
             Accused [were] willing to enter into a PTA that include[d]” the
             stipulations. J.A. 199.

                  “[C]ontracts should be liberally construed so as to give
             them effect and carry out the intention of the parties.” 11
             WILLISTON § 30:9. The prosecutor never suggested or implied
             that the agreement to enter into stipulations was anything but a
             “manifestation of [Respondents’] intention to act . . . in a
             specified way, so made as to justify [the government] in
             understanding that a commitment has been made.”
             RESTATEMENT § 2(1) (defining “promise”). Indeed, the parties
             bargained so intensely over the substance of the confessions
             that the government refused to accept the PTAs unless the
             agreement “to enter into” satisfactory stipulations was
             contained in the PTAs. See J.A. 198–99.

                  Because the Court erroneously concludes that the text of
             the PTAs unambiguously supports the government, e.g.,
             Majority Op. 3, it fails to acknowledge this evidence of the
             parties’ intent, as expressed by their course of dealing. See id.
             at 19–22 (citing authority that when a contract is unambiguous,
             its terms “must be enforced irrespective of the parties’
             subjective intent”). It is further telling that the majority makes
             no attempt to argue that, even assuming the agreements are
             ambiguous, the parties’ course of dealing can be reconciled
             with its preferred interpretation. That is because the parties’
             negotiations flatly contradict the Court’s construction of the
             PTAs. We can resolve this case on the plain text of the PTAs
             and principles of contract law, which together require denying
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                                             44
             the government’s petition. But to the extent ambiguity exists,
             we must look outside the four corners of the agreements, and
             the parties’ course of dealing clarifies that the Military Judge
             did not clearly and indisputably commit clear error.

                  Second, the majority ignores the plain text of a
             neighboring provision in the Rules for Military Commissions,
             which confirms that the stipulation provisions are contractual
             promises. Rule 705(c)(2)(A) enumerates as a “[p]ermissible
             term[] or condition[]” in a PTA that an accused may “promise
             to enter into a stipulation of fact.” As such, military courts
             “have long sanctioned pretrial agreements which compel an
             accused to stipulate with the trial counsel to the factual basis of
             the offenses to which he pleads guilty.” United States v.
             Sharper, 17 M.J. 803, 806 (A.C.M.R. 1984); see, e.g., United
             States v. Felder, 59 M.J. 444, 445 (C.A.A.F. 2004) (“In his
             pretrial agreement, Appellant promised to enter into a
             stipulation of fact,” and “made these promises in exchange for
             a limitation on the sentence.”). By turning a blind eye to the
             relevant rules at stake, the majority misses yet another
             indication that Respondents’ agreements to enter into
             stipulations are promises.

                                        *    *    *

                  For all these reasons, the Military Judge rightly found that
             the PTAs contain a promise to enter into stipulations of fact.
             There is no basis for concluding that he clearly and
             indisputably committed clear error, as is required for the
             government to prevail on this claim. The majority disagrees
             with the Military Judge’s construction of the contracts, but
             nowhere explains why its disagreement is so substantial that it
             empowers the Court to hold that the government has shown a
             “clear and indisputable” right to relief. This is especially true
             as to arguments advanced for the first time by the majority.
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             Mandamus does not grant the Court license to inject its own
             arguments in support of the government’s position. We review
             whether a petitioner has shown a clear and indisputable
             entitlement to relief, not whether the majority can satisfy the
             mandamus standard based on arguments that have not been
             presented.

                 As to the arguments actually put forward by the
             government, the majority fails to explain why, even if those
             arguments “pack[] substantial force,” a writ is “clearly
             mandated by statutory authority or case law.” Ferriero, 60
             F.4th at 714 (emphasis added) (internal quotation marks
             omitted). While the majority states that “[t]his is a rare case in
             which that exacting standard has been met,” Majority Op. 11,
             it never articulates why, assuming the government can
             demonstrate some entitlement to relief, mandamus is clearly
             and indisputably required.

                  Today’s decision calls into question the wisdom of the
             Military Judge, despite his courtside view of the proceedings
             below and his expertise in interpreting military PTAs. As the
             PTAs’ text and contract principles demonstrate, we are wrong
             to second-guess the Military Judge’s factual findings, which
             the CMCR affirmed. The government has not clearly and
             indisputably shown that it is entitled to relief on this claim
             under any standard.

                                            D.

                  Turning from the “promise” requirement to “begins
             performance,” the government fails to show, clearly and
             indisputably, that the Military Judge erroneously applied Rule
             705(d)(4)(B) by holding that Respondents began performance
             of the established promise to enter into factual stipulations.
             Recall that the Rule prohibits the convening authority from
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             withdrawing from a pretrial agreement once the accused
             “begins performance of promises contained in the agreement.”
             R.M.C. 705(d)(4)(B) (emphasis added). Because bedrock
             contract doctrines confirm Dean, see supra Section III.A, and
             conform with the best reading of Rule 705(d)(4)(B), see supra
             Section III.B, Respondents began performance by signing the
             stipulations even under the majority’s myopic and acontextual
             view of the case. The government thus cannot carry its burden.

                  To start, the majority’s contract-law approach to
             “begin[ning] performance” breaks new ground by imposing a
             freestanding and unsupported temporal limitation on when an
             accused may start performing on a promise under Rule
             705(d)(4)(B). See Majority Op. 33–36. Recall that this is a
             case about the withdrawal regulation, not a contract dispute. At
             its outset, when drafted by the military for the courts-martial
             rules, Rule 705(d)(4)(B)’s predecessor was intended to be more
             favorable to the accused than what a narrow view of contract
             law might allow. The military’s analysis noted that the “begins
             performance” standard was “consistent” with earlier military
             precedent that pegged the convening authority’s withdrawal
             power to an accused’s detrimental reliance. 1984 MCM at
             A21-36.10 By citing with approval, id., the highest military
             court’s decision in Shepardson v. Roberts, the Executive
             Branch intended the “beginning of performance” in the
             withdrawal regulation to encompass the principles of “fairness
             and due process,” recognized in Shepardson, that were “apart
             from contract law” and “compel[led] the Government to abide
             by a [PTA] on which an accused has reasonably relied to his
             detriment,” 14 M.J. 354, 358 (C.M.A 1983) (emphasis added).
             Incorporation of the “beginning of performance” standard,

             10
                 Detrimental reliance, or promissory estoppel, concerns the
             enforcement of promises lacking consideration, a necessary element
             for contract formation. See RESTATEMENT § 90.
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             while “consistent” with Shepardson’s approach, simply
             “provide[d] a clearer point at which the right of the convening
             authority to withdraw terminates.” 1984 MCM at A21-36. In
             its effort to make this case a contract dispute, the majority fails
             to faithfully interpret Rule 705(d)(4)(B) or so much as
             acknowledge that the Rule was never intended to be
             coextensive with contract law.

                  The temporal limitation invoked by the majority has no
             purchase in contract law, either. First, hornbook contract law
             provides that “[p]erformances are to be exchanged under an
             exchange of promises if each promise is at least part of the
             consideration for the other and the performance of each
             promise is to be exchanged at least in part for the performance
             of the other.” RESTATEMENT § 231. Respondents here did
             exactly that. As the majority concedes, and as outlined below,
             the agreements to enter into stipulations were offered as partial
             consideration for the government’s agreement to not seek
             capital punishment. And, performance of the agreement to
             enter into stipulations—that is, the act of signing the stipulation
             itself after having made the promise to do so—was done in
             exchange for the anticipated performance of the government’s
             end of the bargain.

                  Second, the longstanding contract doctrine of executed
             consideration concerns contracts premised on conduct (i.e.,
             performance) that occurs contemporaneously with formation.
             Settled authority on executed consideration makes clear that a
             promise to perform an act in the future is no different than
             simply performing the promised act, so long as the
             performance of the promised act was part of the bargained-for
             exchange. As one treatise articulates this principle:

                     The consideration upon which a contract is
                     made may be executed or executory. In the
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                     former case the consideration is executed by
                     one party in return for the promise of the other,
                     and nothing remains to be done but to perform
                     the promise according to its terms. In the latter
                     the consideration is a promise made by one
                     party in return for the promise of the other; there
                     are mutual promises which have to be
                     performed on both sides, and the promise on
                     one side may be dependent, or conditional upon
                     the performance on the other according to the
                     construction of the terms . . . . But the executed
                     consideration is not a past consideration, in the
                     sense of having been executed before the
                     making of the promise, the execution of the
                     consideration and the making of the promise
                     being concurrent acts . . . .

             LEAKE & RANDALL, PRINCIPLES OF THE LAW OF CONTRACTS
             30–31 (7th ed. 1921); accord 17 C.J.S. CONTRACTS § 128
             (“The consideration for a promise may be executory or
             executed . . . . Executed consideration . . . is some act
             performed or some value given at or before the time that the
             return promise is made. The acceptance of executed
             consideration creates a binding contract . . . .”).

                  As another treatise puts it, “[a] contract arises upon
             executed consideration when one of the two parties has[,] either
             in the act which amounts to a proposal or the act which amounts
             to an acceptance[,] done all that he is bound to do under the
             contract, leaving an outstanding liability on one side only.”
             WILLIAM R. ANSON, PRINCIPLES OF THE LAW OF CONTRACT 82
             (O. W. Aldrich ed., 1880). Executed consideration still
             constitutes a promise under the agreement, notwithstanding its
             timing. As Chief Justice John Marshall stated, “[a] contract
             executed, as well as one which is executory, contains
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             obligations binding on the parties.” Fletcher v. Peck, 10 U.S.
             87, 137 (1810). The PTAs at issue did not solely call for
             performance as consideration because they contained
             forward-looking promises. See supra Section III.C. Still, the
             doctrine helps illustrate why the Majority is wrong to contend,
             e.g., Majority Op. 35–36 & n.10, that the timing and manner of
             Respondents’ performance on their promises is somehow
             unfamiliar to contract law.

                   Third, contract law contemplates performance that occurs
             contemporaneously with an offer. Corbin describes a “reverse”
             unilateral contract as “the offer of an act for a promise.” 1
             CORBIN § 3.17; cf. Hettinger v. Kleinman, 733 F. Supp. 2d 421,
             437 (S.D.N.Y. 2010) (offeree’s acceptance of offeror’s
             performance can form a binding contract); Hampton Island
             Club, LLC v. B2 Creative, Inc., 685 S.E.2d 751, 751–52 (Ga.
             Ct. App. 2009); Classic Restorations v. Bean, 272 S.E.2d 557,
             562–63 (Ga. Ct. App. 1980); Moore v. Kuehn, 602 S.W.2d 713,
             718–19 (Miss. Ct. App. 1980). For example, “if A sends a book
             to B, offering to sell it at a price, and B keeps the book, either
             expressly or impliedly promising to pay the price, a contract is
             consummated by B’s acceptance.” 1 CORBIN § 3.17 (footnote
             omitted). The doctrine is not on all fours with Respondents’
             offer and performance, because Corbin’s scenario does not
             involve bilateral promises made by both parties. See also
             RESTATEMENT § 55 cmt. a (noting reverse unilateral contracts
             involve non-promissory offers); WILLIAM L. CLARK, JR. &
             ARCHIBALD H. THROCKMORTON, HANDBOOK OF THE LAW OF
             CONTRACTS 18 (3d ed. 1914) (covering implied contracts
             where “[t]he doing of the work is an offer; the permission to do
             it, or acquiescence in its being done, is the acceptance”). Here,
             Respondents made forward-looking promises that the
             Convening Authority accepted as part of an express, executed
             contract. But reverse unilateral contracts nonetheless support
             the notion that performance can immediately precede contract
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              formation, thus further undermining the majority’s insistence
              that “basic principles of contract law” support the government.
              Majority Op. 32.

                   At bottom, the Court rewrites the governing regulation to
              place dispositive weight on the timing of performance, but does
              not substantiate its concerns with authority. See id. at 33–34.
              The resort to selective principles of contract law ignores
              military precedent that rejects “such technicalities” when it
              concerns “the enforceability of a [PTA] in a criminal case.”
              Koopman, 20 M.J. at 110 n.3. Although the majority insists
              that performance may occur only after an agreement is fully
              formed, see Majority Op. 34, R.M.C. 705(d)(4)(B) contains no
              such limitation. Yet the majority’s atextual approach cites
              nothing for the proposition that performance of an indisputably
              forward-looking promise contained in a valid contract cannot
              occur after the promise is made and immediately before the
              agreement is executed. For example, in the Farnsworth treatise
              the majority cites, id. at 32, there are zero relevant cases cited
              in the section about contract law’s “[c]oncern . . . with the
              future,” FARNSWORTH § 1.01, that contravene the Military
              Judge’s reasoning below. Williston’s treatise, which the
              majority also cites as an endorsement of the Second
              Restatement’s definition of “promise,” Majority Op. 32, directs
              us to no cases that address the issues presented in this appeal.
              See 1 WILLISTON § 1:2 n.1 (citing only cases that distinguish
              contractual      promises        from      illusory     promises,
              misrepresentations, and conditions, or that otherwise adopt the
              Second Restatement’s definition).

                  Instead, the Court relies on a nonbinding case about past
              consideration. Majority Op. 37–38 & n.12 (citing Univ. S. Fla.
              Bd. Trs. v. United States, 92 F.4th 1072, 1082 (Fed. Cir. 2024)).
              In this patent dispute, the Federal Circuit addressed a
              November 1997 agreement with an “effective period”
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              beginning in September 1997. Univ. S. Fla. Bd. Trs., 92 F.4th
              at 1082. The court accepted for purposes of appeal that some
              money under the contract was used to pay for work done in
              April 1997. Id. It held that the contract included valid past
              consideration, but the April work was not “obligatory.” Id. at
              1082–83. That case has no relevance here. Principally, it
              involved “prior” work in a way that this case does not. The
              “past” work there occurred seven months before contract
              formation and four months before the agreement’s “effective
              period.” Id. Here, what the majority insists is “past” conduct
              are actions that Respondents took after executing their portions
              of the PTAs and practically contemporaneous with formation.
              Nor did the Federal Circuit case involve (as this one does) years
              of negotiation that produced an agreement containing a
              forward-looking promise, bargained for as part of the contract,
              that one side performed the same day it entered into the
              contract. The central tenet of the past consideration doctrine is
              that it applies to acts that occurred prior to, and outside of, the
              bargaining process. See 3 CORBIN § 9.1. Here, the stipulations
              were clearly part of the bargained-for exchange within the
              PTAs.

                   Perhaps animating the majority’s concern is a fact pattern
              we do not confront. Had the Convening Authority rejected the
              Respondents’ offers and declined to countersign the PTAs, I
              would agree that no performance occurred here. Without an
              executed contract, Respondents would have no footing to argue
              that merely acting in accordance with the forward-looking
              commitment in the offered PTA amounted to performance of a
              promise in a formed agreement. In that scenario, Respondents
              would need to prevail on a theory of detrimental reliance to
              prevent the Convening Authority from withdrawing from the
              PTAs. See RESTATEMENT § 90; Pet. Ex. A at 28. But that is
              not this case. With an executed agreement, it is illogical to say
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              Respondents did not (as the majority puts it) “start[] to
              complete a forward-looking commitment.” Majority Op. 33.

                   To illustrate the majority’s flawed reasoning, suppose a
              homeowner calls a painter and asks him for a quote to paint his
              front and back fences. The painter comes to the house, reviews
              the job, and delivers a signed contract promising to paint the
              front fence for $500 and the back fence for $1,000. The painter
              begins painting, and he finishes the front fence by the time that
              the homeowner signs the contract, returns it to the painter, and
              compliments him on the work. However, when the painter
              returns days later to paint the back fence, the homeowner tells
              the painter that he has withdrawn from the contract, does not
              wish for the painter to paint the back fence, and refuses to pay
              for the front fence. In a subsequent breach of contract action
              for $500, is there any doubt that the painter made a written
              promise in the contract to paint the front fence for $500,
              manifested his assent to the bargain, exchanged the promise for
              consideration, and performed the promise? Particularly where,
              as here, the homeowner manifested his assent to promise
              payment? The majority would say that the painter did not
              perform a promise contained in the signed contract by painting
              the front fence, but the law and common sense say otherwise.

                  Despite the Court’s suggestion that “basic principles of
              contract law” require upending the decisions of two military
              courts, id. at 32, its opinion offers little by way of actual
              contract doctrine to support that point.11 It submits not a single

              11
                 At first blush, one of the majority’s citations seems promising for
              its argument. Majority Op. 38 (citing RESTATEMENT § 55 cmt. b
              (“[I]f the offeror’s performance is complete at the moment of
              acceptance, the element of futurity required by the definition of
              ‘promise’ . . . is lacking.”)). But this Restatement section is only
              applicable when divorced from context and it has no bearing here. It
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              case to bolster the sole principle justifying its holding on
              performance of the stipulation provision. We deny mandamus
              when a petitioner’s argument, “though packing substantial
              force, is not clearly mandated by statutory authority or case
              law.” In re Al Baluchi, 952 F.3d at 369 (cleaned up) (emphasis
              added). Here, the majority has not identified an example in
              which a court held that a promise in a fully formed contract
              may be “performed” only after all parties have signed the
              agreement. And even if such a case existed, the Court cannot
              explain why this practice is prohibited by R.M.C. 705(d)(4)(B),
              which is the law we must apply.

                                                E.

                    Last, the government argues that if we determine that
              Respondents began performing on a promise to enter into
              stipulations, we would “effectively nullify” the convening
              authority’s power to withdraw under R.M.C. 705(d)(4)(B).
              Pet’r Reply 10. In essence, the government urges that my
              interpretation would undermine the Rule’s “practical effect,”
              id., because any accused could unilaterally begin performance
              before the convening authority ever has time to withdraw.

                   But judicial review requires courts to interpret laws as
              written, not to construe regulations or interpret contracts to

              deals with “[a]cceptance of [n]on-promissory [o]ffers],” or, in
              doctrinal terms, the unilateral contract. RESTATEMENT § 55
              (emphasis added); see also 1 WILLISTON § 1:18 (“A unilateral
              contract results from an exchange of a promise for an act . . . .”). For
              the unilateral contract paradigm to fit here, the government would
              need to accept through performance (and not promises) because as
              all agree, Majority Op. 2, 5, Respondents offered the PTAs. The
              majority never asserts as much. Nor could it, because the
              government clearly accepted the PTAs by responding with promises
              of its own.
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              satisfy the government’s policy concerns. No military court
              has questioned Dean, which interpreted language identical to
              that contained in R.M.C. 705(d)(4)(B). 67 M.J. at 229. Now,
              fifteen years later, the government cannot feign surprise that
              the Military Judge and CMCR would follow this uncontested
              precedent. Nor does the government point to evidence from
              the preceding decade and a half to show why Dean’s rule is, as
              a matter of plain text or policy, untenable.

                   And, both the text and timing of the Rules for Military
              Commissions suggest the Executive Branch understood the
              practical effect of Dean and rejected the government’s
              “effective nullification” argument. In 2007, the Secretary of
              Defense issued regulations for the recently established military
              commission, which prohibited the convening authority from
              withdrawing from a PTA after an accused “begins
              performance” of a promise. OFF. OF THE MIL. COMM’NS & OFF.
              OF THE SEC’Y OF DEF., REGULATION FOR TRIAL BY MILITARY
              COMMISSIONS,        at   ch.     12-3   (Apr.     27,     2007),
              https://www.mc.mil/Portals/0/Reg_for_Trial_by_mcm.pdf.
              Three years later, the Executive Branch issued the first Rules
              for Military Commissions, which retained the “begin[ning]
              performance” standard from the Rules for Courts-Martial and
              the 2007 Regulation. R.M.C. 705(d)(4)(B) (2010). Moreover,
              they implicitly acknowledged the Rules for Courts-Martial
              construction of “begins performance” as encompassing actions
              done “pursuant to” an agreement. See id. at 705(a) (citing
              MCM app. 3); id. at 102(b) (noting procedure and construction
              of military commission rules were “based upon” the
              courts-martial rules); see also supra Section III.B. (discussing
              “pursuant to” as contained in the 1984 and 2008 MCM
              appendices). Because the Rules for Military Commissions
              were explicitly “based upon” the Rules for Courts-Martial and
              issued just one year after Dean, the drafters of R.M.C.
              705(d)(4)(B) knew how the highest military court construed
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              “begin[ning] performance.” And the drafters consciously
              chose to import the exact text of R.C.M. 705(d)(4)(B) even
              though they rejected at least one comparable courts-martial
              rule—suggesting that the Executive Branch endorsed or, at a
              minimum, acquiesced in Dean’s interpretation. Cf. R.M.C.
              703(b)(3)(B) (2010) (noting in discussion that “[t]his rule
              departs from the R.C.M. 703(b)(3)”).

                   To the extent that the correct interpretation of the Rule
              poses practical problems, the government can amend it. It did
              so to the corresponding Rule for Courts-Martial after Dean.
              See R.C.M. 705(e)(4)(B)(i) (permitting convening authority to
              withdraw from pretrial agreements at any time “before
              substantial performance by the accused of promises contained
              in the agreement”) (emphasis added)). But the government
              (including the Defense Department under Secretary Austin)
              left Rule 705(d)(4)(B) untouched. We are bound to interpret it
              as written.

                   Even under the government’s preferred interpretation, the
              Rule hampers the convening authority’s ability to withdraw. In
              its briefing, the government attempted to distinguish Dean by
              noting that there, “the convening authority did not attempt to
              withdraw until nearly a month after the agreement was
              entered.” Pet’r Reply 10. Yet at oral argument, the
              government agreed that Respondents could have signed the
              stipulations “less than a second” after the PTAs were executed
              and have begun performance under the Rule, even though
              there, the Convening Authority would not have any meaningful
              opportunity to withdraw. Oral Arg. Tr. 65:3–66:22. Given that
              the government’s own interpretation of the Rule does not
              mitigate its policy concerns, they carry little weight.

                                       *    *   *
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                   The Military Judge’s conclusion that Respondents began
              performing corresponded to the text and drafting history of the
              Rule, reasonably relied upon persuasive authority interpreting
              an analogous rule, and faithfully adhered to contract principles.
              The CMCR was right to affirm his decision. Here, the
              government has not shown that either court was wrong, let
              alone made a compelling case that the Military Judge clearly
              and indisputably erred. By adopting the government’s
              position, the majority grants an extraordinary remedy when the
              right to relief is unclear, heavily disputed, and based on
              underwhelming authority.

                                            IV.

                   Finally, the government has not established a clear and
              indisputable right to relief because it fails to show that the
              Military Judge committed clear error by ruling that
              Respondents began performance of a promise contained in the
              PTAs when they refrained from questioning witnesses at a
              suppression hearing. As I explain, the scope of these promises
              is not so narrow as the majority suggests, and under any
              construction of the promises, Respondents began performance
              within the meaning of Rule 705(d)(4)(B).

                                             A.

                   The parties addressed the PTAs’ impact upon the motion
              to suppress hearing before the Military Judge on two separate
              occasions. First, on July 30, the prosecutor informed the
              Military Judge that the agreements placed the parties “in a
              unique situation,” given that “[p]art of those deals is waiving
              all motions,” such that “it wouldn’t necessarily be appropriate
              for people to continue cross-examining any of the witnesses.”
              Pet’r Resp. to Order of Apr. 14, 2025, at App. 910 (Apr. 15,
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              2025), Dkt. No. 2111203. The Military Judge indicated his
              agreement with the government’s position. Id. Because the
              PTAs had not yet been countersigned as of this date, the parties
              did not finalize their course of action.

                   Second, on August 1, the day after both parties had
              executed the PTAs, the parties convened for a prescheduled
              hearing on motions to suppress, including those previously
              filed by Respondents. Supra Part I. The Military Judge and
              the prosecutor discussed again whether, given the PTAs, it
              remained appropriate for Respondents to participate in the
              hearing. Id. The government represented that the PTAs—
              specifically, a provision of the agreements requiring
              Respondents      to    “waive[]      all  motions”—precluded
              Respondents from cross-examining the witness. See Pet’r
              Resp. to Order of Apr. 14, 2025, at App. 917 to App. 918 (Apr.
              15, 2025), Dkt. No. 2111203. None of Respondents’ counsel
              objected. In fact, counsel for another defendant, al Baluchi,
              saw “it pretty much the same way,” and questioned whether
              Respondents “should be required to appear for the first day of
              each session anymore.” Id. at App. 918. The Military Judge
              agreed, essentially ruling that waiving a motion encompasses
              agreeing not to question a witness at a hearing on said motion.
              See id. at App. 919. The CMCR, which has seen more PTAs
              than any judge on this Court, construed the language in the
              same manner. Pet. Ex. B at 17 (“Respondents clearly began
              performance of a promise contained in the PTA—not to make
              or participate in motions . . . .”). Respondents thus refrained
              from cross-examining the witness testifying at the joint motion.

                  The most reasonable inference based on the record is that
              Respondents either conferred with the prosecutor before the
              August 1 hearing and collectively agreed on how to proceed
              with the substantive motion, and/or that they concurred in the
              government’s assessment of the PTAs. For the Court or the
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              government to suggest otherwise inverts the burden of proof at
              the mandamus stage. This understanding is further supported
              by statements made by Al Hawsawi’s counsel the following
              day, when he informed the Military Judge (before the Secretary
              withdrew from the PTAs) that he understood that not
              “engaging in any examination of the witness” and “abstaining
              from that” constituted “specific performance on that plea
              agreement.” Pet’r Resp. to Order of Mar. 4, 2025, at
              49420:19–21:5 (Mar. 5, 2025), Dkt. No. 2103963; see also Al
              Hawsawi & Mohammed Resp. in Opp’n to Pet. 18, Dkt. No.
              2095002 (“No defense team disputed counsel for the
              government’s stated understanding of their obligations or that
              the letter and spirit of the pretrial agreements required the
              parties to bring contested litigation of guilt to a stop.”).

                   From this record, the Military Judge appropriately
              determined that Respondents began performance of a promise
              contained in the agreements. So too did the CMCR. I first
              address the scope of the relevant promise and explain why the
              majority’s hyper-technical reading of the PTAs misses the
              mark. Even assuming that the Court correctly construed the
              promises, Respondents began performance under the Rule.
              The majority’s cramped interpretation of the agreements and
              R.M.C. 705(d)(4)(B) finds no support in those authorities’ text,
              the criminal context, or military jurisprudence.

                                             B.

                   A guilty plea necessarily waives a defendant’s right to
              further factual development, even as to non-waivable motions.
              This foundational principle of criminal practice is why every
              military justice actor below—Respondents, the government,
              the Military Judge, and the CMCR—understood that once both
              parties had signed the PTAs, it would be fruitless and futile for
              Respondents to litigate the scope of the factual record through
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              cross-examination at a suppression hearing. It is clear from
              longstanding Supreme Court and military justice precedent and
              the record below that, had Respondents insisted on
              cross-examining the witness, the government would argue that
              Respondents breached the PTAs. See R.M.C. 705(d)(4)(B)
              (permitting withdrawal when accused “fail[s] . . . to fulfill any
              material promise or condition in the agreement”). For the
              Court now to suggest that refraining from questioning was not
              beginning performance both misapprehends the basic realities
              of criminal procedure and also fails to give due deference to the
              reasoning of these specialized tribunals in the construction of a
              military procedural rule.

                   In United States v. Broce, 488 U.S. 563, 571–74 (1989),
              the Supreme Court held that a defendant whose plea agreement
              was ratified by the trial court is not entitled to an evidentiary
              hearing or further fact development to lodge a collateral attack
              on the conviction, even as to a claim of double jeopardy (which
              is non-waivable). It should thus be no surprise that the parties
              and the Military Judge all agreed that the PTAs precluded
              Respondents from developing the factual record through
              cross-examination. Any other interpretation of the meaning of
              waiving all motions would indeed undermine Broce’s central
              holding. Cf. Joubert v. Hopkins, 75 F.3d 1232, 1248 (8th Cir.
              1996) (“[W]e are perplexed by Joubert’s argument that the trial
              court somehow wronged him by not holding a suppression
              hearing when his plea was unconditional.”).

                  The very effect of Respondents’ agreement to plead guilty
              was to forego the factfinding process (that is, their opportunity
              to test and contest the record against them), rendering
              cross-examination at the suppression hearing inapt. This is
              why the CMCR construed the PTAs’ promises to mean that
              Respondents could not “make or participate in motions,” also
              described as a promise “not [to] litigate or contest motions.”
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              Pet. Ex. B at 17, 3. The Military Judge and the CMCR had no
              need to identify a precise provision of the agreements which
              contained a particularized promise because, as Broce instructs,
              the entire purpose of a plea agreement is to conclude litigation
              by taking the possibility of a trial off the table—meaning the
              promises in the plain text of the PTAs had that same effect. See
              United States v. Jones, 69 M.J. 294, 299 (C.A.A.F. 2011) (“An
              unconditional guilty plea generally waives all pretrial and trial
              defects that are not jurisdictional or a deprivation of due
              process of law.”); United States v. Dusenberry, 49 C.M.R. 536,
              540 (C.M.A. 1975) (stating that an accused who “factually
              admit[s] guilt by a plea of guilty and receive[s] the benefit of a
              possible pretrial agreement . . . waives both his right to a trial
              of the facts and any corresponding right to appellate review of
              any issues that may have been raised in that proceeding”); MIL.
              R. EVID. 311(e) (“[A] plea of guilty to an offense that results in
              a finding of guilty waives all issues under the Fourth
              Amendment . . . and MIL. R. EVID. 311–317 with respect to the
              offense, whether or not raised prior to plea.”).12

                  This practical reality was reflected in the text of the
              agreements since, as both military tribunals recognized, Pet.
              Ex. A at 8 n.41; Pet. Ex. B at 3, Respondents began
              performance of two promises in the PTAs when they refrained
              from cross-examining the witness: Respondents’ agreement to


              12
                 See also United States v. Ellis, 2008 WL 4898643, at *2 (A.F. Ct.
              Crim. App. Oct. 22, 2008) (“[T]rial defense counsel properly advised
              the appellant that he would forever waive his motion to suppress by
              accepting the [PTA].”); United States v. Felicies, 2005 WL 958397,
              at *4 n.4 (N-M. Ct. Crim. App. Apr. 27, 2005) (enforcing waiver of
              motion to suppress even though “[t]he actual [PTA] does not include
              a provision waiving possible motions[,]” because “appellant
              understood that by pleading guilty, he was agreeing to waive any
              Fourth Amendment issues”) (citing MIL. R. EVID. 311)).
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              waive all waivable motions, and their promise to move to
              withdraw all pending motions, see, e.g., Mohammed PTA ¶ 23.

                   The majority nevertheless contends that the subject matter
              experts below committed “straightforward error given the plain
              text of the pretrial agreements and the undisputed facts in this
              case.” Majority Op. 22. The Court’s sparse analysis begins
              and ends with its observation that “a commitment not to
              question witnesses appears nowhere in the agreements’ text.”
              Id. at 22–23. It then engages in a hyper-literal reading of the
              two promises identified by Respondents, applying dictionary
              definitions to each word (e.g., “move,” “withdraw,” “waive”)
              to conclude that abstention from cross-examination does not
              fall within those parameters. See id. at 24–25, 28–30. While
              dictionary definitions can shed light on the intended meaning
              of a plea agreement’s text, we have repeatedly declined to rely
              on such extra-textual sources isolated from relevant criminal
              context. See United States v. Hunt, 843 F.3d 1022, 1028 (D.C.
              Cir. 2016) (“True, ‘term’ can mean ‘condition.’ But in the
              context of Hunt’s appeal waiver, it more likely connotes
              ‘duration.’”) (citation omitted) (evaluating two competing
              definitions using context); Ramsey v. U.S. Parole Comm’n, 840
              F.3d 853, 863 (D.C. Cir. 2016) (considering dictionary
              definitions “in the criminal context” with reference to binding
              caselaw construing the relevant terms). Blackletter contract
              law adopts the same approach. Although “[d]ictionary
              definitions may be of help in showing the general use of
              words, . . . they are not necessarily dispositive[;]” instead, “the
              meaning attached to a word by the parties [often] must be
              gleaned from its context, including all the circumstances of the
              transaction.” FARNSWORTH § 7.11.

                   The majority never acknowledges, let alone analyzes, how
              motions hearings are generally handled once a plea agreement
              is reached, as described by the Supreme Court in Broce,
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              countless other military and civilian cases, see supra, and the
              commentary to Rule 705, see supra Section III.B. This is error,
              given that these practices are clearly part of the “surrounding
              circumstances” that the majority concedes, Majority Op. 19,
              are relevant to determining what the promises to waive and
              withdraw motions mean, and whether those promises are
              ambiguous, even on de novo review. Both the Military Judge
              and the CMCR took those surrounding circumstances into
              account, which is why they concluded, quite reasonably, that
              these promises meant Respondents had agreed not to litigate
              their motions. See supra Section IV.A.

                   In other words, simply because “[d]eclining to examine
              witnesses is [not] mentioned” in the text of the PTAs does not
              mean that Respondents made no such promise. Cf. Majority
              Op. 24. Their conduct still fell within the parameters of the
              promises to waive all waivable motions and to move to
              withdraw.       And even accepting that the majority’s
              word-by-word definitional construction of the relevant
              promises holds water, it is far from the only reasonable
              interpretation of the contract language: Two different military
              tribunals and the parties disagreed with its interpretation. It
              defies logic, then, for the majority to proclaim that these
              contract terms are unambiguous and thus subject to de novo
              review. See id. at 18–22 & n.6. In essence, the majority’s
              reasoning is circular: It first ignores contrary interpretations of
              the PTAs to conclude that its reading is “straightforward” from
              the text, which in turn allows the Court to elide the requisite
              deference owed to the Military Judge’s factual findings
              regarding the scope of ambiguous promises. See supra Part II.
              Appreciating the criminal procedural context and applying a
              deferential review to the Military Judge’s determinations
              necessitates a conclusion that the PTAs encompassed a broader
              promise to cease litigating the pending motions to suppress,
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              including by cross-examination. So defined, Respondents
              undisputably performed a promise contained within the PTAs.

                                               C.

                  Even accepting the Court’s narrow definition of the
              promises contained in the PTAs, Respondents began
              performance by refraining from cross-examination.

                                               1.

                   First, Respondents began performance of their promise to
              waive all waivable motions when they refrained from
              cross-examining the witness at the suppression hearing. Each
              PTA encompassed such a promise. See Mohammed PTA ¶ 23
              (“Upon entry and acceptance of the Accused’s guilty plea
              pursuant to this Agreement, the Accused knowingly,
              voluntarily, and expressly waives all waivable motions.”); bin
              ‘Atash PTA¶ 22 (similar); Al Hawsawi PTA¶ 23 (similar).
              Although the majority contends that Mohammed and Al
              Hawsawi forfeited any argument based on this provision of the
              PTAs, they sufficiently defended the Military Judge’s ruling on
              this basis in their filings here.13


              13
                See Al Hawsawi & Mohammed Resp. in Opp’n to Pet. 5, Dkt. No.
              2095002 (“Respondents duly suspended their participation in
              on-going hearings, which included waiving the examination of a
              government witness then testifying on the remaining defendant’s
              highly contested motion to suppress.”); id. at 18 (arguing that
              Military Judge’s decision below rested on government representation
              that waiver provision barred cross-examination); see also bin ‘Atash
              Resp. in Opp’n to Pet. 12, Dkt. No. 2094923 (“[P]ursuant to his
              promise[] . . to ‘waive[] all waivable motions,’ . . . Mr. bin ‘Atash
              refrained from questioning any witnesses to support, among other
              things, his pending motion to suppress . . . .”).
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                   Recall that Rule 705(d)(4)(B) encompasses action taken
              pursuant to a promise contained in the agreement, so the text
              of the Rule is broader than consummated performance. To
              determine whether conduct is pursuant to, or in accordance
              with, a promise, we must understand the scope of the promise.
              Legal dictionaries define “waive” as “[t]o abandon, renounce,
              or surrender (a claim, privilege, right, etc.); to give up (a right
              or claim) voluntarily,” or “[t]o refrain from insisting on (a strict
              rule, formality, etc.); to forgo.” Waive (vb.), BLACK’S LAW
              DICTIONARY (12th ed. 2024). One can thus “waive” an
              argument through forbearance, by refraining from pursuing
              such an argument, so long as waiver is committed knowingly
              and voluntarily. See Waiver, BALLENTINE’S LAW DICTIONARY
              (3d ed. 1969) (“[The term] implies the intentional forbearance
              to enforce a right, and necessarily, therefore, assumes the
              existence of an opportunity for choice between the
              relinquishment and the enforcement of the right.”); id. (waiver
              may be shown by “an act or omission”) (emphasis added)).

                   This understanding aligns with common usage definitions.
              See       Waive,       OXFORD      ENGLISH         DICTIONARY,
              https://www.oed.com/dictionary/waive_v1
              [https://perma.cc/9Y9KVX3L] (“To relinquish (a right, claim,
              or contention) either by express declaration or by doing some
              intentional act which by law is equivalent to this; to decline to
              avail oneself of (an advantage); to refuse to accept (some
              provision made in one’s favour).”) (emphasis added)); id. (“To
              refrain from insisting upon, give up (a privilege, right, claim,
              etc.); to forbear to claim or demand.”) (emphasis added)); id.
              (“To forbear persistence in (an action or course of action); to
              refrain from pressing (an objection, a scruple, an argument).”)
              (emphasis added)).

                  Moreover, Respondents’ abstention from prosecuting their
              pending motions was consistent with the ultimate waiver of
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                                            65
              waivable motions that would accompany their formal guilty
              plea. See supra Section IV.B. Thus, to “begin[] performance”
              of the promise “contained in the agreement[s]” to waive all
              waivable motions, R.M.C. 705(d)(4)(B), Respondents had to
              “act[] pursuant to” their commitment to forbear from enforcing
              a waivable motion, 1984 MCM at A21-35 to A21-36; see also
              supra Section III.B (explaining that “pursuant to” means to act
              in conformance with). As the Military Judge correctly
              concluded when it interpreted this military procedural rule,
              they unquestionably did so by refraining from enforcing their
              right to cross-examine the witness in support of their pending
              motions to suppress.

                   Respondents’ forbearance sufficed here. While “one must
              understand his right to object and indicate in some appropriate
              manner a desire to refrain from asserting that right,” United
              States v. Kelley, 23 C.M.R. 48, 52 (1957), “[m]any courts have
              taken the position that where there is no objection and it is
              otherwise clear from the record that it was an intentional
              relinquishment of a known right, the doctrine of waiver will
              apply,” United States v. Campos, 67 M.J. 330, 332 & n.3
              (C.A.A.F. 2009) (collecting cases). In its waiver analysis, the
              Court of Appeals for the Armed Forces considers whether
              “defense counsel’s trial strategy could . . . be considered an
              intentional relinquishment or abandonment” of the right at
              issue. United States v. Harcrow, 66 M.J. 154, 157–58
              (C.A.A.F. 2008) (cleaned up). If “defense counsel [is] clear
              about her intent to refrain from questioning [a] witness,” she
              “need not have literally told the judge that she waived the
              issue.” United States v. Avery, 52 M.J. 496, 498 (C.A.A.F.
              2000). Basic contract principles also reflect that forbearance
              can constitute performance on a promise. See FARNSWORTH
              § 2.04; Hamer v. Sidway, 27 N.E. 256 (N.Y. 1891)
              (prototypical consideration case, in which one party’s promise
              to forbear from certain conduct constituted consideration, and
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              actual forbearance was performance). It is thus immaterial that
              “[n]o Respondent objected to that preservation of their pending
              motions or asked the court to withdraw [their] motion to
              suppress.” Majority Op. 26.

                   Here, the execution of the PTAs, coupled with the
              prosecutor’s representation that cross-examination was
              foreclosed by the agreements and Respondents’ decision not to
              object to that representation, followed by Respondents’
              declining to cross-examine the available witness, demonstrates
              that Respondents “intentional[ly] relinquish[ed] or
              abandon[ed]” the right at issue, consistent with their “trial
              strategy” of compliance with the PTAs. Harcrow, 66 M.J. at
              158 (quotation omitted); cf. United States v. Bridges, 55 M.J.
              60, 65 (C.A.A.F. 2001) (Sullivan, J., concurring) (concluding
              that failure to cross-examine a witness did not constitute waiver
              where “[t]here was no stipulation” and “no strategic inaction”
              could be discerned).        Nothing in the record suggests
              Respondents’ lawyers made a careless or haphazard decision
              to not prosecute a significant and substantive pretrial motion.
              As the Court of Appeals for the Armed Forces has clarified,
              “[n]o magic words are required to establish a waiver.” United
              States v. Smith, 50 M.J. 451, 456 (C.A.A.F. 1999).

                   True, “[c]ounsel stood silent in response to the military
              judge’s proposal.” Majority Op. 26. And while I agree that we
              should not endorse an across-the-board rule that “criminal
              defendants can waive motions protecting their constitutional
              rights by saying and doing nothing,” id. at 30, we need not
              reach such a conclusion. Under military law, what matters is
              whether the evidence demonstrates “that defense counsel made
              a purposeful decision to agree to the” course of action. Smith,
              50 M.J. at 456. Here, the record amply demonstrates such
              agreement. The clearest read of the Military Judge’s decision
              is that he made such a finding. Pet. Ex. A at 8 & n.41, 26 &
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              n.114 (identifying Respondents’ forbearance from prosecuting
              the motion to suppress and citing the representation made by
              government’s trial counsel that the promise to waive waivable
              motions precluded the accused from contesting litigation). On
              review, the CMCR agreed with the Military Judge’s finding.
              Pet. Ex. B at 17.

                   The majority attempts to undermine the Military Judge’s
              understanding of the parties’ intent by noting that he had not
              read the PTAs before the July 30 and August 1 hearings and
              thus “did not purport to interpret or effectuate” the agreements.
              Majority Op. 26 n.7. That rejoinder is not dispositive and
              instead confuses what happened below. The Military Judge
              heard the parties’ representations that the PTAs contained a
              promise to “waive all motions,” and he did not need to see a
              piece of paper to understand what those words meant. He was
              entitled to rely on the litigants’ representations when
              expressing his view of what the PTA provision required.
              Furthermore, his ultimate decision was rendered following his
              consideration of the PTAs’ text. Pet. Ex. A at 6–7 & nn.29–30
              (citing PTAs). He reached that decision by citing his August 1
              colloquy with the prosecutor, leaving no question about how
              we should understand the hearing transcript. Id. at 8 n.41. And
              the view of both military courts comports with a basic
              understanding of guilty pleas in the criminal and military
              contexts, along with the waivers of motions that accompany
              them. Broce, 488 U.S. at 569–76; cf. Hunt, 843 F.3d at
              1028–29 (“A criminal defendant may take a district court’s oral
              pronouncement about a written waiver at face value even if it
              mischaracterizes the waiver, and even if the waiver is otherwise
              unambiguous, . . . especially because the government made no
              objection and offered no clarification . . . .”) (internal quotation
              marks omitted). The majority offers no basis to rule that this
              finding was clear error. The Court’s attempt to debase the
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              Military Judge’s statements at the suppression hearings falls
              flat.

                    The Rules for Military Commissions further support the
              Military Judge’s conclusion. They provide that “[f]ailure by a
              party to raise defenses or objections or to make [pretrial]
              motions or requests . . . shall constitute waiver.” R.M.C.
              905(e). Specifically, the Rules state that where the defense has
              failed to move to suppress or to object to admission, “the
              defense may not raise the issue at a later time except as
              permitted by the military judge for good cause shown. Failure
              to so move or object constitutes a waiver of the objection.”
              R.M.C. 304(c)(2)(A); see also R.M.C. 801(g) (“Failure by a
              party to raise defenses or objections or to make requests or
              motions” in a timely manner “shall constitute waiver thereof.”).
              It is thus immaterial that Respondents did not “inform the court
              that they no longer wished to prosecute or proceed with their
              suppression motions,” or that they did not make a “formal or
              even informal request of the court.” Majority Op. 25.

                   That the waiver of all waivable motions was, by the terms
              of the PTAs, to take effect upon the court’s acceptance of the
              guilty plea does not change this analysis. See id. at 29 (noting
              that “the promise[s] to waive motions [were] conditioned on a
              particular act that had not yet occurred when the Secretary
              withdrew from the agreements”). Of course, “[t]here is no
              doubt that a plea of guilty implicitly waives” a number of
              waivable rights. United States v. Cowles, 16 M.J. 467, 468
              (C.M.A. 1983) (right against self-incrimination); R.M.C.
              910(j) (“[A] plea of guilty which results in a finding of guilty
              waives any objection, whether or not previously raised, insofar
              as the objection relates to the factual issue of guilt of the
              offense(s) to which the plea was made.”); R.M.C. 304(c)(5)
              (“[A] plea of guilty to an offense that results in a finding of
              guilty waives all . . . motions and objections under this rule
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              with respect to that offense regardless of whether raised prior
              to plea.”); see also Joubert, 75 F.3d at 1248; United States v.
              Arango, 966 F.2d 64, 66 (2d Cir. 1992).

                   But while the legal effect of a guilty plea is to waive all
              waivable motions, an accused may still voluntarily waive such
              motions prior to pleading guilty. And Rule 705(d)(4)(B), as
              emphasized earlier, is not concerned with the completion of
              performance (i.e., actual waiver), but rather the beginning of
              performance (i.e., conduct undertaken pursuant to a promise to
              waive). Respondents’ strategic decision to refrain from
              cross-examination began performance: They began “to refrain
              from pressing” their pending motions in anticipation of the
              acceptance of their guilty pleas. See Waive, OXFORD ENGLISH
              DICTIONARY         (last      modified        Sept.      2024),
              https://www.oed.com/dictionary/waive_v1?tl=true
              [https://perma.cc/9Y9KVX3L].

                   The majority agrees that Respondents could voluntarily
              waive any motions prior to pleading guilty, Majority Op. 29,
              but protests that “just because one party performs prematurely
              does not mean that the other party’s own contractual rights
              change if the contract was for performance at a specified time,”
              id. This may very well be true under the common law of
              contracts. But the majority does not explain why we should
              read R.M.C. 705(d)(4)(B) as wholly constrained by the
              common law. Cf. United States v. Burwell, 122 F.4th 984, 994
              (D.C. Cir. 2024) (rejecting government’s argument that
              “Congress imported extortion’s common law tradition
              wholesale into the bank robbery statute” absent any evidence
              of such legislative intent). Contract principles are only
              illuminating to the extent that they shed light on the scope of
              legal terms of art contained in the Rule, such as “performance”
              or “promise,” derived from the common law. See Scheidler v.
              Nat’l Org. for Women, Inc., 537 U.S. 393, 402 (2003) (“Absent
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              contrary direction from Congress, we begin our interpretation
              of statutory language with the general presumption that a
              statutory term has its common-law meaning.”). Where drafters
              have expressed no intent to cabin their remedies to those
              available at common law, the common law does not reach from
              the grave to constrain the outcome.14 See supra Part III.B.

                  The majority (and the government) protest that “the
              prosecutor’s atextual reading of the pretrial agreements cannot
              change what the contract means.” Majority Op. 27; Pet’r Reply
              12–14.     In other words, they reject reliance on the
              government’s concession before the Military Judge that
              Respondents’ refraining from cross-examining the witness at
              the suppression hearing was required by the promises they
              made in the PTAs. Majority Op. 27.

                  Yet, as shown above, there was nothing textually
              unanchored about the prosecutor’s understanding of the waiver
              language in the PTAs. Furthermore, even if this line of
              reasoning had some merit, it only advances the majority’s


              14
                 Prudential Insurance Co. of America v. Rand & Reed Powers
              Partnership, cited by the majority, is consistent with this point. 141
              F.3d 834 (8th Cir. 1998). There, the Eighth Circuit “recogniz[ed] the
              common law ‘perfect tender in time’ rule to reject premature
              performance as performance” under a statutory provision, Majority
              Op. 29 (quoting Prudential Ins., 141 F.3d at 836), but did so because
              the Iowa Supreme Court had reaffirmed the application of the
              common-law rule following the enactment of the statute, see
              Prudential Ins., 141 F.3d at 836. The Eighth Circuit’s recognition of
              the common-law rule followed from its textual interpretation of the
              statutory provision, which it reasoned did not create any absolute
              rights and was thus amenable to limitation by common-law
              principles. Id. By contrast, here, the majority does not attempt to
              reconcile its contention that the common law constrains R.M.C.
              705(d)(4)(B) with the plain text of the Rule.
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              conclusion as to the scope of the relevant promise in the PTAs.
              And assuming the relevant promise is as narrow as the majority
              suggests (i.e., limited to filing a formal waiver of all waivable
              motions), the majority’s reasoning does not undermine the
              Military Judge’s analysis applying the Rule 705(d)(4)(B)
              standard to such a promise to determine whether Respondents
              began performance. It further fails to engage with what it
              means to “waive” a motion, which includes refraining from
              prosecuting a motion. Again, the scope of a promise to “waive
              all waivable motions” is most properly considered a question
              of fact, and yet the Majority fails to apply the clear error
              standard of review.

                   Similarly, the majority dismisses the statement by Al
              Hawsawi’s counsel as insufficient to perform the promise to
              withdraw, cf. id. at 27 (“[S]aying so . . . is not the same thing
              as actually beginning perform[ance] . . . .”), but never explains
              why it was improper for the Military Judge to consider this
              evidence to determine whether Respondents had begun
              performing by refraining from prosecuting the motion. See
              supra Section II.A (describing trial court’s unique role in
              assessing the conduct before him and weighing credibility).
              After all, as described above, to “waive” is to “refrain.” The
              prosecutor was intimately familiar with the PTAs, and he
              believed that if the accused questioned the witness, they would
              be in breach of the agreements. Al Hawsawi’s counsel
              represented that he refrained from questioning the witness
              because he understood cross-examination to be a step in
              furtherance of breach.

                  The Court also places unwarranted emphasis on the
              Military Judge’s statement that, if the PTAs fell through,
              Respondents would have another chance to cross-examine the
              witness. Id. at 25–27, 30. Holding their motions in abeyance
              was nothing more than a trial judge wisely managing his
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              docket. Why in the world would the Military Judge
              immediately treat Respondents’ motions as having been fully
              withdrawn at this juncture, so that their motion hearings would
              have to start all over again from the beginning, if, for some
              reason, their guilty pleas were not accepted at a later date? At
              best, we can consider the Military Judge’s statement as
              attempting to minimize harm to Respondents if the PTAs were
              not eventually accepted by the court. Such mitigation efforts
              could weaken a detrimental reliance claim in contract, but this
              point has no relevance to whether Respondents began
              performing under Rule 705(d)(4)(B). Finally, even if we
              understand the Military Judge to have “kept those motions
              alive pending further proceedings” such that “[n]othing was
              terminated or withdrawn,” id. at 26, this at most suggests
              Respondents may not have fully performed. But again, the
              proper inquiry is whether Respondents had begun performing.
              See infra Section IV.B.

                   The majority nowhere explains why it is clear and beyond
              dispute that the Military Judge erred in concluding that when
              Respondents refrained from cross-examining the witness, such
              inaction constituted a first step to “waive all waivable
              motions.” Based on the text of the agreements, military justice
              caselaw on waiver, and the authoritative regulations,
              Respondents began performance of their promise to waive all
              waivable motions. Against this wealth of authority, I cannot
              join the majority’s unreasoned holding to the contrary. The
              government has not carried its heavy burden.

                                             2.

                   A second promise also supports the Military Judge’s
              decision. Respondents each promised to “move to withdraw
              all pending motions.” Mohammed PTA¶ 23; see also bin
              ‘Atash PTA¶ 22 (same); Al Hawsawi PTA¶ 23 (same). Their
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              decision to forego cross-examining the witness at the
              suppression hearing constituted beginning performance of this
              promise.

                   Starting again with the text, the majority correctly notes
              that “move to withdraw” means “telling the court that a request
              for some type of relief is abandoned and will no longer be
              pursued.” Majority Op. 24. More specifically, “move” means
              “[t]o make an application (to a court) for a ruling, order, or
              some other judicial action,” Move, BLACK’S LAW DICTIONARY
              (12th ed. 2024), and “withdraw” means “[t]o refrain from
              prosecuting or proceeding with (an action),” Withdraw,
              BLACK’S LAW DICTIONARY (12th ed. 2024). To begin
              performance of such a promise, then, Respondents must have
              taken some action pursuant to seeking judicial action that
              would allow them to refrain from prosecuting a pending
              motion. By accepting the government’s characterization of the
              PTAs, refraining from questioning the witness at the
              suppression hearing, and then reiterating the shared
              understanding of the scope of the agreements the following
              day, Respondents’ counsel took steps towards withdrawing
              their pending motions to suppress by failing to prosecute
              them.15 The Military Judge’s conclusion was thus not clearly
              and indisputably erroneous.

                   The majority rightly notes that to complete performance of
              this promise, Respondents would likely need to make an oral
              or written motion. See Majority Op. 25 (“They made no formal

              15
                 The majority characterizes this conduct as “silent acquiescence”
              and “silent inaction.” Majority Op. 28; see also id. at 27, 30. But it
              provides no further explanation as to why, under these particular
              circumstances and based on the unusual inaction and representations
              of various counsel, the Military Judge clearly erred in concluding
              that such silent acquiescence began performance.
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              or even informal request of the court that could amount to
              moving to withdraw a motion or even beginning to do so.”).
              But again, Rule 705(d)(4)(B) forbids withdrawal in
              circumstances short of completed performance. The Court’s
              contrary reasoning thus collapses the distinction between
              “begin[ning] performance” under R.M.C. 705(d)(4) and
              concluding performance. Such analysis is atextual because it
              fails to give effect to the term “begins.” Cf. Fischer v. United
              States, 603 U.S. 480, 486 (2024) (“[W]e must give effect, if
              possible, to every clause and word of the statute.”) (cleaned
              up)); United States v. Hunter, 65 M.J. 399, 402 (C.A.A.F.
              2008) (applying principle to interpretation of a Rule for
              Courts-Martial). It also lacks support in the text and history of
              R.M.C. 705(d)(4). See supra Section III.B.1. As discussed,
              the Rule precludes withdrawal not only upon completed
              performance, but also once a party takes steps towards
              performing. That “Respondents’ pending motions were
              preserved for future action” thus does not govern the
              applicability of R.M.C. 705(d)(4)(B). See Majority Op. 26.16

                   For these reasons, the government has come nowhere close
              to establishing, clearly and indisputably, that the Military Judge
              erred in concluding that Respondents began performance of


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                 Nor would I assign any weight to whether defense counsel used
              talismanic words, such as “motion” or “withdraw.” Cf. Majority Op.
              24–25. Judicial review requires us to look at the factual findings and
              record below and apply the law to what transpired, including by
              analyzing whether what happened maps on to a legal standard. Cf.
              United States v. Abney, 957 F.3d 241, 248 (D.C. Cir. 2020) (“We do
              not require defendants or their counsel to invoke magic words or
              talismanic language . . . when the party asked the court for the
              desired judicial action.”). And here, our review of what occurred
              below is circumscribed by the deference we owe to the Military
              Judge’s factual findings. See supra Part II.
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              promises contained in the PTAs when they refrained from
              cross-examining the witness at the suppression hearing.

                                             V.

                   Against the weight of authority, the government insists
              there was no “promise” that Respondents began to perform.
              See Pet. 17. That view is contradicted by the parties’ collective
              decision to write promissory language into the agreement, the
              parties’ further agreement to frame the failure to enter
              stipulations as a material breach, the way both sides
              characterized the PTAs during negotiations, the conclusions
              that the Military Judge reached, and the view of the CMCR.
              However the promise is construed, Respondents began
              performance under the Rule by signing the factual stipulations.
              And by refraining from cross-examining a witness at the
              motion to suppress hearing, they similarly began performance
              of their promises to waive all waivable motions and to move to
              withdraw pending motions.

                  It is impossible for me to conclude that the government has
              shown it is clearly and indisputably entitled to relief. That
              demanding mandamus standard is even further out of the
              government’s reach where the government cannot cite binding
              on-point precedent in support of its claims and we are
              constrained to reviewing for clear error both the Military
              Judge’s finding that the PTAs encompassed the relevant
              promises and his application of the withdrawal regulation. But
              even on de novo review of those findings, the government has
              not met its burden.

                  I respectfully dissent.
